                        Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 1 of 68




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         l3Y                       Deputy


               COVER LETTER FOR NATIONS'-WIDE UPlIOLD POPE FRANCIS NEW LAW BY

               ORTHODOX CHURCH, DEFENDER OF FAITH, and James Clinton Belcher, renew all elected official's Oath of Office

               I.         NOTICE OF LACK OF JURISDICTION AND DEMAND FOR HEARING TO ORDER PROOF OF
                          JURISDICTION/and chapter 15, Ancillary, subordinate, subsidially, assisting the other High Contracting Parties

               II.                      A Brief Report for Those Trying to Understand the New World

               APOSTOUC LEITER ISSUED MOTU PROPRIO OF THE SUPREME PONTIFF FRANCIS/self-executing Treaties Ratified in Ethiopia,
               Addis Ababa: The High Contracting Parties:
               Criminal Indictment for all corporations THAT VIOLATION of Human Right's of People's Human Affair's: and Environmental Common Court.
               Regulate: 1885 International Rules: USA is Federal Jurisdictions'
               Federal Democratic Republic of Ethiopia, abroad: "The Federation" (Harare Governor Office)

               m.                                      AFFIDAVIT OF ADVERSE CLAIM

           IV. Chapter 11, Sovereignty Foreign Corporation. A corporation doing business in one state though chartered or
           incorporated in another state is a foreign cotporation as to the first state, and, as such, is required to consent to certain
           conditions and restrictions in order to do business in such first state.

           The subject of federal jurisdiction had been almost entirely ignored outside the courts until the year 1954, Economic
           Relations' Agreement between USA and Ethiopia "Treaty ofAmity" There are only Two High Contracting Parties in USA, In
           that year, a detailed study of federal jurisdiction was undertaken.

           It scarcely needs to be said that unless there has been a transfer of jurisdiction by self-executing Treaties Enforcement and
           Compliance (TAC) Trade Agreement Compliance and Uniform Commercial Code Transfer the Collateral to Secured Parties (1)
           pursuant to clause 17 by a Federal acquisition of land with State consent, or (2) by cession from the State to the Federal
           Government, or unless the Federal Government has reserved jurisdiction upon the admission of the State, the Federal
           Government possesses no legi'ilative jurisdiction over any area within a State, such jurisdiction being for exercise entirely by
           the State ....

                                                     [Jurisdiction over Federal Areas within the States]
                                                             [Volume II, page 4, emphasis added]
            These federal enclaves are considered foreign with respect to the States which surround them, just as the 50 States are
            considered foreign with respect to each other and to the federal zone: "... The several states of the Union are to be considered as
            in this respect foreign to each other .... " Hanley v. Donoghue, 116 U.S.1 (1885). Once a State surrenders its sovereignty over
           a specific area of land, it is powerless over that land; it is without authority; it cannot recapture a11y of its tra11sfe1Ted
           jurisdiction by unilateral action, just as the Federal govemme11t cannot acquire jurisdiction over State area by its u11ilateral
           action. The State has tra11sfe1Ted its sovereign authority to a foreign power:
           A contract in which 011/y one party makes an express pm111ise, or undertakes a pe1jiJr111a11cewitlw11t.first securing a reciprocal agree111e11tjim11 til
           e ot/1er party. In a unilateral, or one sided, contract, one party, known as the offeror, makes a promise in exchange Foran act
           (orabstention from acting) by another party, known as the offense.
           If the offense acts on the offeror's promise, the offeror is legally obligated to fulfill the contract, but an offense cannot be forced to act
           (or not act), because no return promise has been made to theofferor. After an offeree has performed, only one enforceable promise exists, that oft
           he offer or. A unilateral contract differs from a Bilateral Contract, in which the pmties exchange mutual pro mises.
           Bilateral contracts are commonly used in business transactions; a sale of goods is atype of bilateral contract.
           Once a State has, by one means or another, transferred jurisdiction to the United States**, it is, of course, powerkss to control
           many of the consequences; without jurisdiction, it is without the authority to deal with many of the problems, and having
           transferred jurisdiction to the United States**, it cannot unilaterally capture any of the transferred jurisdiction 1933
           Congress had no other choice but to relinquish all States under International Laws of the Bankruptcy.

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              Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 2 of 68
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  1                                                                                                                                  :J'L.JL-T
         Attomey(s) Emperor, Haile G. Sellassie, I:
 2       Crown Council Tribe of Lion of Judah
         King Emanuel the Seven Black International Congress
 3       Firm's Federal Democratic Republic of Ethiopia, Abroad: "The Federation"
         Ambassador Negash Kibret Director General for International Organizations
 4       Ambassador Taye Atskeselassie Director General for Amer Affairs
         Ato Reta Alemu Director General for International Legal Affairs
         Ato Zewdu Gebreweld Head of the ICT Center
                                                                                                                 F\LED
 5
         Director General for African Affairs
         Ato feyisel Aliyi Director General, Diaspora Engagement Affairs                                              OCT 0 4 2017
  6
         Harold G Fuller, I Senior Director GeneraVHousing Secretary
                                                                                                                 Tllv\OTHY l'J\. OBRIEN CLERK
         Solomon E Wolfe, Land Grant Administrator for the Country of Ethiopia                                   13y_ _ _ _ __ Deputy
 7

 8
                                 International Tribunal of Climate Justice as a compliance mechanism:
 9
                                                  Of the Imperial Crown of Ethiopia
                                 Government of the Holy Roman Empire the Vatican Chancery Court -
10                                            United States District Court of Kansas
         Federal Democratic Republic of Ethiopia,                       )   Case No.: OlP# 1-CR-203-15-001
11     .abroad:" The Federation Harare Governor Office                  )   Nations-wide, to renew all Official's Oath in
       .James Clinton Belcher, Head of State United States of           )   America, for Head of State James Ointon Belcher
12 .America, Unincorporated c/o Box 520994 Big Lake,                    )   NOTICE OF LACK OF JURISDICTION AND
      .Alaska, 99652 (907) 250- 5087avannavon@gmail.com                 )   DEMAND FOR HEARING TO ORDER PROOF OF
13 by: Anna Maria Riezinger, Fiduciary two High                         )   JURISDICTION/and chapter 15, Ancillary, subordinate,
    . Contracting Parties in the United States of America               )   subsidially, assisting the other High Contracting Parties
    . fu~ia                                                             )
14         Plaintiff, vs.                                               )
                                                                            The order below is hereby signed S. Maran Teel, Jr .
   .. DEF:, Olathe, Police Department,file#20J 700J3570
15 Department, INS CORPORATION, Scott Harvey Real                           United States Bankruptcy Judge Signed: December
      Eitate company Dorsch Law Firm, and Real/Eitate company               09,2008. UNITED STA1ESBANKRUP1CY
      anyone else. The UNITED STATES, INC. and all its                      COURT FOR 1HE DIS1RICTOF COLUMBIA
16    municipal franchises dba CHINA (INC.), JAPAN (INC.), State
                                                                            ORDER DECREEING THAT, WITH THE
      Farm(INC) INDIA (INC.), STATE OF OREGON (INC.), JOHN
17    MICHAEL SMITH (INC.), CITY OF OMAHA (INC.), UNITED                    EXCEPTION OF INTERIM RULE 5012, 1HE
      KINGDOM (INC.), FLORIDA (INC.), CANADA (INC.),                        IN1ERIM BANKRUP1CY RULES, AS REVISED,
      AUSTRALIA (INC.) Municipal United States Givemment, All               SHALL CEASE AS OF DECEMBER 1, 2008, 1D
18    incorporated entities (called legal fictions) C-Corps, S Corps,
      LLCs, TruslS, Foundations ad infinitum, is in Chapter 7
                                                                            BE EFFECTIVE AS LOCAL BANKRUPTCY
19    Liquidation since 20I 5.                                              RULES OF THIS COURT

20

21
        TO ALL INTERESTED PARTIES:
22                 PLEASE TAKE NOTICE that a hearing has been requested by the Accused                           Federal
        Democratic Republic of Ethiopia, abroad:" The Federation Harare Governor Office James Clinton Belcher, Head of State
23      United States of America, Unincorporated c/o Box 520994 Big Lake, Alaska, 99652 (907) 250- 5087avannavon@gmail.com by: Anna
        Maria Riezinger, Fiduciary two High Contracting Parties in the United States of America/Ethiopia.
24      To take place on the                 day of                        , 2017, at                                                       hours in
        Courtroom            , of the above entitled Court located at _ _ _ _ _ __
25

26              1.       This hearing has been called to resolve certain conclusions of law which are in controversy. The
        demand for this hearing constitutes a direct challenge to the jurisdiction of this Court in the instant matter Two Hig
         Contracting Parties in the United States of America, The acc15ed Parties [United States of America inc, municipa
27
        franchises] is aware that he has been compelled to participate in this action under threat of arrest and incarceration
        should he fail to appear when ordered to do so.
28


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                                            DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
          Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 3 of 68
                                (                                                  (


 1             2.       The subject matter jurisdiction of this Court is not in question here. Rather, because the matter i
     criminal in nature and involves a compelled performance to what is essentially derived from Roman Gvi
 2   (Administrative) Law, the Accused herewith challenges the In Personam jurisdiction of this Court. The Accused doe
     so on the ground that the Plaintiff has failed to provide an offer of proof that the Accused is subject to the legislativ
 3   equity jurisdiction in which this Court intends to sit to hear and determine only the facts of this matter, and not th
     law, arising from a 'Bill of Pains and Penalties".
 4
               3.        It is well known that jurisdiction may be challenged at any time as an issue of law because, absen
 5   jurisdiction, all acts undertaken under the color of statute or under the color of ordinance are null and void ab initio (fro
     their inception).
 6
            4.      Because the Accused was compelled, under threat of further damage and injury, by Oathe, Polic
 7   Department to enter this Court to demand relief, this appearance is SPECIAL, and not general in nature.

 8
              5.        The argument which follows sets forth the nature of the controversy "At Law". This Court is boon
     by its oath of office to sit on the Law side ofits jurisdiction to hear the controversy in a neutral capacity and to make
 9   fair and impartial determination.
     6.       This document, and the argument contained herein, is intended to be the basis for further action on appeal,
10   should this Court fail to afford a complete hearing on the law of the matter at the noticed request of the Accused
     Furthermore, a failure of this Court to seat on the Law side of its jurisdiction to determine this timely question will give
11
     the Accused cause to file for a Writ of Prohibition in a higher Court.
                                                ARGUMENT
12
     I .The Constitution of the United States of America (1787) is the supreme Law of the Land. The Constitution of State of
     California all states of America, must be construed in harmony with the supreme Law of the Land; otherwise, the State of
13
     California all states of America, has violated its solemn contract with the Union of States known as the United States of
     America, and the question raised herein becomes one which is a proper original action before the Supreme Court of the
14
     United States, sitting in an Article 3 capacity.
15
     2. An employee of the Olathe, Police dispute between Economic Relations Agreement
     Treaty of Amity Between The United States of America and Ethiopia, The United States of America and Ethiopia,
16
     desirous ofemphasizing the friendly relations which have long prevailed between their peoples, of manifesting their
     common desire that the high principles in the regulation ofhuman affeirs to which they an committed shall be made more
17
     broadly effective, and of encouraging mutually beneficial investments and closer economic intercourse generally between
     their peoples, have resolved to conclude a Treaty of Amity and Economic Relations, and have appointed as their
18
     Plenipotentiaries:
     3.                                             Article I
19
     I. There shall be constant peace and firm and lasting friendship between the United States of America and Ethiopia.
     2. The two High Contracting Parties reiterate their intent to further the purposes of the United Nations.
20
                                                   Article II
     Each High Contracting Party shall have the right to send to the other High Contracting Party duly accredited diplomatic
21
     representatives, who shall be received and, upon the basis of reciprocity, shall be accorded in the territories of such other
     High Contracting Party the rights, privileges, exemptions and immunities due them under generally recognized principles
22
     of international law. Of failing to perform specifically to some legislative statute which is being presented as evidence of
     the law. Statutes are not laws; they are administrative regulations which are civil in nature, even when they carry
23
     sanctions of a criminal nature, unless there is an injured party who is brought forward as a corpus delicti.
24
     4. Thus, because of this unsupported conclusion of law, and because the Each High Contracting Party has
     administratively decided that the Accused is subject to the statutes in question, the Accused Denfendant holds that a
25   contrary conclusion of law exists to challenge the jurisdiction of this Court. Therefore, this Court must now sit in a
     neutral position, on the Law side of its jurisdiction, to hear and resolve the question of controversial positions oflaw as
26   they affect its jurisdiction or lack of jurisdiction In Personam.
27
     5. This argument is intended to serve as both a defense "At Law" in this Court, and as the basis of future actions, should
     it become necessary to appeal the question presented to a higher judicial authority.
28


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                                    DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
         Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 4 of 68
                                                                                   (


 1   6. If the Accused High Contracting Parties, is correct, and if this Court is sitting to hear the violation of a regulatory
     statute, then it is possible that the judges of this Court, in hearing this matter, are acting in an administrative capacity
 2   rather than a judicial capacity. This issue is discussed in detail in the argument which follows.

 3   7. This Court is placed on NOTICE that, if it fails to sit and hear this issue "At Law" upon a timely request, then yo
     may have violated your oath of office to uphold and defend the Constitutions of the United States of America (1787'
 4   and the California Republic (1849). Such an act will serve to place you and the other parties to this action outsid
     the realm of judicial immunity and subject to future action by this Accused High Contracting Parties. The Prosecuto
 5   in this action is specifically placed on NOTICE that s/he carries no shirt tail immunity should s/he continue to prosecute
     in the absence of a determination "At Law" of the question presented herein before trial.
 6
                                               JURISDICTION
 7
     8. In 1849, California became one of the several States in the Union of States known as the United States of America.
     California is a "Common Law" State, meaning that the Common Law, as derived from the common law of England, is
 8
     recognized form of law in the State of California.
 9
     9. Article 3 of the Co11stitutio11 of the United States of America gives ''judicial" power to the various courts, amon
     them the District Courts. What is not generally recognized is that the District Courts may seat in different jurisdictions
10
     Judges may wear different hats, so to speak, depending on the nature of the ca<>e brought before them.
      10.     This Court may sit "At Law" to hear crimes and civil complaints involving a damage or injury which i
11
     unlawful under the Common Law of a State; or it may seat in equity to determine specific performance to a contract i
     equity. Alternatively, as a creation of the foreign Corporate State, this Court may seat administratively in a fiction whic
12
     may be termed '1egislative equity", under authority to regulate activities not of common right, such as commerce fo
     profit and gain, or other privileged activities.
13

14    11. In 1900 Ethiopia Emperor ratified friendly Treaty to Regulated the Commercial Relation in the USA, then in
      1953, Emperor Haile G Selassie, I: extended the.friendly treaties with USA to read Economic Relations Agreement
15    Treaty of Amity Between The United States of America and Ethiopia,

16
     12. It is an unlawfal abuse of procedure to use civil statutes as "evidence of the law" in a criminal matter, particular/
     when a United States Code has not been enacted into positive law (see, specifically, /RC 785l(a)(6)(A)).
17
     13. Both civil and criminal matters ''At Law" require that the complaining party be a victim of some recognimble
18   damage. The "um" cannot recognize a ''crime" unless there is a victim who properly claims to have been damage
     or injured.
19
     14. Regulatory statutes, on the other hand, are enacted under the police power of State and Federal Governments to
20
     regulate activities not of common right. All statute law is inferior to, and bound by, the restrictions of the Constitution
     These "regulatory" statutes operate as "law" on the subjects of those statutes, and violations may carry sanctions of
21
     criminal nature, even in the absence ofa victim or injury.
22
     15. A self-evident truth which distinguishes "crimes" under the Law, from ''offenses of a criminal nature" unde
     regulatory statutes, is the difference between Rights afforded to a defendant in a criminal proceeding, and "rights'
23
     available to a defendant under "due process" in a statutory proceeding.
24   16. In the case of true crimes "At Law", the Common Law enjoys all his fundamental rights as guaranteed by the Stat
     and Federal Constitutions, including both "substantive" and "procedural" due process. In contrast, when regulator
25   offenses "of a criminal nature" are involved, the statutory defendant cannot demand constitutional rights, since onl
     certain "civil rights" have been granted in these actions, and only "procedural due process", consisting of the right to
26   heard on the facts alone, is allowed. Constitutional rights and substantive due process are noticeably absent. Therefore
     the Court must be seated in some jurisdiction other than ''At Law", in order to hear an alleged violation of a regulator
27   statute.
28


                                                    - 3 -
                                 DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
          Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 5 of 68




 1   17.The Accused, Federal Democratic Republic of Ethiopia, abroad:" The Federation Harare Governo
     James Ointon Belcher, Head of State United States of America, Unincorporated hereby places all parties and the Cour
 2   on NOTICE, that The High Contracting Parties:

 3
     18. The Accused Common Law This then forced the Territorial United States and its corporate franchises dba China
     (Inc.), Japan (Inc.), State of Oregon (Inc.), John Michael Smith (Inc.), City of Omaha (Inc.), United Kingdom (Inc.),
 4   Florida (IncJ, Canada(lnc.), Australia (lnc.) .... ad infinitum, is in Chapter 11 Reorganization as of May 1, 2017----
     because they are no longer the beneficiaries of the municipal franchises.
 5
       19. The Accll'ied Haile G Selassie, I: Common Law and OFFICIAL's co YER up          Hous1Na Buoou's scuMMY REsw uE: FRA uouuNrFoREcwsE
 6                                                                      DOCUMENTS

      YOUCANBECHARGEWHENTHEREIS A WORKPI.ACEACCIDENT ANDA VIOLATION OF ANFEDERALEMERGENCYHOUSING I.AWIS
 7   OUASI-CRIMINAL
     20. Once jurisdiction is challenged, this Court must sit on the Law side of its jurisdiction as a neutral arbitrator, before th
 8   allegations of statutory wrongdoing can proceed. Failure to do so may subject the judge of this Court to charges o
     perjury for violating the oath of office by refusing to uphold and protect the rights guaranteed and protected by th
 9   Constitutions of the California Republic and of the United States of America.

10   21. The Accused Federal Democratic Republic of Ethiopia, abroad:" The Federation Harare Governo
     James Ointon Belcher, Head of State United States of America, Unincorporated requests that this Court take judici
11   notice number, three: that he has been compelled to enter this Court to answer the allegation, and contends that th
     allegations are founded upon false conclusions of law. The Memorandum of Law which follows will set forth th
12   position of the Accused Federal Democratic Republic of Ethiopia, abroad: "The Federation Harare Governor, Senio
     Director GeneraVHousing Secretary: Harold Glen Fuller, I: James Clinton Belcher, Head of State United States o
13   America, Unincorporated and the record will show that no evidence is before this Court which contradicts the position o
     the Two High Contracting Parties, except a mere fiction of law. This fiction of law cannot stand in the face of a cle
14   and direct challenge.
                           MEMORANDUM OF LAW CLASSES OF CITIZENSHIP
15      Transfer Trade Agreement Compliance of the High Contracting Parties Ethiopia.
               Enforcement and Compliance (TAC) Trade Agreement Compliance
16    Economic Relations Agreement between USA and Ethiopia, "Treaty of Amity" (TAC) Trade
     Agreement Compliance. Self-executing Treaties along with E. U. High Contracting Parties, K3
17
     his Constitution, and the Laws of the United States which shall be made in Pursuance thereof; and all Treaties made, or which shall be made,
18   under the Authority of the United States, shall be the suireme Law of the Land; and the Judges in every State shall be bound thereby, any
     Thing in the Constitution or Laws of any State to the Contrary notwithstanding.
19
     30 Bus; Law. 433 (1974-1975) Secured Parties and Judgment creditors the Courts and section 9-311 of the Uniform
     Commercial Code. One of the objective of Article 9 of the UCC was to simplify the formal requistes for the creation
20
     of a security interest in personal properties of the Secured Parties. The code is so successfully in attaining that
     objective that it has often been criticized for favoring Secured Parties at the expense of unsecured creditors. This
21
     Article deals with one of the points at which the interest of secured parties frequently conflict with these of unsecured
     creditors. However a secured parties, has a perfected security interest in these properties, (known as collateral OF
22
     USNEthiopia). And security interest has priority over any Lien that the judgment creditor may now obtain by
     attachment or Levy.
23
              2.        This Court is herewith mandated to take judicial notice of the Constitution for the United States of
24   America, the Constitution of the California Republic, the Statutes at Large of the United States of America, and all case
     law presented herein, pursuant to the Federal Rules of Evidence, Section201, et seq., and Article 4, Section 1 (4:1) of the
25   Constitution for the United States of America (1787).
                                                 Self-Executing Treaty
26           A compact between two nations that is effective immediately without the need for ancillary legislation.

27   A treaty is ordinarily considered self/executing if it provides adequate rules by which given rights may be enjoyed or
     imposed duties may be enforced. Conversely it is generally not self-executing when it merely indicates principles
28   without providing rules giving them the force oflaw.


                                                         - 4 -
                                      DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
          Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 6 of 68
                                (                                                  (



 1
     3. Excluding "Indians not taxed", 1fibe of the Lion of Judah since they are not under consideration in this matter, we
 2   are left with two other classes of individuals defined in 1 :2:3 of the U.S. Constitution, to wit: "free Persons" and 'three-
     fifths of all other Persons".
 3   4. The term 'three fifths of all other Persons" referred to the Black slave population and all others of races other than
     "white" who could not and did not have Common Law Citizenship of one of the several States of the Union, at the time
 4   the Constitution was adopted. (For an in-depth analysis of this fact, see the ca<;es of Dred Scott v. Sandford, 19 How. 393
     (1856); U.S. v. Rhodes, I Abbott 39; Slaughter House Cases, 16 Wall. 74 (1873); Van Valkenburg v. Brown, 43 Cal. 43
 5
     (1872); U.S. v. Wong Kim Ark, 169 U.S. 649 (1898); and K. Tashiro v. Jordan, 201 Cal. 239 (1927); et al.)

 6   5. The Thirteenth Amendment, officially and lawfully ratified in 1865, served only to abolish slavery within the corporate
     United States. No race other than the white race could claim Common Law Citizenship of one of the several States,
 7   which Citizenship was afforded the protection of the Constitutions. (This is discussed in depth in Dred Scott v. Sandford
     supra).
 8
     6. Further proof that this argument applies to the State of California and all states is found in Article 2, Section 1 of the
 9
     Original California Constitution (1849) which states in part: 'Every WHI1E male citizen of the United States, and every
     WH11E male citizen of Mexico ... " [emphasis added]. Obviously, this provision excluded all other races from reing
10
     Common Law Citizens of California and from having the full protection of the State and Federal Constitutions. This was
     the case even before the famous Dred Scott decision. It is most notable that the California Constitution was altered after
     the so-called 14th Amendment so as to delete all references to "white" male Citizens, and today it refers only to
11
     "persons".
12
     7. Following the decision in Dred Scott supra, Congress allegedly enacted and ratified the so-called 14th Amendment to
     the Constitution for the United States of America to afford "statutory citizenship" status to those who were deemed
13
     excluded from this Common Law status under the Supreme Court's interpretations of the Constitution. This event unfolds
     in detail in the case law surrounding the 13th and 14th Amendments, with a very significant difference which is of great
14
     importance to the instant matter.
     8.Such cases as the Slaughter House Cases supra; Twining v. New Jersey, 211 U.S. 78 (1908); K. Tashiro v. Jordan
15
     supra; among many others, all declared that under the Law, 'there is a clear distinction between a Citizen of a State and a
     citizen of the United States".
16
      9. A famous French statesman, FredrickBastiat, noted in the early 1800's that if freedom were to be destroyed in
17
     America, it would result from the question of slavery and from the failure to equate all races and all humans as "equals".
     The Accused is not responsible for the errors of the past and elects not to dwell at length on this subject. However, the
18
     so-called 14th Amendment must now be discussed and, as abhorrent as it may sound, it is a matter of fact and law that
     this is the position (intentional or unintentional) which forms the basis of the law with which we live today.
19
     10. Under the Federal and State Constitutions, "... We the People" did not surrender our individual sovereignty to either
20
     the State or Federal Government. Powers "delegated" do not equate to powers surrendered. This is a Republic, not a
     democracy, and the majority cannot impose its will upon the minority simply because some '1aw" is already set forth.
21
     Any individual can do anything he or she wishes to do, so long as it does not damage, injure or impair the same Right of
     another individual. The concept of a corpus delicti is relevant here, in order to prove some "crime" or civil damage.
22
     11. Federal Democratic Republic of Ethiopia, abroad: "The Federation" Harare Governor Office, contend that both the
23
     State of California and all states the Federal Government (known as the 'United States') are committing an act of
     GENOCIDE upon the Common Law State Citizens of the several States by perpetrating and perpetuating the "fiction of
24
     law" that everyone is a statutory "citizen of the United States".
25                                               Article XVII
     Any dispute between the High Contracting Parties as to the interpretation or application of the present Treaty, not
26   satisfactorily adjusted by diplomacy, shall at the request of either High Controcting Party be submitted to the International
     Court of Justice, unless the High Controcting Parties agree to Settlement by some other pacific means.
27                                           Article XVIII
     The present Treaty shall reploce the Treaty of Commerce signed at Addis Ababa June 27, 1914. 1/
28


                                                       - 5 -
                                    DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
          Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 7 of 68
                                                                                   (



 1    11 Treaty Series 647:41 Stat/ 1711.
     WHEREAS the said treaty and notes were ratified by the President of the United States of America on August 4,
 2    1953, in pursuance of the aforesaid advice and consent of the Senate, and were duly ratified on the part of Ethiopia;
     WHEREAS the respective instruments ofratification of the said treaty and notes were duly exchanged at Addis
 3    Ababa on September 8, 1953;
     And WHEREAS it is provided in paragraph 2 of Article XIX of the said treaty that the treaty shall enter into force one
 4   month after the day of exchange of ratifications;
                                                 Article IV
 5   All furniture, equipment and supplies consigned to or withdrawn from customs custody for a consular or diplomatic offic
     of either High Contracting Party for official use shall be exempt within the territories of the other High Contracting Party
 6   from all customs duties and internal revenue or other taxes whether imposed upon or by reason of importation.
     4. Each High Contracting Party shall be exempt, on a reciprocal basis, within the territories of the other High Contracting
 7   Party from taxes or other similar charges of any kind upon real property and appurtenances or possessed by it for
     diplomatic or consular purposes, and such property shall not in any event be treated in a manner less favorable than
     similar properties of any third country. Such exemptions shall, however, not apply to charges or assessments levied for
 8
     services or public improvements by which such properties are benefited.
 9
                                                  Article V
      1. No tax or other similar charge of any kind shall be levied or collected within the territories of the receiving state in
10   respect of the official emoluments, salaries, wages or allowances received: (a) by a consular officer of the sending state as
     compensation for his consular services; or (b) by a consular employee thereof as compensation for his services at a
     consulate. Likewise, consular officers and employees, who are permanent employees of the sending state and are not
11
     engaged in private occupation for gain within the territories of the receiving state, shall be exempt from all taxes or other
12
     similar charges, the legal incidence of which would otherwise fall upon such officer or employee.
                                             Article VI
     1. Nationals of either High Contracting Party shall be permitted, subject to immigration laws and regulations, to enter the
13
     territories of the other High Contracting Party and to reside therein for the purpose of engaging in industry, carrying on
     international trade, or pursuing studies, upon terms no less favorable than those accorded to nationals of any third country.
14
     2. Nationals of either High Contracting Party shall receive the most constant protection and security within the territories
     of the other High Contracting Party. When any such national is in custody, lie shall in every respect receive reasonable
15
     and humane treatment; and, on his demand, the diplomatic or consular representative of his country shall be immediately
     notified and accorded full opportunity to safeguard his interests. He shall be promptly informed of the accusations against
16
     him, allowed ample facilities to defend himself and given a prompt and impartial disposition of his case, in accord with
     modern standards of justice.
17
     Companies of either High Contracting Party shall no be subject within the territories of the other High Contracting Party,
     to taxes up any income, transactions or capital not attributable to the operations and investment thereof with such
18
     territories.
                                             Article XI
19
     Neither High Contracting Party shall apply restrictions on the making of payments, remittances, and other transfers of
     funds to or from the territories of the other High Contracting Party, except (a) to the extent necessary to assure the
20
     availability of foreign exchange for payments for goods and services essential to the health and welfare of its people, or
     (b) in the case of a member of the International Monetary Fund, restrictions specifically approved by the Fund.
21
     This allegation is now discussed by proving exactly what the 'United States" means and in what capacity it now operates.
22                         WHAT IS lHE "UNITED STATES"?
23
     12. As we begin, it must be noted that this Common Law State Citizen alleges ''fraud" by the State and Federal
     Governments for failing to inform the People that they are all included (through the use of a fiction of law) in that
24
     statutory class of persons called "citizens of the United States".
25   13. The use of this fiction of law is particularly abhorrent in view of the fact that, when arbitrarily applied to everyone,
     the States lose their sovereignty, the Common Law Citizens of the State lose their fundamental rights, and the "citizens of
26   the United States" lose the guidelines which established their "civil rights". The net effect is that these actions have
     lowered everyone's status to that of a "subject".
27

28


                                                    - 6 -
                                 DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
          Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 8 of 68




 1    14. There is a clear distinction between the meanings of 'United States" and "United States of America". The People
     of America have been fraudulently and purposely misled to believe that these terms are completely synonymous in every
 2   context.

 3     15. In fact, in Law the term 'United States of America" refers to the several States which are "united by and under the
     Constitution"; the term 'United States" refers to that geographical area defined in Article 1, Section 8, Clause 17 (1 :8:17)
 4   and in Article 4, Section 3, Clause 2 (4:3:2) of the Federal Constitution.
       16. In 1802, the ''Congress Assembled" incorporated a geographical area known as the 'United States". The 'United
 5   States" is, therefore, a nation-state which is separate and unique unto itself. Furthermore, even though the 'United States"
     is not a member of the 'Union of States united by and under the Constitution", it is bound by that Constitution to restrict
 6   its activities in dealing with the several States and with the Common Law Citizens of those States. Under 1 :8:17 and
     4:3:2 of the Constitution for the United States of America (1787), Congress has exclusive power to legislate and regulate
 7   the inhabitants of its geographical territory and its statutory "citizens" under the so-called 14th Amendment, wherever
     they are "resident", even if they do inhabit one of the 50 States of the Union.
 8
                                                     CONCLUSION
                                    STATEMENT OF STATUS AND JURISDICTION
 9                                                          I
              The Federal Zone: Chapter 11: Sovereignty - Supreme Law Firm see exhibit solomonicdynasty
10   The international independence of a state, combined with the right and Despite its obvious importance, the sul:>ject
     of federal jurisdiction had been almost entirely ignored outside the courts until the year 1954, Donoghue, 116 U.S. 1
11
     (1885). Criminal laws in areas under the exclusive jurisdiction of the United States of America.
                                                   1HE ORGANIC LAW
12                           AND 1HE UNION FOUNDED 1HEREON ARE PERPE1UAL

     The founding Law of the nation is the peq~tual authority upon which the continued existence of the nation itself is
13
     predicated. As such, the founding Law carries universal authority and cannot be overthrown or subverted without
     repudiating the very existence of the nation established thereby.
14
     ORGANIC LAW. The fundamental law, or constitution, of a state or nation, written or unwritten; that law or system of
15
     laws or principles which defines and establishes the organization of its government. St. Louis v. Dorr, 145 Mo. 466, 46
     S.W. 976, 42 LRA686, 68 Am St Rep 575 [Black's Law Dictionary, 4th Ed., West Pub. (1968), p. 1251]
16
     The authority of the organic law is universally acknowledged; it speaks the sovereign will of the people; its injunction
17
     regarding the process oflegislation is as authoritative as are those touching the substance ofit. Suth. Statutory
     Construction, 44, note 1. "This Constitution ... shall be the supreme Law of the Land .... " Article 6, Constitution of the
18
     United States (1787).
19
     That the people have an original right to establish, for their future government, such principles as, in their opinion, shall
     be most conducive to their own happiness, is the basis on which the whole American fabric has been erected. The
20
     exercise of the original right is a very great exertion, nor can it, nor ought it to be frequently re~ated. The principles,
     therefore, so established, are deemed fundamental. And as the authority, from which they proceed, is supreme, and can
21
     seldom act, they are designed to be permanent.
22
     The original and supreme will organizes the government, and assigns, to different departments, their res~ctive powers. I
     may either stop here; or establish certain limits not to be transcended by those departments.
23
     The government of the United States is of the latter description. The powers of the legislature are defined, and limited;
24
     and those limits may not be mistaken, or forgotten, the constitution is written. To what purpose are the powers limited,
     and to what purpose is that limitation committed to writing, if the limits may, at any time be passed by those intended to
25   be restrained? The distinction, between a government with limited and unlimited powers, is abolished, if those limits do
     not confine the persons on whom they are imposed, and if acts prohibited and acts allowed, are of equal obligation. It is a
26   proposition too plain to be contested, that the constitution controls any legislative act repugnant to it; or, that the
     legislature may alter the constitution by an ordinary act.
27

28


                                                     - 7 -
                                  DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
          Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 9 of 68
                                                                                            (



 1   Between these alternatives there is no middle ground. The constitution is either a superior, paramount law, unchangeable
     by ordinary means, or it is on a level with ordinary legislative acts, and like other acts, is alterable when the legislature
 2   shall please to alter it.

 3   If the former part of the alternative be true, then a legislative act contrary to the constitution is not law: if the latter be
     true, then written constitutions are absurd attempts, on the part of the people, to limit a power, in its own nature
 4   illimitable. Certainly all those who have framed written constitutions contemplate them as forming the fundamental and
     paramount law of the nation, and consequently the theory of every such government must be, that an act of the legislature,
 5   repugnant to the constitution, is void ....

 6   If then the courts are to regard the constitution; and the constitution is superior to any ordinary act of the legislature; the
     constitution, and not such ordinary act, must govern the case to which they both apply.
 7
     Those then who controvert the principle that the constitution is to be considered, in court, as a paramount law, are reduced
     to the necessity of maintaining that the courts must close their eyes on the constitution, and see only the law.
 8
     [Marbury v. Madison, 1Cranch137) [pages 176to178 (1803)]
 9
     THINK ON THIS - CAN THE NATION BE UNDER AN EMERGENCY CONDITION AND THE CONSTITUTION AT TH
     SAME TIME? An anonymous legal scholar has so graciously pointed to a U.S. supreme Court decision that states "the Constitutio
10   of the United States is a law for rulers and people, equally in war and in peace, ... " in the whole paragraph in Ex Parte Milli an 71
     U.S. 2, 120(1866):
11
     "Time has proven the discernment of our ancestors; for even these provisions, expressed in such plain English words, that it woul
12   seem the ingenuity of man could not evade them, are now, after the lapse of more than seventy years, sought to be avoided. Those grea
     and good men fore saw that troublous times would arise, when rulers and people would become restive under restraint, and seek b
13   sharp and decisive measures to accomplish ends deemed just and proper; and that the principles of constitutional liberty would be i
     peril, unless established by irrepealable law. The history of the world had taught them that what was done in the past might b
14   attempted in the future. The Constitution of the United States is a law for rulers and people, equally in war and in peace, and cover
     with the shield of its protection all classes of men, at all times, [71 U.S. 2, 121] and under all circumstances. No doctrine, involvin
     more pernicious consequences, was ever invented by the wit of man than that any of its provisions can be suspended during any of th
15
     great exigencies of government. Such a doctrine leads directly to anarchy or despotism, but the theory of necessity on which it is base
     is false; for the government, within the Constitution, has all the powers granted to it, which are necessary to preserve its existence; a
16   has been happily proved by the result of the great effort to throw off its just authority."

17   There seems to be a difference of opinion between the legislative branch of the Federal government and the Judicial branch as to th
     effectiveness of the Constitution in a state of war. This difference certainly needs to be explored to find the real truth, after all that is
18   exactly what wall want, is the truth.

19   The Supreme Court of the United States of America has stated the truth about the courts of the United States as far back as 1933, in an
     obscure case brought by a U.S. Court of Claims Judge concerning the diminishment of his salary while he was still in office. This
20   case, Thomas S. Williams v. United States, 77 L.ed. 1372 (1933) is called by the government of the United States a "judici
     embarrassment", but the fact of the matter is that this particular case opinion tells the story about the United States Courts under
21   Article I, III and IV. The reader only has to read this case about 10 to 15 times before all that is said will sink in.

22                                                          III
          AN INDIC1MENT IS TO SUSTAIN A CONVICTION, for Apostolic Letter issued Motu Proprio,
23   1. "The jurisdiction of United States of America, has been rules; 1885 International Rules, USA is Federal Jurisdiction
     the Federal Government and the National Bank run the Country.
24
     The requirement to prove jurisdiction is particularly important when the government ofa foreign state (the 'United
25   States') brings criminal charges against another State.
     An indictment is "vague" if it does not allege each of the essential elements of the crime with sufficient clarity to enable
26   the defendant to prepare his defense. U.S. v. BI-CO Pavers, 741 F.2d 730 (1984). Where the defendant must guess at its
     meaning, it is vague and violates the first essential element of due process. See Connolly v. General Construction Co.,
27   269 U.S. 385, 391, 46 S.Ct. 126, 127, 70 L.Ed. 322(1926). [U.S. v. Cruikshank, La. 92 U.S. 542, 558 (1872)]
     [emphasis added]
28


                                                        - 8 -
                                     DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
          Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 10 of 68
                                     (                                                             (


 1   ON THE JURISDICTION OF JUDICIAL AUTHORITIES OF Vatican City STATE IN CRIMINAL MATTERS
     In our times, the common good is increasingly threatened by transnational organized crime, the improper use of the markets
     and of the economy, as well as by terrorism.
 2   It is therefore necessary for the international community to adopt adequate legal instruments to prevent and counter criminal
     activities, by promoting international judicial cooperation on criminal matters.
 3   In ratifying numerous international conventiom in these areas, and acting also on behalf of Vatican City State, the Holy See h
     comtantly maintained that such agreements are effective means to prevent criminal activities that threaten human dignity, the
 4   common good and peace.
     With a view to renewing the Apostolic See's commitment to cooperate to these ends, by means of this Apostolic Letter issued Motu
 5   Proprio, I establish that:


 6   1. The competent Judicial Authorities of Vatican City State shall also exercise penal jurisdiction over:

 7   a) Crimes committed against the security, the fundamental interests or the patrimony of the Holy See;

 8
     b) Crimes referred to: - i11 Vatica11 City State Law No. VIII, of 11 July 2013, containi11g Supplementary Norms on Crimi11al Law
     Matters; - i11 Vatican City State lilw No. IX, of 11July2013, co11taini11g Amendme11ts to the Crimi11al Code and the Crimi11al
 9
     Procedure Code; when such crimes are committed by the persons referred to i11paragraph3 below, i11 the exercise of their
10   fu11ctions;

11   c) A11y other crime whose prosecution is required by an intemational agreeme11t ratified by the Holy See,                if the perpetrator is
     physically present in the territory of Vatican City State and has 11ot bee11 extradited.
12
     2. The crimes referred to in paragraph 1 are to be judged pursuant to the criminal law in force in Vatican City State at the time
13   of their commission, without prejudice to the general principles of the legal s~tem on the temporal application of criminal
     laws.
14
     3.for tlte purposes of Vatican criminal u1w, the following persons are deemed "public officials":
15
     a) Members, officials and personnel of the various organs of the Roman Curia and of the Institutions connected to it.
16
     b) papal legates and diplomatic personnel of the Holy See.
17

     c) those persons who serve as representatives, managers or directors, as well as persons who even de facto manage or exercise
18
     control over the entities directly dependent on the Holy See and listed in the registry of canonical juridical persons kept by the
     Goveruorate of Vatican City State;
19
     d) any other person holding a11 administrative or judicial mandate in the Holy See, permanent or temporary, paid or unpaid,
20
     irrespective of that person's seniority.
21
     4. the jurisdiction referred to in paragraph 1 comprises also the administrative liability of juridical perso115 mising from
     crimes, as regulated by Vatican City State laws.
22

23   5. When the same matters are prosecuted in other States, the provisiol15 in force in Vatican City State on concurrent
     jurisdiction shall apply.
24
     6. The content of article 23 of Law No. CXIX of 21 November 1987, which approves the Judicial Order of Vatican City
     State, remains in force. This I decide and establish anything to the contrary notwithstanding.
25

26   I establish that this Apostolic Letter issued Motu Proprio will be promulgated by its publication in L'Osservatore Romano,
     entering into force on 1 September 2013. Given in Rome, at the Apostolic Palace, on 11 July 2013, the first of my Pontificate.
     FRANCISCU This Agreemenl shall be applicable to the servicing ofconferences and meetings organized by the parties to the Agreement, by any
27   mode of interpretation and on a worldwide basis, pursuant to their mandated activities.
     It shall be open to all existing organizations of the United Nations Common System and shall be extended by mutual agreement to other organizations o
28   the Common System invited to join the Agreement during its period ofvalidity. The list of organizations that are party to the Agreement is contained in
     Annex F.


                                                                            - 9 -
                                         DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
          Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 11 of 68
                                      (                                                              (


              A reform of the international monetary system; or With the National Bank of E.thiopia running the International monetary system
 1
                                                           Public Service Reform
     Reforms are ongoing to establish a more transparent and rules-based framework for public employment and compensation. As part of these efforts, we
 2   are undertaking a comprehensive compensation review and building a database on all wages and allowances paid to public employees, which is on track
     for completion for all entities in the central government wage bill by end-December 2017. We are also undertaking a full employee census to verify each
 3   employee's post and !heir eligibility for allowances. We have completed the pilot process and expect to complete this census for all entities in the central
     government wage bill by end December 2017. To aid us in our efforts to improve control and monitoring over wage spending, we are also upgrading ou
     human resources software system and putting in place stronger safeguards against hiring outside of approved positions.
 4
                 WAIVER NOT PERMITTED TO EXTEND STATUTE OF LIMITATIONS
 5   An action was brought to recover debt from the defendant the proceeds of a book which allegedly libeled the plaintiff. The one year statute of
     limitations barred an action for recovery of damages for libel
 6
     Evidence-International Courts ofJustice, to Take Judicial Notice of Public Statutes and Judicial Decisions of Other States of the United States.
     Connection, intercourse, and constitutional ties which bind the several states of the United States together have demanded relal!lltion from the strictness
 7   of the common law rule requiring that statutes ofother states be regarded and proved as matters of fact. The Missouri Legislature, in an act approved on
     April 6, 1927, enacted abrogation of this common
 8   Law rule thus:
     Section 1. In every action or proceeding wherein the law of another state of the United States of America is pleaded, the courts of this states hall take
     judicial notice of the public statutes and judicial decisions. Laws of Missouri, 1927, p.156.
 9   Since Pope Francis, new law 2017, of July to remove corporation from the world trust; the Central Government Federal Democratic Republic
     of Ethiopia, abroad: "The Federation" (Harare Governor Office), shall uphold self-execution Treaties between IBA and Ethiopia, and Federal
10   Law 621/2009.


11                  Recommended Citation. Editors, Law Review (1950) Recommended
         EVIDENCE - HOLDING AS A MATERIAL WITNESS IN ORDER TO SECURE A CONFESSION
      Evidence- International Court of Justice to Take Judicial Notice ofPublic Statutes and Judicial Decisions of Other States of the United States, 13
12   St. Louis L. Rev. 151 (1928). Available at: http://openscholarship.wustl.edu/law lawreview/voll3/iss2/7
     Universa!Jurisdiction allows states or International organimtion to claim criminal Jurisdiction over an accused person regardless of where the alleged
13   crime was committed, and regardless ofthe accuser's Nationality, country ofresidence, or any other Relation with the Prosecuting entity.


14                                                                 v
                                                           CONCLUSION
     Dated October ___ , 2017
15
     Respectfully ubmitted: Federal Democratic Republic of Ethiopia, abroad:" The Federation Harare Governor
     Senior Dire or General/,          cretary ·~Fuller, I
16

17
     X:___i~~~~L.:~~~~ ·~~~~~~~~~~~~~~~-
     c.c.James Clinton Belcher, Head of Sta e United States of America, Unincorporated with renew the Bond of United State of
     America unincorporated Anna Maria Riezinger, Fiduciary. with explicit reservation of all my unalienable rights and without
18   prejudice to any of my unalienable rights, In Propria Persona, Sui Juris
     by: Anna Maria Riezinger, Fiduciary
     United States of America, Unincotponied
19   do Box 520994
     Big Lake, Alaska 99652
     (907) 250-5087
20   avannavon@ginail.com
     by: James Clinton Belcher, Head of State
     United States of America, Unincotporaed
21   do Box 520994
     Big Lake, Alaska, 99652
     (907) 250- 5087
22   avannavon@ginail.com
     Posted by Paul Strarner
23   Anna von Reitz, FDR, Shadow Government, Situs Trust


24

25

26

27

28


                                                                            -   10 -
                                          DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
            Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 12 of 68




  1
        Attomey(s) Emperor, Haile G. Sellassie, I:
  2     Crown Council Tribe of Lion of Judah
        King Emanuel the Seven Black International Congress
  3     Firm 1s Federal Democratic Republic of Ethiopia, Abroad: "The Federation"
        Ambassador Negash Kibret Director General for International Organizations
  4     Ambassador Taye Atskeselassie Director General for Amer Affairs
        Ato Reta Alemu Director General for International Legal Affairs
        Ato Zewdu Gebreweld Head of the ICT Center
  5
        Director General for African Affairs
        Ato feyisel Aliyi Director General, Diaspora Engagement Affairs
  6
        Harold G Fuller, I Senior Director GeneraVHousing Secretary
        Solomon E Wolfe, Land Grant Administrator for the Country of Ethiopia
  7

  8
                       International Tribunal of Climate Justice as a compliance mechanism:
  9
                                         Of the Imperial Crown of Ethiopia
                                  Government of the Holy Roman Empire the Vatican Chancery Court-
10
                                             Vnited States District Court of Kansas
         Federal Democratic Republic of Ethiopia,       )       Case No.: OTP# 1-CR-203-15-001
        .abroad:" The Federation Harare Governor Office )
11                                                                       A Brief Report for Those Trying to Understand the
         .James Clinton Belcher, Head of State United States of      )
        .America, Unincorporated c/o Box 520994 Big Lake,            )   New World
12      .Alaska, 99652 (907) 250- 5087avannavon@gmailcom             )     APOSTOLIC LEITER ISSUED MOTU PROPRIO OF THE
        by: Anna Maria Riezinger, Fiduciary two High                 )    SUPREME PONTIFF FRANCIS/self-executing Treaties Ratili1
                                                                          in Ethiopia, Addis Ababa: The High Contracting Parties:
13    . Contracting Parties in the United States of America          )
                                                                          Criminal Indictment for all corporations THAT VIOLATION of
      . thiopia                                                      )    Human Right's of People's Human Affair's: and Environmental
14           Plaintiff, vs.                                               Common Court. Regulate: I 885 International Rules: USA is Fede
      .. DEF:, Olathe, Police Department,file#20170013570            )    Jurisdictions'
15 Department, INS CORPORATION, Scott Harvey Real
   ES tate company Dorsch Law Firm, and Real/EState company              Thursday, September 28, 2017
   anyone else. The UNITED STATES, INC. and all its
16 municipal franc/rises dba CHINA (INC.), JAPAN (INC.), State
   Farm(INC) INDIA (INC.), STATE OFOREGON(INC.),JOHN
l? MICHAEL SMITH (INC.), CITY OF OMAHA (INC.), UNITED
   KINGDOM (INC.), FLORIDA (INC.), CANADA (INC.),
   AUSTRALIA (INC.) Municipal United States Government, A II
18 incorporated entities (called legal fictions) C-Corps, S Corps,
   LLCs, Trusts, Foundations ad infinitum, is in Chapter 7
   liquidation since 2015.
19

20

21                                                          Basic Concepts and Discussion
        The natural world is organized according to air, land, and sea.
22      The systems of law and the governments and institutiol15 of men have also been organized according to 'jurisdictions" of
        air, land, and sea.
23      The jurisdiction of the land is national in nature.
        The jurisdiction of the sea is international in nature.
24
        The jurisdiction of the air is global in nature.
25     All actual as.sets, gold, silver, land, etc., have their existence on orin the land.
       All fictional as.sets, titles, stocks, bonds, etc. have their existence on or in the sea.
26
       There is a point of interface retween land and sea known as international land jurisdiction established by the postal
       district(s), postal offices, and post roads which interface with sea lanes designated for international trade and travel.
27

28


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                                        DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
         Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 13 of 68




 1   As a result, a "corporate" entity which is private and non-commercial and unincorporated, like a Mom and Pop
     business, for example, Steve's Food Store, may interface with and do business with an ''incorporated" entity established
 2   by a corporate charter, like Food Services of America, Inc.
     This sort of business relationship takes place in the realm of International Trade, not Commerce, because Steve's Food
 3   Store is not incorporated.
     In order for commerce to occur both entities must be incorporated and functioning under a charter granted by an
 4   unincorporated (sovereign) entity.
     UnincoqXlrated businesses function under ''full commercial liability" and have to "indemnify" themselves.
 5
     Incorporated businesses function under ''limited commercial liability" and have to ''insure" themselves.
 6   As a result, an unincorporated government such as the Shawnee Tribal Council or the United Sta,tes of America
     (Unincorporated) can charter an incorporated business, such as Grand Fox, Inc., or the State of Illinois, Inc., but no
 7   incorporated entity can create an unincorporated one.
     This is because a man can create and name an organization and stipulate a purpose and function for that organization, but
 8   such an organization cannot create a man.
     In the past, unincorporated governments have created and chartered governmental services corporations in an effort to
 9
     manage risk. So, the United States of America (unincorporated) or Delaware (unincorporated) could create and charter a
     commercial incorporated entity called the USA, Inc., or Delaware, Inc. or State of Oregon.
10
     Those incorporated (chartered) entities, such as the State of Oregon were then free to establish relationships with other
11   incorporated entities (that is, conduct commerce) and to spin off municipal franchises like the STATE OF OREGON.
     Now that you see how this process works and know that the unincorporated entity (corporate but not incorporated) is
12   really the source of all power in this system, the following pages will make better sense. Examples:

13   Steve's Food Store (Unincorporated) can create ''Betty's Market, Inc." and then Betty's Market, Inc. can create
     ''municipal franchises" for itself --- BETTY'S MARKET NYC, INC.
14
     The United States of America (unincorporated) can create ''State of Idaho, Inc." and then this State of Idaho can create the
15   franchise STA1EOFIDAHO orCITYOFBOISE.

16   Obviously, it is of great importance to know whether a business is incorporated or unincorporated, and if it is
     incorporated, under what charter and ownership?
17
                                                        Unfortunate History
18
     In the l 860's the unincorporated government organizations got greedy and not only spawned all the various
19   incorporated governmental services corporations via the process descrired, but also contrived to make living men
     subservient to these artificial constructs by ''impersonating" and "enfranchising" them, too.
20
     This was done by copyright infringement and Breach of Trust, with the aim of creating "public trusts" which could
21   then be pillaged and plundered under color of law.

22   Let's see what happened in England: the uninmrporated government operated by Queen Victoria already had an
     incorporated (chartered) government services corporation, the United Kingdom, so then the United Kingdom, Inc., spun
23   off a franchise o~rated as the UNITED KINGDOM which then established municipal charters for its own franchises,
     SCOTLAND, IRELAND, ENGLAND, WALES, NEW CASTLE, EXETER, and so on.
24
     This was going so well and so much new money was being raised from all these new assets (things to tax) created out of
25   thin air, that Benjamin Disraeli promoted opening up the "enfranchisement opportunity" to the working class in England:
     give them a vote as corporate shareholders in exchange for seizing upon the copyright to their names, their rights, their
26   labor, the value of whatever private assets they might have--- basically make them slaves of the government under the
     guise of voluntary indentured servitude, and issue bonds based on the value of all that formerly private pro~rty, too.
27

28


                                                    - 2 -
                                 DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
         Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 14 of 68
                                (                                                   (



 1   Milliorn of unsuspecting Englishmen clamored to be "enfranchised" and thought that the right to vote was a good thing
     and that it was giving them a greater voice in their government, irntead of surreptitiously stealing everything of value
 2   from them and "monetizing" it for the benefit of the government.

 3   A similar process was undertaken in America and throughout the Commonwealth countries at about the same time, with
     one interesting twist. The unincorporated government of the United States of America wouldn't go along with it, so
 4   their governmental services company known as the United States Trading Company, was bankrupted via an illegal
     commercial mercenary "war" and its associated expenses.
 5
     This left the bankruptcy Trustees a free hand to restructure the "federal government" into a British-style system
 6   analogous to what we described above. The perpetrators replaced the unincorporated United States Trading
     Company with the British-chartered United States of America, Inc., and the municipal United States, Inc., and both
 7
     these corporations began chartering all their various municipal franchises like rabbits in springtime.


 8
     Just as in England, the men were almost immediately enfranchised with the enticement to have a vote in the affairs of the
     corporations--- but, the real deal was never disclosed. Later as the profits from enfranchising all the men dwindled, the
 9   pressure was on to enfranchise the women, too, and finally, the perpetrators sank so low as to create an automated system
     of enfranchising babies in their cradles.
10
     The end result of this system of enfranchisement (as in a McDonald's franchise) is to enslave people under color of
     law and make them subservient to foreign corporations. They are the ms elves then impersonated and press-ganged and
11
     conscripted into the service offoreigngovernments --- which has been outlawed for 200 years, and their land and other
     assets are seized upon and rolled into public trusts which can then be plundered and pillaged at will by the
12
     perpetrators.
13
     For example, the natural given Trade Name of a man born on the land jurisdiction of Vermont might be Jonathan Edmund
     Sykes. Instead of his Common Law Copyright to his own name being recorded as a land jurisdiction Trade Name, it is
14
     nowadays registered as a Foreign Situs Trust operating in the international jurisdiction of the sea as a "vessel" of the
     Territorial United States, which just coincidentally, happens to be doing business as "Jonathan Edmund Sykes".
15
     This is a fundamental mis-characterization of the nature and political status of the man as a ''person"--- a fictional entity--
16
     - which results in genocide on paper and identity theft in fact. His natural identity as a man and his lawful Trade Name is
     literally killed and considered a "decedent" upon the issuance of a false Birth Certificate in his name.
17
     Then, the Territorial United States corporation spirn off"JONA1HAN EDMUND SYKES", a Cestui Que Vie municipal
18
     trust, and "JONA1HAN E. SYKES" a Public Transmitting Utility, and so on --- and all these names and fictional entities
     are used to indebt and control the living man as an asset and chattel without his knowledge or consent.
19
     The victim and his family are never told anything about it, and he never receives any actual compensation for all this. He
20
     receives whatever benefit everyone else receives from the construction of roads and bridges and ports and so on, and also
     is expected to pay for that benefit via taxes. The trusts established in his name are never claimed by him, because he
21
     doesn't know that they exist, so the banks and governments claim that these assets are "abandoned" and seize them under
     false pretenses for their own benefit.
22
     Because the unincorporated government of the United States of America never agreed to any of this, and because it
23
     eventually had to be released from bankruptcy, it continues to exist, and is now not only free and clear of any debt, but
     also by definition is the Paramount Security Interest Holder and Priority Creditor of all the bankrupt foreign corporatiorn
24
     and franchises of those corporations which have usurped upon our states and our people for the past 150 years.

25                                                   The Current Bankruptcies

26   The UNI1ED STATES, INC. and all its municipal franchises dba CIHNA (INC.), JAPAN (INC.), INDIA (INC.),
     STATE OF OREGON (INC.), JOHN MICHAEL SMITH (INC.), CITY OF OMAHA (INC.), UNITED KINGDOM
27   (INC.), FLORIDA (INC.), CANADA (INC.), AUSTRALIA (INC.) ..... ad ilifinitum, is in Chapter 7 Liquidation since
     2015.
28


                                                       - 3 -
                                    DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
         Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 15 of 68
                                (



 1   This then forced the Territorial United States and its corporate franchises dba China (Inc.), Japan (Inc.), State of
     Oregon (Inc.), John Michael Smith (Inc.), City of Omaha (Inc.), United Kingdom (Inc.), Florida (Inc.), Canada(Inc.),
 2   Australia (IncJ .... ad infinitum, is in Chapter 11 Reorganization as of May 1, 2017----because they are no longer the
     beneficiaries of the municipal franchises.
 3
     Meantime, the actual, factual United States of America (Unincorporated) has been slogging along since 1868, objecting to
 4   this madness and continuing to operate its own silver currency and its own affairs despite the shameful and criminal
     operatiorn of these foreign coqurate interests which have operated in fraud and breach of trust and breach of commercial
 5   contract on our shores.

 6
     Some people like Karen Hudes have said that our lawful government is in ''interregnum" - a state of abeyance, dormant,
     not functioning---- but that is not true. Our lawful government has never ceased operations and the ignorance and
 7   uncaring and self-interest of various other nations does not change that fact.

     Other people, like Benjamin Fulford, continue to try to confuse both the ''United States, Inc." and "United States of
 8
     America, Inc." with the unincorporated government of the United States of America---- which is like confusing a Barbie
 9   doll with a woman of the same name.

     Still others are intent on pretending that because these foreign territorial and municipal corporations named after us is
10
     bankrupt, that we are bankrupt--- a process of ''assumption" that we have publically and repeatedly objected to in no
     uncertain terms. Not only are we not bankrupt, we are the Paramount Security Interest Holders and Priority Creditors.
11
     The reason that all the other nations on Earth have an interest in denying our existence and competence is that they all
12
     without exception owe us money, or resources, or settlement of exchange balance sheets---- most of which they can't pay.
13
     So they have been attempting to claim that our assets are ''abandoned" and various parties have tried to sei:ze upon us and
     our assets via other avenues, too---- all to no avail. We are here, we are alive and well, we know who and what we are, we
14
     know what has been done to us, and we know who is responsible.
                                                In2008
15
     There were only a handful of unincorporated lawful governments left in the world: the Holy See, Iran, Iraq, Libya, North
16
     Korea, a few Pacific Island Kingdoms, and ..... The unincorporated United States of America, though everyone
     discounted us at the time.
17
     With these exceptions, the Holy See owned and operated through its property management corporation, the VATICAN,
18
     all the incoqurated governments doing business as governmental services corporations in the world.
19
     The unincorporated government of the Holy See chartered the municipal (city-state) governments and franchises
     including the UNITED STATES, INC., which chartered all the others as franchises: JAPAN, GERMANY, and UNITED
20   KINGDOM ..... USA, JOHN MARK OLSON, CITY OF BAL TIM ORE and so on.
21
     It also held all the Territorial government corporations, secondarily, through Vassals.
22   All roads literally led to Rome. All these corporations were created literally by the Holy See via the VATICAN, INC. or
     via the UNITED STATES, INC. or via the United States of America, Inc., and at the very top of the food chain, perched
23   like a cherry on top of everything else, controlling - at least in theory - everything underneath it, was the unincorporated
     government of the Holy See.
24
     As you can see from history, there are those who wish to have the Holy See in this kind of control, and as you can also
25   see, the Holy See has failed to do the job entrusted to it. We had a solemn and sacred treaty with the Holy See, a
     Concordat, which a few weasels attempted to "redefine" by impersonating us. To its credit, the Holy See and the Pope
26   immediately took action to correct beginning in 2008.

27   Nine years later, the unincorporated government of the United States of America --- our government --- is still standing
     and is the unquestioned Paramount Security Interest Holder of all American assets, and the Priority Creditor of most of
28   the bankrupt governmental services corporations worldwide.

                                                       - 4 -
                                    DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
          Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 16 of 68
                                      (


                                                                    The Situation
 1
     The corporations serving as the "federal government" are in bankruptcy liquidation (municipal) or bankntptcy reorganization
 2   (territorial) and are ill receivership to bankruptcy Tmstees. From our perspective, this is like having your local hair salon forced out of
     business and your local gas station in reorganiZ11tion.
 3
     It has nothing direct to do with us, except that we needed to find other service providers competent to rnt our hair and fill our tanks----
 4   and hopefully do a more honest job of it-who are nonetheless able to operate under the auspices of the original service contract, The
     Constitution for the united States of America.
 5   If we hadn 'tfound competent federal partners that exist under their own separate pre-existing charters and treaties, the actual
     Constitution would have been vacated from the federal side of the agreement--- but we did find competent partners and we did issue
     new Sovereign Letters Patent.
 6
     We have partnered with the American Native Nations to fulfill the responsibilities owed by the federal govemment until such time as
 7   the millions of Americans wlw have slept through this entire debacle can be brought up to speed and made whole and enabled to
     convene a competent land jurisdiction (continental) Congress.
 8
                                                                              The Debt
 9
     There is no zuunet national debt--- there is only national credit that has not been applied to the ledger by those seeking to abscond with
     the payments made by millions of innocent people via bogus claims of abandonment and embezzlement. We have authorized the
10   application of the national credit to the national debt and as the Priority Creditors of (almost) the entire world, do not need nor do we
     seek bankruptcy protection.
11
                                                                        The Foreclosures
12
     There are 110 valid foreclosures because these transactions have been voided by fraud and non-disclosure. All "mortgages" resulting
13   from so-called "home loans" are debts owed by the territorial and municipal corporations, not people, and are in fact lease
     repurchase agreements, neither mortgages nor loans in fact. These governmental services corporations "borrowed" our assets
     without our knowledge or consent, hypothecated debt based 011 our assets, and have 11ow go11e bankrupt--- leaving the world to
14   suppose that we agreed to all this and that we are avoiding payment, when in fact we are objecting to claims of Odious Debt and taking
     practical action to end this fiasco. To protect the pension funds and investors while holding the people harmless, we have developed a
15   means to hold all foreclosures in abeyance and translate this odious debt into credit--- for the actual homeowners.

16                                                              Securities --- The Funny Money

17   The various fiat currencies and bonds and securities related to dzem have to be restructured. It is a given that sernrities will continue
     to exist and be used in some forms in the future, but it is also a given that the securities now in existence have been compromised by
     counteifeiting and other issues. We will be wrapping old US Treasury Bonds and creating new hybrid high security bonds backed by
18
     gold, oil, or other actual commodity assets.
19
     FAILURE TO CONDUCT REASONABLE INVESTIGATION FOR RESPONSIVE DOCUMENTS AND
2o   OTIIER DISCOVERY ABUSES WARRANT ADVERSE INFERENCE INSTRUCTION
21
     In this patent infringement litigation, the International court judge affirmed the United States of America and the Peoples' right do required
22
     PROTECTION in the USA, report and recommendation that plaintiffs motion for sanctions TO FREEZE ASS EST OF AGAINST THE DEFENDAND

23   ACCORDING TO TITLE 18 CRIME AND CRIMINAL PROCEDUAL against the defendant be granted in part. INS ffiROORATION gave false
     discovery responses NEVER RENEW THERE CONTRACT WITH GSA, after February 2015 expire and still flipping Federal Properties; (2) Dorsch
24
     law firm failed to Record with Secretary of Housing and Urban Development, (3) Dorsch Law Firm engaged in deposition misconduct. From the paper

25   trail requested that judgment be entered against Dorsch Law; firm, 10615 W 148th St Overland Park, KS 66221 Phone number(913) 685-9190

     Business websitedorschlawfirm.com ISN CORPORATION, Scott Harvey Real ES tate agent or alternatiwly, that the court issue multiple
26
     sanctions including an adverse inference instruction.
     A party's obligation to conduct a reasonable inquiry when presented with discowry requests during litigation also triggers an "obligation to
27   preserw evidence arises that when the party has notice that the evidence is relewnt to litigation or when a party should haw known that the
     evidence may be relewnt to future litigation." Zubulake v. UBS Warburg LLC, 220 F.R.D. 212, 216 (S.D.N.Y.2003); see also E*TRADE Sec. LLC
28   v. Deutsche Bank AG, 230 F.R.D. 582, 588 (D.Minn.2005). Al though Dorsch Law Firm, Scott Harwy Real Estate, ISN CORPORATION,
     Olathe, Police conspired to steal United States of America Properties continuely has indicated that he prevented some documents from being


                                                             - 5 -
                                          DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
           Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 17 of 68




     destroyed, of officer refuses to complete a proper report form, did not implement a company-wide litigation hold on relevant documents. There
 1   is no indication that IS N CORPORATION INC, never renew there contract with GS A:. CAPTAIN BRAGG told Mr. Fuller during his
     deposition that if you enter the properties the you shall go to jail, they has knowledge these private corporation is embezzling Federal
 2   Properties which is violation of Title 18 Crime and Criminal procedural.


 3                                                       The Final Word
     The Earth and our labor and the derivatives of our labor--- copyrights, trademarks, patents, and so on -are the only sources of value
 4   on this planet and there is no exhaustion or limit of the riches and assets we all possess. This is true for all people of every nation.
                 The Old Structure: As Regards the Relationship of the Holy See to the Incorporated Governments
 5
     The Holy See Unincorporated Government of the Holy Roman Empire The Vatican Chancery Court - The Bank of the Holy See
 6   The Vatican City State Municipal Franchise The Vatican Bank The United States, Incorporated, Municipal Franchise (now in
     Chapter 7) All other Municipal Government Franchises Worldwide The United States of America, Incorporated, Territorial
 7   Franchise (now in Chapter ll)All other Territorial Government Franchises Worldwide

 8   The New Structure: As regards Settlement of Debts Owed and Ownership Interests The Holy See Unincorporated Government of
     the Holy Roman Empire Vatican Chancery Court - The Bank of the Holy See
 9
     United States of America Unincorporated Government of the United States American States and Nations Bank -- International
1o   Trade Bank Athabascan and lilkota Sioux Tribal Nations Sovereign Bank of Dene - International Trade Bank, Bank of Dene -
     Commercial Bank All Municipal Governments/Franchises Worldwide All Territorial Governments/Franchises Worldwide
11
     Accordingly.Roman Empire The Vatican Chancery Court-The Bank of the Holy See The Vatican the court imposed anumberof
12   evidentiary sanctions, including an adverse inference approx; 4 years Pope Francis, introduce new Law to remove all corporation from the world for
     maladministration, and misconduct of Public Trust of the United States of America, if these corporation violate the other High Contracting Parties may
     replace there corporation and the Federal Government shall run there Federal Territories as state 1885 International rules, United States of America is
13   Federal Jurisdiction, U.S. Superior Court back that decision. Now Pope Francis New Law, shall prevail, through the United States of America and the
     World, with the assistance of the Government of the Holy Roman Empire the Vatican Chancery Court.
14
     Any question please don't Hesitate o contact the Head of States Mr. James Clinton Belcher at the number below.
15
     C.c. James Clinton Belcher, Head of State, United States of America (Unincorporated) (907) 250-5087
16   C.c. Anna Maria Riezinger, Fiduciary
     c.c. pstramer@gmailcom
17   c.c. Francis A Boyle International: OTP.informationDesk@icc-cpi.int

     October 3, 20I7
18   Harold Glen Fuller I, Senior Director General                                 crattc' Republic of Ethiopia, Abroad: "The
     Federation" (Harare Governor Office) X: ..:::!;i,J~~~~~~~~~==-_),~&~'.::;J,!::____:: Indlfini1ede1enlion wiOtouttrial
19   Indefinite detention is theinc:arceration of an arrested person by a Nat" n Government ofEthiopia, abroa . " eFederation" or law eni>rc.ement agency without a trial, and violates many National and
     International Laws, including human rights laws. In recent years, governments have indefinitely incarcerated individuals suspected of terrorism, sometimes declaring them enemy combatants

20
                     P.S. All Official's as of2017,A Brief Report/or Those Trying to Understand the New World;
21
             Nation-wide, Class-Action to renew all Elected Official, Federal and state, Municipal oath of office/criminal;

22
                                   So You Took an Oath to Defend and Preserve the Constitution ...
23
     "Instead, you are invited to renew your Oath to the actual Constitution and to the unincorporated Ethiopia/United States of America" H ad
     of State Mr. James Clinton Belcher shall keep track of all his employee's so we may Enforcement and Compliance Treaties of this new
24   World Order of the Fourth Branch of the Government the PEOPLE'S Human Right's Liberty, and Sovere ignity of America.

25

26

27

28


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                                                  DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
           Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 18 of 68




   Federal Democratic Republic of Ethiopia, abroad: "The Federation" (Harare Governor Office)

                                              AFF1DA VIT OF ADVERSE CLAIM
   Federal Democratic Republic of Ethiopia, abroad: "The Federation" (Harare Governor Office) High Contracting Parties of
   United State of America, after having been sworn to in accordance with law of the High Contracting Parties

   1. On August 1, 2017, Federal Democratic Republic of Ethiopia, abroad: "The Federation" (Harare Governor Office) have
   entered into a Deed ofEstoppels Sale which was acknowledged on the same date before and entered in his Regi'iter lti Doc. No.
   20170706-0001343; Deed, Special Warranty A copy of the said Deed is hereto attached and made an integral part of this
   Affidavit;

   2. in the said Deed of Estoppels Sale, Federal Democratic Republic of Ethiopia, abroad: "The Federation" (Harare Governor
   Office) was the Grantee, of a certain parcels of land covered by Transfer Certificate/FHA# 182-10921/ more particularly
   described as follows: Technical Description of Property)

   3. from the date of signing thereof, it was stipulated in the aforementioned Deed that title and ownership over the subject
   property will only be transferred upon full payment of the sanE;

    4.That the Debtor in the said Deed of Estoppels Sale agreed Uniform Commercial Code that upon its execution, said Deed shall
           be annotated in the Title with the Office of the Register of Deeds of International Court of Justice; THEREIN.
                               § 8-106. CONTROL.> § 9-623. RIGHT TO REDEEM COLLATERAL.
      (a) [The Govermrent may redeem.]
        A debtor, any secondary obligor, or any other secured party may redeem collateral.
      (b) [Requirements for redemption.]To redeem collateral, a person shall tender: (1) fulfillment of all obligations secured by
      the collateral; and (2) the reasonable expenses and attorney's fees described in Section 9-615(a) (I).
      (c) [When redemption may occur.]
        Redemption may occur at any time before a secured party/High Contracting Parties :( 1) has collected collateral under
        Section 9-607;
           (2) Has disposed of collateral or entered into a contract for its disposition under Section 9-610; or
           (3) Has accepted collateral in full or partial satisfaction of the obligation it secures under Section 9-622.
   5. However, since the said Deed of Estoppels Sale per se could be annotated on the Title with the Office of the Register of Deeds,
   I am there force executing this Affidavit for the purpose of attesting to the truthfulness of the foregoing allegations and in support
   of my request for the annotation of an adverse claim over the parcel of land covered by the Transfer Certificate of Title

   No. 20170013570 IN WITNESS WHEREOF, I have hereunto set my hand this Olathe, Ks, in the City/Municipality
   of Ethiopia, /United State of America.


TI tie 18 Crime and Criminal Procedural COMMISSION ON THE ADVANCEMENT OF FEDERAL LA w ENFORCEMENT
      Pub. L. 104-132, title VIII,§ 806, Apr. 24, 1996, 110 Stat. 1305, established Commission on the Advancement ofFederal I.aw Enforcement,
  directed Commission to review and recommend action to Congress on Federal Ia w enforcement priorities for 21st century, including Federal Ia w
  enforcement capability to investigate and deter adequately threat of terrorism facing United States, standards and procedures, degree of
  coordination with international, State, and local law enforcement agencies, and other matters, provided for membership and ad ministration of
  Commission, staffing and support functions, and powers to hold hearings and obtain official data for purposes of carrying out its duties, required
  report to Congress and public of findings, conclusions, and recommendations not later than 2 years after quorum of Commission had been
  appointed, and provided for termination of Commission 30 days after submitting report.

                           NATIONAL COMMISSION ON REFORM OF FEDERAL CRIMINAL LAWS
      Pub. L. 89--801, Nov. 8, 1966, 80 Stat. 1516, as amended by Pub. L. 91-39, July 8, 1969, 83 Stat. 44, provided for the establishment of the
  National Commission on Reform of Federal Criminal Laws, its membership, duties, compensation of the members, the Director, and the staff of
  the Commission, established the Advisory Committee on Reform of Federal Criminal Laws, required the Commission to submit interim reports
  to the President and the Congress and to submit a final report within four years from Nov. 8, 1966, and further provided that the Commission
  shall cease to exist sixty days after the submission of the fmal report.

 Ex. ORD. No.11396. COORDINATION By ATTORNEY GENERAL OF FEDERAL LAW ENFORCEMENT AND CRIME
                                                          PRE.VENTION PROGRA~
      Ex. Ord. No. 11396, Feb. 7, 1968, 33 F.R. 2689, provided:
      WHEREAS the problem of crime in America today presents the Nation with a major challenge calling for maximum law enforcement efforts
  at every level of Government;
         Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 19 of 68
                                                                                                       (


    WHEREAS coordination of all Federal Criminal law enforcement activities and crime prevention programs is desirable in order to achieve
more effective results;
    WHEREAS the Federal Government has acknowledged the need to provide assistance to State and local law enforcement agencies in the
development and administration of programs directed to the prevention and control of crime:
    WHEREAS to provide such assistance the Congress has authorized various departments and agencies of the Federal Government to develop
programs which may benefit State and local efforts directed at the prevention and control of crime, and the coordination of such programs is
desirable to develop and administer them most effectively; and
    WHEREAS the Attorney General, as the chief law officer of the Federal Government, is charged with the responsibility for all prosecutions
for violations of the Federal criminal statutes and is authorized under the Law Enforcement Assistance Act of1965 (79 Stat. 828) [formerly set
out as a note preceding section 3001 of this title] to cooperate with and assist State, local, or other public or private agencies in matters relating to
law enforcement organization, techniques and practices, and the prevention and control of crime.
    NOW, THEREFORE, by virtue of the authority vested in the President by the Constitution and laws of the United States, it is ordered as
follows:
    Section I. The Attorney General is hereby designated to facilitate and coordinate (1) the criminal law enforcement activities and crime
prevention programs of all Federal departments and agencies, and (2) the activities of such departments, and agencies relating to the development
and implementation of Federal programs which are designed, in whole or in substantial part, to assist State and local law enforcement agencies
and crime prevention activities. The Attorney General may promulgate such rules and regulations and take such actions as he shall deem
necessary or appropriate to carry out his functions under this Order.
    Sec. 2. Each Federal department and agency is directed to cooperate with the Attorney General in the performance of his functions under this
Order and shall, to the extent permitted by law and within the limits of available funds, furnishes him such reports, information, and assistance as
he may request.
LYNDON B. JOHNSON.


                                                           §2. Principals
   (a) Whoever commits an offense against the United States or aids, abets, counsels, commands, induces or procures its commission, is
punishable as a principal.
   (b) Whoever willfully causes an actto be done which if directly performed by him or another would be an offense against the United States, is
punishable as a principal?

                                                    §3. Accessory after the fact
                    §7. Special maritime and territorial jurisdiction of the United States defined
  TERRITORIAL SEA EXTENDING TO TwELVEMILES INCLUDED IN SPECIAL MARITIME AND TERRITORIAL
                                        JURISDICTION




                                                       Emperor Haile Selassie chatting with President
Franklin Roosevelt, February 20, 1945. (Photo. Seeker video)
The U.S. supports Ethiopia with military aid, monetary assistance and bilateral trade. So what makes their relationship
so complicated?

Formal relations between the U.S. and Ethiopia stem back to 1903, and in spite of Ethiopia's instability, the
U.S. has maintained relations with them. What are the details of the relationship between these two countries
Ethiopia/United States of America, Only Two High Contracting Parties in the Country Affiant (JURAT?
            Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 20 of 68
                                        (                                                          (


  1
        Attomey(s) Emperor, Haile G. Sellassie, I:
  2     Crown Council Tribe of Lion of Judah
        King Emanuel the Seven Black International Congress
  3     Firm's Federal Democratic Republic of Ethiopia, Abroad: "The Federation"
        Ambassador Negash Kibret Director General for International Organizations
  4     Ambassador Taye Atskeselassie Director General for Amer Affairs
        Ato Reta Alemu Director General for International Legal Affairs
        Ato Zewdu Ge breweld Head of the JCT Center
  5
        Director General for African Affairs
        Ato feyisel Aliyi Director General, Diaspora Engagement Affairs
  6
        Harold G Fuller, I Senior Director GeneraVHousing Secretary
        Solomon E Wolfe, Land Grant Administrator for the Country of Ethiopia
  7

  8
                           International Tribunal of Climate Justice as a compliance mechanism:
  9                                          Of the Imperial Crown of Ethiopia
                           Government of the Holy Roman Empire the Vatican Chancery Court -
10                                        United States District Court of Kansas
         Federal Democratic Republic of Ethiopia,     ) Case No.: OlP#l-CR-203-15-001
11     .abroad:" The Federation Harare Governor Office )                             Chapter 11, Sovereignty
         .James Clinton Belcher, Head of State United States of       )
12      .America, Unincorporated c/o Box 520994 Big Lake,             )   TITLE Commentary Title of the article (1) Since the Code
        .Alaska, 99652 (907) 250- 5087avannavon@gmail.com             )   is to cover all international agreements in writing, while
        by: Anna Maria Riezinger, Fiduciary two High                  )   retaining the title of "Law of Treaties", and since it is
13    . Contracting Parties in the United States of America           )   accordingly stated in paragraph 2 of article 1 that the term
      . thiopia                                                       )
14                                                                        "treaty" is, for the purposes of the Code, used as covering
                                                                      )   all forms of instruments embodying international
                          Plaintiff,
15                                                                        agreements, it seems necessary in article 2 to state the
            Vs                                                            meaning of the term " international agreement". Thereafter,
          .. DEF:, Olathe, Police Department,file#20J 70013570            however, (i.e., in later articles), the term "international
16
    Department, INS CORPORATION, Scott Harvey Real                        agreement" is not employed, and "treaty" is used.
    JiS tate company Dorsch Law Firm, and Real/Fstate company
17 anyone else. The UNITED STATES, INC. and all its
    municipal franchises dba CHINA (INC.), JAPAN (INC.), State
18 Farm(INC) INDIA (INC.), STATE OF OREGON (INC.), JOHN
    MICHAEL SMITH (INC.), CITY OF OMAHA (INC.), UNITED
    KINGDOM (INC.), FLORIDA (INC.), CANADA (INC.),
19 AUSTRALIA (INC.) Municipal United States Government, All
    incorporated entities (called legal fictions) C-Corps, S Corps,
2 Q LLCs, Trusts, Foundations ad infinitum, is in Chapter 7
    Liquidation since 2015.

21

22                                                  Chapter 11, Sovereignty
       The issue of sovereignty as it relates to jurisdiction is a major key to understanding our system of government under the
23     Constitution. In the most common sense of the word, "sovereignty" is autonomy, freedom from external control. The
       sovereignty of any government usually extends up to, but not beyond, the borders of its jurisdiction. This jurisdiction
24     defines a specific territorial boundary which separates the "external" from the "internal", the "within" from the "without".
       It may also define a specific function, or set of functions, which a government may lawfully perform within a particular
25     territorial boundary. Black's Law Dictionary, Sixth Edition, defines sovereignty to mean:

26     The international independence of a state, combined with the right and power of regulating its internal affair
       without foreign dictation.
27
       On a similar theme, Black's defines "sovereign states" to be those which are not under the control o
28     any foreign power:


                                                            - 1 -
                                         DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
         Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 21 of 68
                                 (                                                 (


 1
     No foreign power or law can have control except by convention. This power of independent action in external a
 2   internal relations constitutes complete sovereignty.

 3   It is a well established principle oflaw that the 50 States are "foreign" with respect to each other, just as the federal
     zane is ''foreign" with respect to each of them. See In re Merriam's Estate, 36 NE 505 (1894 ). The status of being forei
 4   is the same as 'belonging to" or being "attached to" another state or another jurisdiction. The proper legal
     distinction between the terms "foreign" and "domestic" is best seen in Black's definitions of foreign and domestic
 5   corporations, as follows:

 6
     Foreign corporation. A corporation doing business in one state though chartered or incorporated in another state is
     foreign corporation as to the first state, and, as such, is required to consent to certain conditions and restrictions i
 7
     order to do business in such.first state.

     Domestic corporation When a corporauon is organized and chartered in a particular state, it is considered
 8
     domestic corporauon of that state.
 9   The federal zone is an area over which Congress exercises exclusive legislative jurisdiction. It is the area over whic
     the federal government exercises its sovereignty. Despite its obvious importance, the subject of federal jurisdictio
     had been almost entirely ignored outside the courts until the year 1954, Economic Relations' Agreement betwee
10
     USA and Ethilpia "Treaty of Amity". Economic Relations' Agreement between USA and Fihiopia, (Treaty of Amity_
     There are only Two High Contracting Parnes in USA, In that year, a detailed study of federal jurisdiction was
11
     undertaken. The occasion for the study arose from a school playground, of all places. The children of federal employee
12
     residing on the grounds of a Veterans' Administration hospital were not allowed to attend public schools in the to
     where the hospital was located. An administrative decision against the children was affirmed by local courts, and final!
     affirmed by the State supreme court. The residents of the area on which the hospital was located were not "residents" o
13
     the State, since "exclusive legislative jurisdiction" over this area had been ceded by the State to the federal government.
14
     A committee was assembled by Attorney General Herbert Brownell, Jr. Their detailed study was reported in
     publication entitled Jurisdiction over Federal Areas within the States, April 1956 (Volume I) and June 1957 (Volum
15
     II). The committee's report demonstrates, beyond any doubt, that the sovereign States and their laws are outside th
     legislative and territorial jurisdiction of the United States** federal government. They are totally outside the feder
16
     zone. A plethora of evidence is found in the myriad of cited court cases (700+) which prove that the United States**
     cannot exercise exclusive legislative jurisdiction outside territories or places purchased from, or ceded by, the 50 States o
17
     the Union. Attorney General Brownell described the committee's report as an "exhaustive and analytical exposition of th
     law in this hitherto little explored field". In his letter of transmittal to President Dwight D. Eisenhower, Browne!
18
     summarized the two volumes as follows:
19
     Together, the two parts of this Committee's report and the full implementation of its recommendations will provid
     a basis for reversing in many areas the swing of "the pendulum of power * * * from our states to the central
20   government" to which you referred in your address to the Conference of State Governors on June 25, 1957.
21
                                       [,Jurisdiction over Federal Areas within the States]
                                          [Letter of Transmittal, page V, emphasis added]
22   Once a State is admitted into the Union, its sovereign jurisdiction is firmly established over a predefined territory. Th
     federal government is thereby prevented from acquiring legislative jurisdiction, by means of unilateral action
23   over any area within the exterior boundaries of this predefined territory. State assent is necessary to transfe
     jurisdiction to Congress:
24
     The Federal Government cannot, by unilateral action on its part, acquire legislative jurisdiction over any are
25   within the exterior boundaries of a State. Article 1, Section 8, Clause 17, of the Constitution, provides that legislativ
     jurisdiction may be transferred pursuant to its terms only with the consent of the legislature of the State in which i
26   located the area subject to the jurisdictional transfer.
27

28


                                                               - 2 -
                                 DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
         Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 22 of 68
                                                                                   (


 1                                     [Jurisdiction over Federal Areas within the States]
                                              [Volume Il, page 46, emphasis added]
 2
     Under Article 1, Section 8, Clause 17, of the Constitution, States of the Union have enacted statutes consenting to th
 3   federal acquisition of any land, or of specific tracts of land, within those States. Secondly, the federal government h
     also made ''reservations" of jurisdiction over certain areas in connection with the admission of a State into the Union.
 4   third means for transfer of legislative jurisdiction has also come into considerable use over time, namely, a general o
     special statute whereby a State makes a cession of specific functional jurisdiction to the feder
 5   government. Nevertheless, the Committee report explained that "... the characteristics of a legislative jurisdiction statu
     are the same no matter by which of the three means the Federal Government acquired such status" [Volume Il, pag
 6   3]. There is simply no federal legislative jurisdiction without consent by a State, cession by a State, or reservation by th
     federal government:
 7
     It scarcely needs to be said that unless there has been a transfer of jurisdiction (1) pursuant to clause 17 by a Feder
 8
     acquisition of land with State consent, or (2) by cession from the State to the Federal Government, or unless the Feder
     Government has reserved jurisdiction upon the admission of the State, the Federal Government possesses no legislativ
 9   jurisdiction over any area within a State, such jurisdiction being for exercise entirely by the State ....

10                                    [Jurisdiction over Federal Areas within the States]
      [Volume Il, page 45, emphasis added] The areas which the 50 States have properly ceded to the federal government
11
                                                     are called federal "enclaves":

12   By this means some thousands of areas have become Federal islands, sometimes called "enclaves," in man
     respects foreign to the States in which they are situated. In general, not State but Federal law is applicable in an are
     under the exclusive legislative jurisdiction of the United States**, for enforcement not by State but Federal authorities
13
     and in many instances not in State but in Federal courts.
14
                                      [Jurisdiction over Federal Areas within the States]
                                              [Volume Il, page 4, emphasis added]
15
     These federal enclaves are considered foreign with respect to the States which surround them, just as the 50 States ar
     considered foreign with respect to each other and to the federal wne: "... The several states of the Union are to
16
     considered as in this respect foreign to each other .... " Hanley v. Donoghue, 116 U.S. 1 (1885). Once a Stat
     surrenders its sovereignty over a specific area of land, it is powerless over that land; it is without authority; i
17
     cannot recapture any of its transferred jurisdiction by unilateral action, just as the federal government canno
     acquire jurisdiction over State area by its unilateral action. The State has transferred its sovereign authority t
18
     a foreign power:
       Once a State has, by one means or another, transferred jurisdiction to the United States**, it is, of course, powerless t
19
     control many of the consequences; without jurisdiction, it is without the authority to deal with many of the problems
     and having transferred jurisdiction to the United States**, it cannot unilaterally capture any of the transferre
20
     jurisdiction
21
                                          [Jurisdiction over Federal Areas within the States]
                                                 [Volume Il, page 7, emphasis added]
22   Once sovereignty has been relinquished, a State no longer has the authority to enforce criminal laws in areas unde
     the exclusive jurisdiction of the United States**· Privately owned property in such areas is beyond the taxing authori
23   of the State. Residents of such areas are not "residents" of the State, and hence are not subject to the obligations o
     residents of the State, and are not entitled to any of the benefits and privileges conferred by the State upon it
24
     residents. Residents offederal enclaves usually cannot vote, serve on juries, or run for office. They do not, as matter o
     right, have access to State schools, hospitals, mental imtitutions, or similar establishments.
25   The acquisition of exclusive jurisdiction by the Federal Government renders unavailable to the residents of the affecte
     areas the benefits of the laws and the judicial and administrative processes of the State relating to adoption, th
26   probate of wills and administration of estates, divorce, and many other matters. Police, fire-fighting, notaries
     coroners, and similar services performed by, or under, the authority of a State may result in legal sanction wi thi
27   a federal enclave. The "old" State laws which apply are only those which are consistent with the laws of the "new"
     sovereign authority, using the following principle from international law:
28


                                                    - 3 -
                                 DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
         Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 23 of 68
                                                                                     (


 1   The vacuum which would exist because of the absence of State law or &deral legislation with respect to civil matters i
     areas under Federal exclusive legislative jurisdiction has been partially filled by the courts, through extension to thes
 2   areas of a rule of international law that[,] when one sovereign takes over territory of another[,] the laws of th
     original sovereign in effect at the time of the taking[,] which are not inconsistent with the laws or policies of th
 3   second[,] continue in effect, as laws of the succeeding sovereign, until changed by that sovereign.

 4                                          [Jurisdiction over Federal Areas within the States]
                                               [Volume II, page 6, commas added for clarity]
 5                                                           [emphasis added]
     It is clear, then, that only one "state" can be sovereign at any given moment in time, whether that "state" be one of the 50
 6   Union States, or the federal government of the United States**. Before ceding a tract of land to Congress, a State of the
     Union exercises its sovereign authority over any land within its borders:
 7
      Save only as they are subject to the prohibitions of the Constitution, or as their action in some measure conflicts with th
 8
     powers delegated to the national government or with congressional legislation enacted in the exercise of thos
     powers, the governments of the states are sovereign within their territorial limits and have exclll'iiv
 9   jurisdiction over persons and property located therein.

10
                                               [72 American Jurisprudence 2d, Section4]
                                                          [emphasis added]
11
     After a State has ceded a tract of land to Congress, the situation is completely different. The United States**, as th
12   "succeeding sovereign", then exercises its sovereign authority over that land. In this sense, sovereignty is indivisible
     even though the Committee's report documented numerous situations in which jurisdiction was actually sharedbetwee
     the federal government and one of the 50 States. Even in this situation, however, sovereignty rests either in the State, o
13
     in the federal government, but never both. Sovereignty is the authority to which there is politically n
     superior. Outside the federal zone, the States of the Union remain sovereign, and their laws are completely outside th
14
     exclusive legislative jurisdiction of the federal government of the United States**.
15
      This understanding of the separate sovereignties possessed by each of the State and federal governments was not onl
     valid during the Eisenhower administration; it has been endorsed by the U.S. Supreme Court as recently as 1985. In tha
16
     year, the high Court examined the "dual sovereignty doctrine" when it ruled that successive prosecutions by two States fo
     the same conduct were not barred by the Double Jeopardy Clause of the Fifth Amendment. The "crucial determination'
17
     turned on whether State and federal powers derive from separate and independent sources. The Supreme Court explaine
     that the doctrine of dual sovereignty has been uniformly upheld by the courts:
18
     It has been uniformly held that the States are separate sovereigns with respect to the Federal Government becaus
19
     each State's power to prosecute derives from its inherent sovereignty, preserved to it by the Tenth Amendment, and no
     from the Federal Government. Given the distinct sources of their powers to try a defendant, the States are no Jes
20
     sovereign with respect to each other than they are with respect to the Federal Government.
21
                                           [Heath v. Alabama, 474 U.S. 82, 89-90 (1985)]
     Now, if a State of the Union is sovereign, is it correct to say that the State exercises an authority to which there is
22
     absolutely no superior? No, this is not a correct statement. There is no other organized body which is superior to
     the organized body which retains sovereignty. The sovereignty of governments is an authority to which there is
23
     no organized superior, but there is absolutely a superior body, and that superior body is the People of the United
     States*** of America:
24
     The words "people of the United States" and "citizens" are synonymous terms, and mean the same thing. They bot
25   describe the political body who, according to our republican institutions, form the sovereignty, and who hold the powe
     and conduct the government through their representatives. They are what we familiarly call the "sovereign people,'
26   and every citizen is one of this people, and a constituent member of this sovereignty.
27

28


                                                     - 4 -
                                  DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
         Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 24 of 68

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 1                                         [Dred Scott v. Sandford. 19 How. 393 (1856)]
                                                          [emphasis added]
 2    The source of all sovereignty in a constitutional Republic like the 50 States, united by and under the Constitution fo
     the United States of America, is the People themselves. Remember, the States, and the federal government actin
 3   inside those States, are both bound by the terms of a contract known as the U.S. Constitution. That Constitution is
     contract of delegated powers which ultimately originate in the sovereignty of the Creator, who endowed creation,
 4   individual People like you and me, with sovereignty in that Creator's image and likeness. Nothing stands between
     and the Creator. We think it is fair to say that the Supreme Court of the United States was never more eloquent whe
 5
     it described the source of sovereignty as follows:

 6    Sovereignty itself is, of course, not subject to law, for it is the author and source of law; but in our system
     while sovereign powers are delegated to the agencies of government, sovereignty itself remains with the people, b
 7   whom and for whom all government exists and acts. And the law is the definition and limitation of power. It i
     indeed, quite true, that there must always be lodged somewhere, and in some person or body, the authority of final
     decision; and in many cases of mere administration the responsibility is purely political, no appeal except to the ultimat
 8
     tribunal of the public judgement, exercised either in the pressure of opinion or by means of the suffrage. But th
 9
     fundamental rights to life, liberty, and the pursuit of happiness, considered as individual possessions, are secure
     by those maxims of comtitutional law which are the monuments showing the victorious progress of the race i
10   securing to men the blessings ofcivili:mtion under the reign of just and equal laws, so that, in the famous language o
     the Massachusetts Bill of Rights, the government of the commonwealth "may be a government of laws and not o
     men." For, the very idea that one man may be compelled to hold his life, or the means of living, or any material righ
11
     essential to the enjoyment of life, at the mere will of another, seems to re intolerable in any country where freedo
12   prevails, as being the essence of slavery itself.

                                         [Yick Wo v. Hopkins, 118 U.S. 356, 370 (1886)]
13
                                                         [emphasis added]
      More recently, the Supreme Court reiterated the fundamental importance of US the People as the source of sovereignty,
14
     and the subordinate status which Congress occupies in relation to the sovereignty of the People. The following language
     is terse and right on point:
15
      In the United States***, sovereignty resides in the people who act through the organs established by th
16
     Constitution. [cites omitted] The Congress as the instrumentality of sovereignty is endowed with certain powers to
     exerted on rehalf of the people in the manner and with the effect the Constitution ordains. The Congress cannot invok
17
     the sovereign power of the people to override their will as thus declared.
18
                                     [Perry v. United States, 294 U.S. 330, 353 (1935)]
                                                         [emphasis added]
19
     No discussion of sovereignty would be complete, therefore, without considering the sovereignty that resides in 'US", the
20
     People. The Supreme Court has often identified the People as the source of sovereignty in our republican form o
     government. Indeed, the federal Constitution guarantees to every State in the Union a 'Republican Form" o
21
     government, in so many words:
     Section 4. The United States shall guarantee to every State in this Union a Republican Form of Government
22
                                          [Constitution for the United States of America]
23                                            [Article 4, Section 4, emphasis added]
24   What exactly is a "Republican Form" of government? It is one in which the powers of sovereignty are vested in th
     People and exercised by the People. Black's Law Dictionary, Sixth Edition, makes this very clear in its various
25   definitions of "government":
26   Republican government. One in which the powers of sovereignty are vested in the people and are exercised by th
     people, either directly, or through representatives chosen by the people, to whom those powers are sµ:cially delegated.
27   re Duncan, 139 U.S. 449, 11 S.Ct. 573, 35 L.Ed. 219; Minor v. Happersett, 88 U.S. (21Wall.)162, 22 L.Ed. 627.
28


                                                   - 5 -
                                DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
         Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 25 of 68




 1    The Supreme Court has clearly distinguished between the operation of governments in Europe, and government in thes
      United States*** of America, as follows:
 2
      In Europe, the executive is almost synonymous with the sovereign power of a State; and generally includes legislati
 3    and judicial authority .... Such is the condition of power in that quarter of the world, where it is too commonl
      acquired by force or fraud, or both, and seldom by compact. In America, however, the case is widel
 4    different. Our government is founded upon compact. Sovereignty was, and is, in the people.

 5                                  [Glass v. The Sloop Betsey, 3 Dall 6 (1794)]
                                                          [emphasis added]
 6
     The federal Constitution makes a careful distinction between natural born ~itizens and fitizens of the United States*
 7   (compare 2:1 :5 with Section 1 of the so-called 14th Amendment). One is an unconditional Sovereign by natural birth
     who is endowed by the Creator with certain unalienable rights; the other has been granted the revocable privileges o
 8
     U.S.** fitizenship, endowed by the Congress of the United States**. One is a Citizen, the other is a subject. One is
     Sovereign, the other is a subordinate. One is a ~itizen of our constitutional Republic; the other is a £,itizen of a legislativi
 9   democracy (the federal zone). Notice the superior/subordinate relationship between these two statuses. I am foreve
     indebted to M. J. 'Red" Beckman, co-author of The Law That Never Was with Bill Benson, for clearly illustrating th
10
     important difference between the two. Red Beckman has delivered many eloquent lectures based on the profoun
     simplicity of the following table:
11
           Chain of command and authority in a:
12
      Majority Rule         Constitutional
      Democracy               Republic
13
            X                Creator
14
            Majority        Individual
            Government      Constitution
15
            Public Servants Government
        Case & Statute Law Public Servants
16
         Corporations         Statute Law
         individual         Corporations
17
      In this illustration, a democracy ruled by the majority places the individual at the bottom, and an unknown elite, Mr. 'X"
18
     at the top. The majority (or mob) elects a government to hire public "servants" who write laws primarily for the benefit o
     corporations. These corporations are either owned or controlled by Mr. X, a clique of the ultra-wealthy who seek t
19
     restore a two-class "feudal" society. They exercise their vast economic power so a.. to turn all of America into a "feudal
     zone". The rights of individuals occupy the lowest priority in this chain of command. Those rights often vanish ove
20   time, because democracies eventually self-destruct. The enforcement of laws within this scheme is the job o
     administrative tribunals, who specialize in holding individuals to the letter of all rules and regulations of the corporal
21
     state, no matter how arbitrary and with little if any regard for fundamental human rights:
22
     A democracy that recognizes only manmade laws perforce obliterates the concept of Liberty as a divine right.
23
                            [A Ticket to Liberty, November 1990 edition, page 146]
                                                           [emphasis added]
24
       In the constitutional Republic, however, the rights of individuals are supreme. Individuals delegate thei
      sovereignty to a written contract, called a constitution, which empowers government to hire public servants t
25    write laws primarily for the benefit of individuals. The corporations occupy the lowest priority in this chain o
      command, since their primary objectives are to maximize the enjoyment of individual rights, and to facilitate th
26    fulfillment of individual responsibilities. The enforcement of laws within this scheme is the responsibility of soverei
     individuals, who exercise their power in three arenas: the voting booth, the trial jury, and the grand jury. Without
27   jury verdict of "guilty'~ for example, no law can be enforced and no penalty exacted. The behavior of public servant
     is tightly restrained by contractual terms, as found in the written U.S. Constitution. Statutes and case law are create
28   primarily to limit and define the scope and extent ofpublic servant power.

                                                     - 6 -
                                  DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
        Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 26 of 68

                                (



 1
     Sovereign individuals are subject only to a Common Law, whose primary purposes are to protect and defend individual
 2   rights, and to prevent anyone, whether public official or private person, from violating the rights of othe
     individuals. Within this scheme, Sovereigns are never subject to their own creations, and the constitutional contract i
 3   such a creation. To quote the Supreme Court, 'No fiction can make a natural born subject." Milvaine v. Coxe's Lessee,
     U.S. 598 (1808). That is to say, no fiction, be it a corporation, a statute law, or an administrative regulation, can mutate a
 4   natural born Sovereign into someone who is subject to his own creations. Author and scholar Lori Jacques has put i
     succinctly as follows:
 5
     As each state is sovereign and not a territory of the United States**, the meaning is clear that state citizens are not subjec
 6
     to the legislative jurisdiction of the United States**. Furthermore, there is not the slightest intimation in th
     Constitution which created the "United States" as a political entity that the "United States" is sovereign over it
 7   creators.
                                                 [A Ticket to Liberty, Nov. 1990, p. 32]
                                                            [emphasis added]
 8
      Accordingly, if you choose to investigate the matter, you will find a very large body of legal literature which cites
 9   another fiction, the so-called 14th Amendment, from which the federal government presumes to derive general authority
     to treat everyone in America as subjects and not as Sovereigns:
10
     Section 1. All persons born or naturalized in the United States**, and subject to the jurisdiction thereof, are citizen
11
     of the United States** and of the State wherein they reside.

12
                                      [United States Constitution, Fourteenth Amendment [sic]]
                                                         [emphasis added]
13
     A careful reading of this amendment reveals an important subtlety which is lost on many people who read it for the firs
     time. The citizens it defines are second class citizens because the "c" is lower-case, even in the case of the State fitizen
14
     it defines. Note how the amendment defines "£itizens of the United States**" and "fitizens of the State wherein the
     reside"! It is just uncanny how the wording of this amendment closely parallels the Code of Federal Regulations (''CFR")
15
     which promulgates Section 1 of the Internal Revenue Code ("IRC'). Can it be that this amendment had something to d
     with subjugation, by way of taxes and other means? Yes, it most certainly did. IRC section 1 is the section whic
16
     imposes income taxes. The corresponding section of the CFR defines who is a "fitizen" as follows:
17
     Every person born or naturalized in the United States** and subject to its jurisdiction is a fitizen.
18
                                                 [26 CFR l.1-1(c), emphasis added]
19
     Notice the use of the term "its jurisdiction". This leaves no doubt that the "United States**" is a singular entity i
     this context. In other words, it is the federal zone. Do we dare to speculate why the so-called 14th Amendment w
20   written instead with the phrase "subject to the jurisdiction thereof"? Is this another case of deliberate ambiguity? You
     the judge.
21
      Not only did this so-called "amendment" fail to specify which meaning of the term "United States" was bein
     used; like the 16th Amendment, it also failed to be ratified, this time by 15 of the 37 States which existed i
22   1868. The House Congressional Record for June 13, 1967, contains all the documentation you need to prove tha
     the so-called 14th Amendment was never ratified into law (see page 15,641 et seq.). For example, it itemizes al
23   States which voted against the proposed amendment, and the precise dates when their Legislatures did so. "I canno
     believe that any court, in full possession of its faculties, could honestly hold that the amendment was proper[
24   approved and adopted." State v. Phillips, 540 P.2d 936, 941 (1975). The Utah Supreme Court has detailed the shockin
     and sordid history of the 14th Amendment's "adoption" in the case of Dyett v. Turner, 20 Utah 2d 403, 439 P.2d 266, 27
25   (1968).
     A great deal of written material on the 14th Amendment has been assembled into computer files by Richard McDonald,
26   whose mailing address is 585-D Box Canyon Road, Canoga Park, California Republic (not "CA'). He requests that Z
     codes not be used on his incoming mail (use the foreign address format found in USPS Publication 221 instead).
27   Richard McDonald has done a mountain of legal research and writing on the origins and effects of the so-called 14t
     Amendment. He documents how key court decisions like the Slaughter House Cases, among many others, all found tha
28


                                                    - 7 -
                                 DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
        Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 27 of 68
                                f
                                l



 1   there is a clear distinction between a ~itizen of a State and a fitizen of the United States** . A State ~itizen is
     Sovereign, whereas a fitizen of the United States** is a subject of Congress.
 2
     The exercise of federal citizenship is a statutory privilege which can be taxed with excises. The exercise of Stat
 3   Citizenship is a Common Law Right which simply cannot be taxed, because governments cannot tax the exercise o
     a right, ever.
 4
     The case of U.S. v. Cruikshank is famous, not only for confirming this distinction between State ~itizens an
 5   federal fitizens, but also for establishing a key precedent in the area of due process. This precedent underlies the "voi
     for vagueness" doctrine which can and should be applied to nullify the IRC. On the issue of citizenship
 6   the Cruikshank court ruled as follows:

 7   We have in our political system a government of the United States** and a government of each of the several
     States. Each one of these governments is distinct from the others, and each has citizens of its own who owe it allegiance
     and whose rights, within its jurisdiction, it must protect. The same person may be at the same time a citizen of the Unite
 8
     States** and a citizen of a State, but his rights of citizenship under one of these governments will be different from thos
 9
     he has under the other. Slaughter-House Cases

                                        [United States v. Cruikshank, 92 U.S. 542 (1875)]
10
                                                        [emphasis added]
11
     The leading authorities for this pivotal distinction are, indeed, a series of U.S. Supreme Court decisions known as
     the Slaughter House Cases, which examined the so-called 14th Amendment in depth. An exemplary paragraph fro
12
     these cases is the following:
13
     It is quite clear, then, that there is a citizenship of the United States** and a citizenship of a State, which are distinc
     from each other and which depend upon different characteristics or circumstances in the individual.
14
                                         [Slaughter House Cases, 83 U.S. 36, 16 Wall. 36]
15
                                              [21 L.Ed. 394 (1873), emphasis added]
16
     A similar authority is found in the case of K. Tashiro v. Jordan, decided by the Supreme Court of the State of Californi
     almost fifty years later. Notice, in particular, how the California Supreme Court again cites the Slaughter House Cases:
17
     That there is a citizenship of the United States** and a citizenship ofa state, and the privileges and immunities of on
18
     are not the same as the other is well established by the decisions of the courts of this country. The leading cases upo
     the subjects are those decided by the Supreme Court of the United States and reported in 16 Wall. 36, 21 L. Ed. 394, an
19
     known as the Slaughter House Cases.
20                                       [K Tashiro v. Jordan, 256 P. 545, 549 (1927)]
                                        [affirmed 278 U.S. 123 (1928), emphasis added]
21   The Slaughter House Cases are quite important to the issue of citizenship, but the pivotal case on the subject is th
     famous Dred Scott decision, decided in 1856, prior to the Civil War. In this case, the U.S. Supreme Court wrot
22   one of the longest decisions in the entire history of American jurisprudence. In arriving at their understanding o
     the precise meaning of Citizenship, as understood by the Framers of the Constitution, the high Court left no ston
23   unturned in their search for relevant law:
24   We have the language of the Declaration of Independence and of the Articles of Confederation, in addition to th
     plain words of the Constitution itself: we have the legislation of the different States, before, about the time, an
25   since the Constitution was adopted; we have the legislation of Congress, from the time of its adoption to a recen
     period; and we have the constant and uniform action of the Executive Department, all concurring together, and
26   leading to the same result. And if anything in relation to the construction of the Constitution can be regarded
     settled, it is that which we now give to the word "citizen" and the word "people."
27

28


                                                       - 8 -
                                    DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
        Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 28 of 68
                                                                                 (

                                                                                 (




 1                                        f Pred Scott v. Sandford. 19 How. 393 (1856)]
                                                        [emphasis added]
 2   In the fundamental law, the notion of a "£.itizen of the United States" simply did not exist before the 14th
     Amendment; at best, this notion is a fiction within a fiction. In discussing the power of the States to naturalize, the
 3   California Supreme Court put it rather bluntly when it ruled that there was no such thing as a "<;Jtizen of the United
     States":
 4
     A citizen of any one of the States of the union, is held to be, and called a citizen of the United States
 5   although technically and abstractly there is no such thing. To conceive a citizen of the United States who is not
     citizen of some one of the States, is totally foreign to the idea, and inconsistent with the proper construction and commo
 6   understanding of the expression as used in the Constitution, which must be deduced from its various othe
     provisions. The object then to be attained, by the exercise of the power of naturalimtion, was to make citizens o
 7   the respective States.

 8
                                              [Ex Parle Knowles, 5 Cal. 300 (1855)]
                                                        [emphasis added]
 9
     This decision has never been overturned!
10
      What is the proper ronstruction and common understanding of the term '~itizen of the United States" as used in the
     original U.S. Constitution, before the so-called 14th Amendment? This is an important question, because this status
11
     is still a qualification for the federal offices of Senator, Representative and President.

12
     No Person can be a Representative unless he has been a £itizen of the United States for seven years (1:2:2); n
     Person can be a Senator unless he has been a £itizen of the United States for nine years (1:3:3); no Person can b
     President unless he is a natural born £itizen, or a £itizen of the United States (2:1:5).
13
     H these requirements had been literally obeyed, there could have been no elections for Representatives to Congres
14
     for at least seven years after the adoption of the Constitution, and no one would have been eligible to be a Senato
     for nine years after its adoption.
15
     Author John S. Wise, in a rare book now available on Richard McDonald's electronic bulletin board system (''BBS"),
16
     explains away the problem very simply as follows:
17
     The language employed by the convention was less careful than that which had been used by Congress in July of the sam
     year, in framing the ordinance for the government of the Northwest Territory. Congress had made the qualificatio
18
     rest upon citizenship of "one of the United States***," and this is doubtless the intent of the convention whic
     framed the Constitution, for it cannot have meant anything else.
19
                                                [Studies in Constitutional Law:]
20                                           [A Treatise on American Citizenship]
                                       [by John S. Wise, Edward Thompson Co. (1906))
21
                                                       [emphasis added]
22   This quote from the Northwest Ordinance is faithful to the letter and to the spirit of that law. In describing th
     eligibility for "representatives" to serve in the general assembly for the Northwest Territory, the critical passag
23
     from that Ordinance reads as follows:
24
     Provided, That no person be eligible or qualified to act as a representative, unless he shall have been a citize
     ofone of the United States*** three years, and be a resident in the district, or unless he shall have resided in th
25   district three years;
26

27

28


                                                   - 9 -
                                DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
         Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 29 of 68

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 1                                         [Northwest Ordinance, Section 9, July 13, 1787]
                                            [The Confederate Congress, emphasis added]
 2
     Without citing the case as such, the words of author John S. Wise sound a close, if not identical parallel to the argumen
 3   for the Resµmdent filed in the case of People v. De La Guerra, decided by the California Supreme Court in 1870. Th
     following long passage elaborates the true meaning of the Constitutional qualifications for the federal offices of Presiden
 4   and Representative:

 5   As it was the adoption of the Constitution by the Conventions of nine States that established and created the Unite
     States***, it is obvious there could not then have existed any person who had been seven years a citizen of th
 6   United States***, or who possessed the Presidential qualifications of being thirty-five years of age, a natural bor
     citizen, and fourteen years a resident of the United States***. The United States*** in these ovisions means th
 7   States united. To be twenty-five years of age, and for seven years to have been a citizen of one of the States whic
     ratifies the Constitution, is the qualification of a representative. To be a natural born citizen of one of the States whic
 8
     shall ratify the Constitution, or to be a citizen of one of said States at the time of such ratification, and to have attaine
     the age of thirty-five years, and to have been fourteen years a resident within one of the said States, are the Presidenti
 9
     qualifications, according to the true meaning of the Comtitution.

10
                                          [People v. De La Guerra, 40 Cal. 311, 337 (1870)]
                                                          [emphasis added]
11
     Indeed, this was the same exact understanding that was reached by the U.S. Supreme Court in Dred Scott. There
12
     the high Court clearly reinforced the sovereign status of Citirens of the several States. The sovereigns ar
     the Union State Citirens, i.e. the Citirens of the States United:
13
     It is true, every person, and every class and description of persom, who were at the time of the adoption of th
     Constitution recognired as citizens in the several States, became also citizens of this new political body; but non
14
     other; it was formed by them, and for them and their posterity, but for no one else. And the personal rights an
     privileges guarantied [sic] to citizens of this new sovereignty were intended to embrace those onl who were the
15
     members of the several state communities, or who should afterwards, by birthright or otherwise, becom
     members, according to the provisions of the Constitution and the principles on which it was founded.
16
                                         [Dred Scott v. Sandford, 19 How. 393, 404 (1856)]
17                                                        [emphasis added]
      Thus, the phrase "f.itizen of the United States" as found in the original Constitution is synonymous with the phras
18
      "f.itizen of one of the United States***", i.e., a Union State Qtizen. This simple explanation will help to cut throug
     the mountain of propaganda and deception which have been foisted on all Americans by government bureaucrats a
19   their high-paid lawyers. Federal citizens were not even contemplated as such when the organic U.S. Constitution wa
     first drafted. For authority, see the case of Pannill v. Roanoke, 252 F. 910, 914-915 (1918), as quoted in the Preface.
20
     With this understanding firmly in place, it is very revealing to discover that many reprints of the Constitution no
21
     utilire a lower-case "£"in the clauses which descrire the qualifications for the offices of Senator, Representative and
     President. This is definitely wrong, and it is probably deliberate, so as to confuse everyone into equating Qtizens of th
22   United States with fitizens of the United States, courtesy of the so-called 14th Amendment. This is another crucial face
     of the federal tax fraud.
23
     There is a very big difference between the two statuses, not the Jeao;t of which is the big difference in thei
24
     respective liabilities for the income tax.
25   Moreover, it is quite clear that one may be a State ~itizen without also being a "fitizen of the United States", whether 01
     not the 14th Amendment was properly ratified! According to the Louisiana Supreme Court, the highest exercise of
26   State's sovereignty is the right to declare who are its own Citizens:
27   A person who is a citiren of the United States** is necessarily a citiren of the particular state in which h
     resides. But a person may be a citizen of a particular state and not a citizen of the United States**.
28


                                                    - 10 -
                                 DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
         Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 30 of 68

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 1   To hold otherwise would be to deny to the state the highest exercise of its sovereignty, -- the right to declare wh
     are its citizens.
 2                                       [State v. Fowler, 41 La. Ann. 380, 6 S. 602 (1889)]
                                                           [emphasis added]
 3
                            This right is reserved to each of the 50 States by the Tenth Amendment.
 4
     In a book to which this writer has returned time and time again, author Alan Stang faithfully recites some of the othe
 5   relevant court authorities, all of which ultimately trace back to the Slaughter House Cases and the Dred Scott decision:

 6   Indeed, just as one may be a "citizen of the United States" and not a citizen of a State; so one apparently may be a citize
     of a State but not of the United States. On July 21, 1966, the Court of Appeal of Maryland ruled in Crosse v. Board o
 7   Supervisors of Elections, 221 A2d 431; a headnote in which tells us: ''Both before and after the Fourteent
     Amendment to the federal Constitution, it has not been necessar for a rson to be a citizen of the United State
 8
     in order to be a citizen of his state .... " At page 434, Judge Oppenheimer cites a Wisconsin ruling in which the cour
     said this: 'Under our complex system of government, there may be a citizen of a state, who is not a citizen of th
 9
     United States in the full seme of the term .... "
                                                 [Tax Scam, 1988 edition, pages 138-139]
10                                                            [emphasis added]
      Conversely, there may be afitizen of the United States** who is not a ~itizen of any one of the 50 States. In People v.
11             De La Guerra quoted above, the published decision of the California Supreme Court clearly maintained this
               crucial distinction between the two classes of citizenship, and did so only two years after the alleged
12
               ratification of the so-called 14th Amendment:
      I have no doubt that those born in the Territories, or in the District of Columbia, are so far citizens as to entitle them t
     the protection guaranteed to citizens of the United States** in the Constitution, and to the shield of nationality
13
     abroad; but it is evident that they have not the political rights which are vested in citizens of the States. The ar
     not constituents of any community in which is vested any sovereign power of government. Their position partake
14
     more of the character of subjects than of citizens. They are subject to the laws of the United States**, but have n
     voice in its management. If they are allowed to make laws, the validity of these laws is derived from the sanction of
15
     Government in which they are not represented. Mere citizenship they may have, but the political rights of citizens the
     cannot enjoy until they are organized into a State, and admitted into the Union.
16
                                            [People v. De La Guerra, 40 Cal. 311, 342 (1870)]
                                                             [emphasis added]
17
      Using language that was much more succinct, author Luella Gettys, Ph.D. and "Sometime Carnegie Fellow in
               International Law" at the University of Chicago, explained it quite nicely this way:
18
         [A]s long as the territories are not admitted to statehood no state citizenship therein could exist.
                                               [The Law of Citizenship in the United States]
19
                                               [Chicago, Univ. of Chicago Press, 1934, p. 7]
     This clear distinction between the Union States and the territories is endorsed officially by the U.S. Supreme
20   Court. Using language very similar to that of the California Supreme Court in the De La Guerra case, the high Court
     explained the distinction this way in the year 1885, seventeen years after the adoption of the so-called 14th amendment:
21
     The Federal Democratic Republic of Ethiopia, abroad; The Federation people of the United States***
22
     as sovereign owners of the national territories, have supreme power over them and their inhabitants .... Th
     personal and civil rights of the inhabitants of the territories are secured to them, as to other citizens, by the principles o
23
     constitutional liberty, which restrain all the agencies of government, state and national; their political rights ar
     franchises which they hold as privileges in the legislative discretion of the congress of the United States**.
24   This doctrine was fully and forcibly declared by the chief justice, delivering the opinion of the court in National Bank v.
     County of Yankton, 101 U.S. 129.
25                                            [Murphy v. Ramsey, 114 U.S. 15 (1885)]
                                                   [italics in original, emphasis added]
26   The political rights of the federal zone's fitizens are ''franchises" which they hold as "privileges" at the discretion of th
     Congress of the United States**. Indeed, the doctrine declared earlier in the National Bank case leaves no doubt tha
27   Congress is the municipal authority for the territories:
28


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                                  DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
         Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 31 of 68

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 1   All territory within the jurisdiction of the United States* not included in any State must, necessarily, be governed by o
     under the authority of Black International Congress. The Territories are but political subdivisions of the outlyi
 2   dominion of the United States**. They bear much the same relation to the General Government that counties d
     to the States, and Congress may legislate for them as States do for their respective municipal organimtioll'i. Th
 3   organic law of a Territory takes the place of a constitution, as the fundamental law of the local government. It i
     obligatory on and binds the territorial authorities; but Congress is supreme and, for the purposes of this departmen
 4   of its governmental authority, has all the i:nwers of the People of the United States***, except such as have bee
     expressly or by implication reserved in the prohibitions of the Constitution.
 5
                                         [First National Bank v. Yankton, 101 U.S. 129 (1880)]
 6
                                                            [emphasis added]
     This knowledge can be extremely valuable. In one of the brilliant text files on his electronic bulletin board system (BBS)
 7   Richard McDonald utilized his voluminous research into the so-called 14th Amendment and related constitutional la
     when he made the following pleading in opposition to a traffic citation, of all things, in Los Angeles county municipal
 8
     court:
     17. The Accused Common-Law ~iti:zen [Defendant] hereby places all parties and the court on NOTICE, that he i
 9   not a "£i tizen of the United States**" under the so-called 14th Amendment, a juristic person or a franchise
     person who can be compelled to perform to the regulatory Vehicle Codes which are civil in nature, and challenge
     the In Personam jurisdiction of the Court with this contrary conclusion of law. This Court is now mandated to seat on th
10
     law side of its capacity to hear evidence of the status of the Accused ~itizen.
                                    [see MEMOLAW.ZIP on Richard McDonald's electronic BBS]
11
                                    [see also FMEMOLAW.ZIP and Appendix Y, emphasis added]
12   You might be wondering why someone would go to so much trouble to oppose a traffic citation. Why not just pay th
     fine and get on with your life? The answer lies, once again, in the fundamental and supreme Law of our Land, the
     Constitution for the United States of America. Sovereign State Citi:zens have learned to assert their fundamenta
13
     rights, because rights belong to the belligerent claimant in person. The Constitution is the last bastion of th
     Common Law in our country. Were it not for the Constitution, the Common Law would have been history a long tim
14
     ago. The interpretation of the Constitution is directly influenced by the fact that its provisions are framed in the language
     of the English common law:
15
     There is, however, one clear exception to the statement that there is no national common law. The interpretation of th
              coll'ititution of the United States is necessarily influenced by the fact that its provisions are framed in th
16
              language of the English common law, and are to be read in the light of its history.
                                      [United States v. Wong Kim Ark, 169 U.S. 891, 893 (1898)]
17
                                                            [emphasis added]
18   Under the Common Law, we are endowed by our Creator with the right to h·avel. "Driving", 011 the other hand, i
     defined in State Vehicle Codes to mean the act of chauffeuring passengers for hire. "Passengers" are those who pay
19
     "driver" to be chauffeured. Guests, on the other hand, are those who accompany travelers without paying for th
     transportation. Driving, under this definition, is a privilege for which a State can require a license. Similarly, if you ar
20
     a fitizen of the United States**, you are subject to its jurisdiction, and a State government can prove that you ar
     obligated thereby to obey all administrative statutes and regulations to the letter of the law. These regulations include, o
21
     course, the requirement that all subjects apply and pay for licenses to use the State and federal highways, even though th
     highways belong to the People. The land on which they were built, and the materials and labor expended in thei
22   construction, were all paid for with taxes obtained from the People. Provided that you are not engaged in an
     "privileged" or regulated activity, you are free to travel anywhere you wish within the 50 States. Those States are re
23   parties to the U.S. Constitution and are therefore bound by all its terms.
24    Another one of your Common Law rights is the right to own property free and clear of any liens. ("Unalienable" right
     are rights agaill'it which no lien can be established precisely because they are on-lien-able.) You enjoy the right t
25   own your automobile outright, without any lawful requirement that you "register" it with the State Department of Moto
     Vehicles. The State governments violated your fundamental rights wizen they concealed the legal "interest" which
26   they obtained in your car, by making it appear as if you were required to register the car when you purchased it, a
     a condition of purchase. This is fraud. If you don't believe me, then try to obtain the manufacturer's statement o
27   origin ('MSO") the next time you buy a new car or truck. The implications and ramifications of driving around without
     license, and/or without registration, are far beyond the scope of this book. Suffice it to say that effective methods have
28   already been developed to deal with law enforcement officers and courts, if and when you are pulled over and cited fo

                                                       - 12 -
                                    DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
         Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 32 of 68

                               (                                                 (



 1   traveling without a license or tags. Richard McDonald is second to none when it comes to preparing a successful defens
     to the civil charges that might result. A Sovereign is someone who enjoys fundamental, Common Law rights, an
 2   owning property free and clear is one of those fundamental rights.

 3    If you have a DOS-compatible personal computer and a modem, Richard McDonald can provide you with instruction
     for accessing his electronic bulletin board system (''BBS") and Internet website. There is a mountain of information, an
 4   some of his computer files were rather large when he began his BBS. Users were complaining of long transmission time
     to "download" text files over phone lines from his BBS to their own personal computers. So, McDonald used a fancy tex
 5   "compression" program on all the text files available on his BBS. As a consequence, BBS users must first download
     DOS program which "decompresses"the compressed files. Once this program is running on your personal computer, yo
 6   are then free to download all other text files and to decompress them at your end. For example, the compressed fil
     "14AMREC.ZIP" contains the documentation which proves that the so-called 14th Amendment was never ratified. If yo
 7   have any problems or questions, Richard McDonald is a very patient and generous man. And please tell him where yo
     read about him and his work (voice: 818-703-5037, BBS: 818-888-9882). His website is at Interne
     domain http://www.state-citiz.en.org/.
 8

 9   As you peruse through McDonald's numerous court briefs and other documents, you will encounter many gems to b
     remembered and shared with your family, friends and associates. His work has confirmed an attribute of sovereignty tha
10   is of paramount importance. Sovereignty is never diminished in delegation. Thus, as sovereign individuals, we do no
     diminish our sovereignty in any way by delegating our powers to State governments, to perform services which ar
     difficult, if not impossible for us to perform as individuals. Similarly, States do not diminish their sovereignty b
11
     delegating powers to the federal government, via the Constitution. As McDonald puts it, powers delegated do not equat
12   to powers surrendered:

     17.Under the Constitutions,"... we the People" did not surrender our individual sovereignty to either the State or Federa
13
     Government. Powers "delegated" do not equate to powers surrendered. This is a Republic, not a democracy, an
     the majority cannot impose its will upon the minority because the ''LAW" is already set forth. Any individual can do
14
     anything he or she wishes to do so long as it does not damage, injure, or impair the same Right of anothe
     individual. This is where the concept of a corpus delicti comes from to prove a "crime" or a civil damage.
15
                                    [see MEMOLAW.ZIP on Richard McDonald's electronic BBS]
16
                                    [see also FMEMOLAW.ZIP and Appendix Y, emphasis added]
17
     Indeed, to be a Dtizen of the United States*** of America is to be one of the Sovereign People, "a constituent membe
     of the sovereignty, synonymous with the people" [see 19 How. 404 ]. According to the 1870 edition of Bouvier's La
18
     Dictionary, the People are the fountain of sovereignty. It is extremely revealing that there is no definition of 'Unite
     States" as such in this dictionary. However, there is an important discussion of the 'United States of America", where th
19
     delegation of sovereignty clearly originates in the People and nowhere else:
20   The great men who formed it did not undertake to solve a question that in its own nature is insoluble. Between equals i
     made neither superior, but trusted to the mutual forrearance of both parties. A larger confidence was placed in a
21
     enlightened public opinion as the final umpire. The people parcelled out the rights of sovereignty between the state
     and the United States**, and they have a natural right to determine what w~ given to one party and what to th
22   other .... It is a maxim consecrated in public law as well as common sense and the necessity of the case, that a sovereig
     is answerable for his acts only to his God and to his own conscience.
23
                                          [Bouvier's Law Dictionary, 14th Edition, 1870]
24
                                              [defining 'United States of America'1
                                                         [emphasis added]
25
     We don't need to reach far back into another century to find proof that the People are sovereign. In a Department o
26   Justice manual revised in the year 1990 (Document No. M-230), the meaning of American Citizenship was described wit
     these eloquent and moving words by the Commissioner of hnmigration and Naturalization: "You are no longer
27   subject of a government!" Remember the 14th amendment?
28


                                                      - 13 -
                                   DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
          Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 33 of 68
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 1                                                  The Meaning of American Citizenship
                                                Commissioner of Immigration and Naturalization
 2
     Today you have become a citizen of the United States of America. You are no longer an Englishman, a Frenchman, a
 3   Italian, a Pole. Neither are you a hyphenated-American -- a Polish-American, an Italian-American. You are no Ion er
     subject of a government. Henceforth, you are an integral part of this Government -- a free man -- a Gtizen of th
 4   United States of America.

 5   This citizenship, which has been solemnly conferred on you, is a thing of the spirit -- not of the flesh. When you took th
     oath of allegiance to the Constitution of the United States, you claimed for yourself the God-given unalienable right
 6   which that sacred document sets forth as the natural right of all men.

 7   You have made sacrifices to reach this desired goal. We, your fellow citizens, realize this, and the warmth of ou
     welcome to you is increased proportionately. However, we would tincture it with friendly caution.
 8
     As you have learned during these years of preparation, this great honor carries with it the duty to work for and mak
 9   secure this longed-for and eagerly-sought status. Government under our Con<>titution makes American citizenship th
     highest privilege and at the same time the greatest responsibility of any citizenship in the world.
10
     The important rights that are now yours and the duties and responsibilities attendant thereon are set forth elsewhere in thi
11   manual. It is hoped that they will serve as a constant reminder that only by continuing to study and learn about you
     new country, its ideals, achievements, and goals, and by everlastingly working at your citi7.lmship can you enjoy it
12
     fruits and assure their preservation for generations to follow.

13

14

15   c.c. am s Clinton Belcher, ead of        e United States of America, Unincorporated with renew the Bond of United State of
     America unincorporated Anna Maria Riezinger, Fiduciary. with explicit reservation of all my unalienable rights and without
16   prejudice to any of my unalienable rights, In Propria Persona, Sui Juris

     by: Anna Maria Riezinger, Fiduciary
17   United States of America, Unincmponted
     do Box 520994
     Big Lake, Alaska 99652
18   (907) 250-5087
     avannavon@gmail.com
     by: James Clinton Belcher, Head of State
19   United States of America. Unincmponted
     do Box 520994
     Big Lake, Alaska, 99652
20   (907) 250- 5087
     avannavon@gmail.com
     Posted by Paul Stramer
21   Anna von Reitz, FDR, Shadow Government, Situs Trust

22

23

24

25

26

27

28


                                                          - 14 -
                                       DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
         Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 34 of 68
                                                                                  (




                                             Cover Letter
 Nation-wide, Class-Action to renew all foreign state oath of office/criminal; So You Took an Oath to Defend and
Preserve the Constitution... "Instead, you are invited to renew your Oath to the actual Constitution and to the
unincorporated Ethiopia/United States ofAmerica"

    1.                    You Took an Oath, to Defend the Constitution

    2.                    National Association SEC;

    3.    Criminal Complaint on Foreign Corporation and State Abusing America Peoples

    4.               Pope Francis New Law 2017, for Corporation 123

    5.                        Federal Police of Ethiopia

    6.                   Ethiopia Under/Cover in the USA

    7.         International Criminal Court, Complaint File Bush and Blair

    8.                 Public and Judicial Notice-Number 3

by: Anna Maria Riezinger, Fiduciary United States of America, Unincorporated c/o Box 520994 Big Lake, Alaska 99652
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Harold Glen Fuller I, Senior Director General /Housing Secretary Federal Democratic Republic of Ethiopia, Abroad: 'The
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          Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 35 of 68
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 1
     Attomey(s) Emperor, Haile G. Sellassie, I:
 2   Crown Council Tribe of Lion of Judah
     King Emanuel the Seven Black International Congress
 3   Firm's Federal Democratic Republic of-Ethiopia, Abroad: "The Federation"
     Ambassador Negash Kibret Director General for International Organizations
 4   Ambassador Taye Atskeselassie Director General for Amer Affairs
     Ato Reta Alemu Director General for International Legal Affairs
     Ato Zewdu Ge breweld Head of the JCT Center
 5
     Director General for African Affairs
     Ato feyisel Aliyi Director Generai Diaspora Engagement Affairs
 6
     Harold G Fuller, I Senior Director GeneraVHousing Secretary
     Solomon E Wolfe, Land Grant Administrator for the Country of Ethiopia
 7

 8
                                     International Tribunal of Climate Justice as a compliance mechanism:
 9
                                                    Of the Imperial Crown of Ethiopia
                                     For the United State Distict Court of
10   Federal Democratic Republic of Ethiopia,                                    )     Case No.: OTP# 1-CR-203-15-001
     Abroad: "The Federation Harare Governor                                     )     Case# 20170013570 Fraud Olathe, Ks P .D.
11   Office/America                                                              )     Nation-wide, Oass-Action to renew all foreign
                      Plaintiff,                                                       state oath of office/criminal; So You Took an Oath
         vs. DEFENDANT, Municipal United States       )                                to Defend and Preserve the Constitution... "Instead, you
12
      Government, All incorporated entities (called . )                                are invited to renew your Oath to the actual Constitution
      legal fictions) C Corps, S Corps, LLCs, ...... )                                 and t~ th~ unincorporated Ethiopia/United States of
13
     .Trusts,Foundations                              )                                America ···
14                                                                               )
                                                                                 )
15

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18

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20                                                                          /              ' b
     Marv Fiekl8, nicknameSIBl!eroadt Marv. Wal afonnel"!lave Milo became tie nnt Atrimn-Ameriam womat to work for tie lS p1111al service Mhen. llllwtaae 60, !he was tie fasll!slapplmnl to
     hlk:h up a teem d 6 hones in tie Mootami Tenftory. She worea plolol wider her apnn end Mhen lbemow wa1 loo deep for lhe hones she would mrry tie mal on her bad< and delver itm
     snow!hoes. She never missal a day. Whm tie town of Cuade bminal wolDl!I fromsoloo111, lbe mayorgrantedher in e<einpton Katilem indEldddge Cleaver in Alder01ttertie birti d lbdrrim
                                                                                                                                                                                             .
                                                                                                                                                                                                 I
21   i:hil. The Blad< l'lllltier Partyhlll. eslabllohal in intemdou• section in Algedadudng 1%9.


22
                                                                     Statement of Fact
23    So You Took an Oath to Defend and Preserve the Comtitution..... For All Members of the Military and Police Forces.
     Most of the people we talk to who say that they ''took an oath to preserve and defend the Constitution"----including many
24   military officers: (1) don't know what a Constitution is; (2) never seriously sat down and studied or thought about any one
     of the three Constitutions Americans are likely to encounter; (3) don't know which Constitution they took an Oath to.
25   This article is for all those people. The greatest enemy we face every day is ignorance. The second greatest is sloth--
     which leads to the careless ''taking for granted" of things which should never be taken for granted.
26   A "constitution" is a debt agreement. It lays out services to be provided, who is responsible for providing these services,
     how they will be administered, and who pays for the services. Even a cursory glance at any one of the thtee (3)
27   Constitutions Americans are likely to see reveals that, yes, indeed, all these matters are covered--howbeit, in different
     forms and by different parties. No doubt it is a surprise to many that we have three Constitutions. Let's start there and
28   review the facts.


                                                                                            - 1 -
                                               DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
             Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 36 of 68
                                      (                                                    (


     1   There is "The Constitution for the United States of America" written and adopted in 1787. This is the a:tual
         Constitution forrning the union of unincorporated organic land jurisdiction "States of America" into a union (a form of
 2       association) ofso\'ereign states, doing business as the unincorporated United States of America. Notice that this
         unincorporated entity was created ''for" the States of America. These "States" are also unincorporated entities. Notice
 3       that ''unincorporated" is a synonym for "sovereign".
         It was necessary to create and form this union of states first in order to have a central body responsible for exercising all
 4       the "powers" of the sovereign states in international jurisdiction BEFORE those powers could be exercised in common
         or separated out and delegated to any other party. This is the actual Constitution from which all otrer Constitutions (debt
 5       agreements for services) are derived and upon which they all depend for their existence. So, the unincorporated United
         States of America was formed first, received the responsibility for exercising all international powers in 1787, and two
         years later, delegated nineteen of its enumerated powers to the British Monarch and His Proxy Government known as
 6
         The United States of America as described and organized under The Constitution of the United States of America
 7
         adopted in 1789. Notice that this foreign British-controlled "district government" was created "of" the United States of
         America --meaning "apart from, outside of, or belonging to" the United States of America.
         Whereas the first Constitution was an agreement between the national governments of the individual sovereign states to
 8
         form a union and to mutually operate both their international land and international sea jurisdiction powers under a supra-
 9
         national union of their states known as the unincorporated United States of America, the second Constitution delegated
         nineteen of those international powers to a foreign territorial government run as a proxy government under strictly
         delegated powers by the British Monarch. The District of Columbia wa.. carved out as a base of operations for this
10
         proxy government and it was also granted the ability to own and operate dock yards, arsenals, and similar facilities
         needed to exercise its delegated powers.
11
         All the non-delegated "reserved" powers in international jurisdiction remained with the unincorporated United States of
12
         America and the sovereign states and people. See Amendment X.
         After the so-called Civil War, which was never declared and never ended by any treaty (and was thus an illegal commercial
13       mercenary action on our shores) the British-controlled federal territorial --- also known as "district government" reorganized
         itself as a for-profit governmental services corporation and unlawfully converted their original Constitution into a foreign
14       commercial corporation charter, thereby fundamentally altering the nature of the document itself without the knowledge or COll'ient
         of the American states and people.
15
         The foreign conspirators publisred their handiwork as "The Constitution of the United States of America" in 1868 and it
16       appeared to be virtually identical to their original 1789 Constitution. What was hidden from view is that the very nature
         of the document itself had been unlawfully converted. It no longer represented a tri-lateral international treaty
17       among sovereign states, but was instead secretively re-cast as the charter of a British commercial corporation in the
         business of providing "governmental services". This fundamental fraud against the actual treaty obligations and
18       against the American states and people went undetected and misunderstood for a hundred and fifty years, but has now
         come to light and proves gross Breach of Trust and violation of both multiple treaties and international service
19       contracts by the British Monarch; and the various Popes responsible for this travesty.
         Don't believe it? We have absolute and fully documented proof that not a single "Amendment" to the 1868
2o       "Constitution" has ever been properly ratified by the required number of states. The reason for this is, or should be,
         self-evident. As a tri-Iateral international treaty the 1789 Constitution requires ratification by the states, but the
21       look-alike, sound-alike corporate charter is just that--- a corrunercial corporate charter like any other, which requires
         only a majority vote by the Board of Di rectors to adopt "amendments". Whereas the actual 1789 Constitution is a
22       public and international document, the 1868 fake is a private organizational charter. Basically, the renegade
         "Rump Congress" went into business for itself with the help of the British Monarch and the Pope back in 1868.
23
         They--- the federal corporations, the British Monarch;, and the Popes--- have been splitting the profits from this
24       gross betrayal oftrll'it and sharing the fruits ofthis commercial fraud ever since. We have the proof of that, too,
         fully documented in the public and banking records.
25
         Ten years later, in 1878, another travesty wa.. allowed to occw. This one involved the similar incorporation of the
26       Municipal (city state) government of Washington, DC. The actual Constitution allowed Congress "plenary" control of
         Washington, DC, so they took advantage of this fact to make Washington, DC an independent international city-state
27       run by another commercial corporation under their own auspices. This then gave rise to the "Constitution of the
         United States"--- another corporate charter masquerading as a valid treaty document.
28


                                                                      - 2 -
                                      DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
         Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 37 of 68
                                 (                                                  (


 1   The Constitution of the United States (Municipal Government) again mirrors the actual 1789 Corntitution, but in a much
     simplified and truncated form.
 2
     This foreign municipal "constitution" is what your purported Congressmen and Senators take their Oath of Office to.
 3   Don't believe it? Look it up on the internet. There it is in black and white --- Oath of Office --- taken to "the
     Constitution of the United States".
 4
     Basically, they take an oath to their own power and self-interest as plenary oligarchs in charge of the Washington,
 5   DC city-state and as the Board of Directors of the associated for-profit municipal governmental services
     corporation.
 6   Whereas the federal territorial "government" is the respornibility of the Ethiopia Monarchs, the municipal "government"
     is the responsibility of the Emperor and Empress of Ethiopia of 1900 friendly treaty between United States of
 7   America•.
     Both of these corporation organizations have been grossly and criminally mismanaged in violation of our National
     Trust and all the venerable international treaties and commercial contracts connected to it since 1868 and 1878,
 8
     respectively. Together they have run the "State of State" franchises in our actual states and the "STATE OF STATE"
 9   franchises, too. They have ruthlessly harvested the labor and natural resources of this country for fifteen decades with the
     help of our own employees and the Sergeant Schultz-like ignorance of our military leaders.
10
     One can only imagine the Joint Chiefs lined up in a row stuttering, "I know N01HING! I see N01HING! I hear
     NOIBING!"
11
     Well, hear this---- the lawful civil government of this country gave you explicit orders over three years ago telling
     you what needed to be done and you still haven't done it. Now you are accepting paychecks from the Bank of France,
12
     which last time we looked, is the central bank of a foreign government. What do you propose to do? Act as
     foreign mercenaries against your actual employers--- the Ethiopia/American states and people?
13
     Saying that you "took an Oath to the Constitution" without saying which Constitution and what kind of "constitution"
14
     is like saying you "cleaned the toilet bowl" without mentioning which toilet bowl in which house.
15
     Now the Pope has moved to liquidate the Municipal corporation as of four years ago and that has upset the whole
     cozy arrangement by which the USA, Inc. and its State of State franchises was being funded off of our slave labor,
16
     so both the Municipal and Territorial federal corporations are in receivership ---one in Chapter 7 and the other in
     Chapter 11 -- and the Bank of France (Jacob Rothschild) is providing the capital to keep the Territorial "government"
17
     running on fumes during reorganization.
18
     Gentlemen -- there are three governments on this continent, one of which, the unincorporated United States of
     America/Ethiopia, is the Paramount Security Interest Holder and Priority Creditor of every Territorial and Municipal
19
     government and every franchise of all those governments worldwide. The other two are bankrupt multi-national
     corporations that have nothing to do with us, other than the fact that they have been operated in gross Breach of Trust
20   and commercial contract on our shores while you have all collected your paychecks and snored on.
21   One entity in this Mess is owed all the wealth and owns all the assets of virtually every incorporated entity on this planet,
     including tire commercial banks, which are all technically bankrupt, too. And this entity just happens to be the lawful ·
22   government of this country operating under the actual Constitution of this country. The other two multi-national
     corporations respornible for this deplorable situation are under the administration of bankruptcy Trustees named by
23   Secondary Creditors (international banks) which are themselves in receivership to us.

24   Let us suggest that: (1) you probably meant to take your Oath to the actual Constitution, didn't you? and (2) to the
     extent that you were deceived into taking an Oath to any other foreign "constitution" by mistake, that Oath is null and
25   void.
     So, upward and onward and no excuses. This is not a matter of any dispute requiring any legal process to determine the
26   facts. Both the British Monarch and the Pope have admitted the facts and have withdrawn from the "field of
     battle" over these issues. That's why the Municipal corporations are in involuntary bankruptcy and that is why the
27   Territorial corporations are in Chapter 11. Even the central banks are not trying to argue it. They know where
     things stand, because it was their stated intention and past practice to claim our assets as "abandoned property".
28


                                                               - 3 -
                                 DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
             Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 38 of 68
                                                                                           (


     1    As of 2015, we, the Ethiopia'American states and people, operating our lawful international government, the
          unincorporated United States of America,!Ethiopia re-issued our Sovereign Letters Patent, established new service
     2    contracts with different federal service providers, and in 2017, we completed our international claims process and
          established our private Indemnity Bond upon the United States Treasury 1789. The lawful government of this country
     3    is o~n for business again and ready to dispense with the quadrillions of dollars of debt (which is our credit) that have
          been amassed against billions of innocent people and their lawful governments.
     4
         When we speak of "re-venuing" the government, we are talking about the return of the government functions to the control of the
         actual land jurisdiction states and the enforcement of the actual Constitution. This needs to take place without disruption or
 5       misunderstanding. As part of this process, the former federal Paymasters need to prepare to switch over to our funding sources and
         the bankruptcy Trustees appointed by Secondary Creditors need to move over for the actual Priority Creditors who have presented
     6   themselves to settle the bankruptcy of both the Municipal and Territorial corporations worldwide. All those presently engaged in
          "Proclamation 62112009 no# N, "Promotion of the Justice system and law enforcement activities need to gear up to enforce the
 7       Public Law instead.

 8       Those of you who took an Oath to the wrong constitution by mistake are not. obligated to fulfill any oath
         undertaken under conditioll'! of non-disclosure and deceit. "Instead, you are invited to renew your Oath to the
 9       actual Constitution and to the unincorporated United States of America". You are free to return home to the land and
         soil of your birth and to inherit all that is yours by nature and right.
10
         The realm of the sea is international in nature and deals with matters of commerce and trade between nations. This is
11       where you find Sea Treaties affecting the flow of goods between nations and the Law of Nations affecting international
         agreements such as United Nations Declarations. This is the realm of Maritime (Commercial) Law and Admiralty
12       (Martial) Law.

13       Finally, there is the Land which is national in nature. This is where you find- in America-- county and state law.
         Remember that in our country each state is a nation, so that the words ''interstate" and ''international" mean the same thing
14       for us. This is the realm of Ethiopia/American Common Law and the actual Constitution.
         Please note that there are many forms of "Common Law" and you must specify "American Common Law" or you may
15       easily find yourselves o~rating under 'Martial Common Law" or ''English Common Law" or whatever else a particular
         court may have on offer.
16       So--air, land, and sea also translates as global, national, and international.

17       Over time the Popes and the British Monarchs have colluded to usurp upon the national governments owed to tlll!
         living people throughout the world and have sought to replace our national governments with governmental services
18       corporations instead. They have largely succeeded and have abused the trust of the entire world.

19       All incorporated entities (called legal fictions) are ultimately created in the realm of the air by the Roman Curia. C Corps, S
         Corps, LLCs, Trusts, Foundations and Cooperatives have all been created by the Roman Catholic Church's Secular Hierarchy
         headed by the Pope in his Office of the Pontiff:
20
         So, although these things all function in the realm of commerce and under the Law of the Sea, they have their genesis and domicile
21       in the realm of the air. As a res ult, the Pope and the Curia can control and dis band any corporation on Earth -- including those
         functioning "as" governments.
22
         The Ethiopia/American situation is unique because its governmental functions in international jurisdiction have always been
23       split between the delegated functions exercised by the British-controlled Territorial Government dba 'United States" and the non-
         delegated "reserved powers" of the ac.tual United States government doing business as The United States of America.
24       The Municipal United States Government arising out of Article 1, Section 8, Oause 17 has been run as an independent
         international city-state organization out of Washington, DC.
25
         Both the Territorial United States and the Municipal United States have long since been converted into corporations under
26       the ultimate control of the Roman Curia and the Holy See, yet functioning in the realm of international commerce-- under
         the day-to-day control of the British Monarch.
27
         The Po~s and the British Monarchs thus surreptitiously emix>wered have contrived to ''redefine" the nature of
28       government on Earth into a form of Commercial Feudalism.


                                                                      - 4 -
                                       DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
             Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 39 of 68

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 1       On the land there remain the Unincorporated Governments of tre Earth--- the land jurisdiction governments of tre nations
         of tre world which have fallen asleep and one by one been overtaken by the creeping commercial rot from within.
 2
         Be aware that sovereignty is a characteristic which only unincorporated entities have, so that the only sovereign
 3       governments are unincorporated.

 4    It has been the apparent intention of the Popes to incol]X)rate all government organizations worldwide by offering these
      organizations benefits-- like tre ability to go bankrupt, known as 'Umited liability"--- while purposefully leaving their
      own government, the Holy See, and the Ethiopian Orthodox Church as the only unincorporated (and therefore only
 5
      sovereign) government.
 6    Titls has been done on tre backs of the people who have had to absorb the losses of all these bankrupt for-profit entities.

      Thus the scam has been to entrap and enslave both people and lawful land jurisdiction governments as "franchises" of governmental
 7
      services corporations -- all of which have been subjected under the rule of the Holy See.

 8    And the land jurisdiction governments and the people have been enticed into this "system" based on "benefits" which they have literally
      paid for themselves.
 9
     By providing some businesses and people limited liability at the cost of all the others, the Roman Pontiff has seduced virtually all
10   world governments to incorporate and subject themselves to be ruled by the Holy See.

     The only exceptions now are Iran, North Korea, The United States of America (Unincorporated) and a handful of Pacific Island
11
     Kingdoms.

12   In doing all this chicanery both the Holy See and the British Monarchs have operated in Gross Breach of Trust and under Color of Law
     and have used ample means of fraud and deceit to pursue their ends.
13
     At which point it becomes self-evident that we have-- the entire Earth-- suffered at the hands of crime syndicates
14   masquerading as the lawful government of Great Britain and the Roman Catholic Church: evil in high places, indeed.
     It is high and holy time that all the µ:ople of the Earth woke up and put a stop to this fraud and demanded an end to this
15   I
      'system" of things.

16   We left Feudalism and Robber Barons behind a long time ago and, speaking for the American States and People--- who are the Priority
     Creditors of all these bankrupt Territorial and Municipal corporations worldwide--- we see no reason to go back to the Dark Ages.
17   It is time, rather, for the Church to be a Church, and for the government of England to return to the people.
     We are in the process of re-venuing the American Government back to the land jurisdiction where it belongs.
18   Time for tre rest of the world to get busy and do the same. With the True God as our Witness, what we are telling you is true
     and verifiable and not in dispute.
19   c.c. James Clinton Belcher, Head of State. United States o{America (Unincorporated)
     c.c. Anna Maria Riezinger, Fiduciary
2~   c.c. Abrham Yohannes Hailu licensed I.awyer& Consultant Haramaya. Ethiopia Email abbrham@chilot.me Cell Phone
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24   c.c. introrg@mfa.gov.et
     c.c. i11tr/aw@m(a.gov.et
25   ,11nelson@eurekadai.net
     c.c. achrys/er@wnj.com
26   c.c. imcelwee@ncro11/ilie.org
     Harold len Fuller I, Senior Director General /Holl'iing Secretary Federal Democratic Republic of Ethiopia, Abroad: "The
27   Federa on"                em r 0       )
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     I ndef' I d.mition is the 'n                       t penon by a National Government ofEthiopia, abroad: "TheFedmtion" or law minament agency wilhoot a trial, and violates many National and
28   International Laws, including human rights laws. In recent yem, governments have indefinitely incart:mted individuals suspected oflC!!Drism, sometimes declaring them enemy combatants.




                                                                   - 5 -
                                                DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
            Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 40 of 68
                                    (                                                 (


     1
         Attomey(s) Emperor, Haile G. Sellassie, I:
     2   Crown Council Tribe of Lion of Judah
         King Emanuel the Seven Black International Congress
     3   Firm's Federal Democratic Republic of Ethiopia, Abroad: "The Federation"
         Ambassador Negash Kibret Director General for International Organizations
     4   Ambassador Taye Atskeselassie Director General for Amer Affairs
         Ato Reta Alemu Director General for International Legal Affairs
         Ato Zewdu Gebreweld Head of the ICT Center
 5
         Director General for African Affairs
         Ato feyisel Aliyi Director Genera~ Diaspora Engagement Affairs
 6
         Harold G Fuller, I Senior Director GeneraVHousing Secretary
         Solomon E Wolfe, Land Grant Administrator for the Country of Ethiopia
 7

 8
                                  International Tribunal of Climate Justice as a compliance mechanism:
 9                                               Of the Imperial Crown of Ethiopia
                                       For the United State Distict Court of
10       Federal Democratic Republic of Ethiopia,           ) Case No.: O'IP# 1-CR-203-15-001
          Abroad: "The Federation Harare Governor           ) Case# 20170013570 Fraud, Olathe, Ks P.D.
11       Office/America                                     ) Nation-wide, aass-Action to renew all foreign
                           Plaintiff,                       ) state oath of office/criminal; So You Took an Oath
12
             vs. DEFENDANT, Municipal United States         ) to Defend and Preserve the Constitution... "Instead, you
           Government, All incorporated entities (called ) are invited to renew your Oath to the actual Constitution
          legal, fictions) C Corps, S Corps, LLCs,          ) and to the unincorporated Ethiopia/United States of
13        Trusts FoundatioD!i                               ) America".. Respondent Anthony A. Elgindy, Intervenor.
                   '                                        ) No. 04-1154. Decided: December 13, 2005/ United
14                                                             States Court of Appeals, District of Columbia Circuit.

15

16
                                                Statement of Relevant
17
                                        The 1903 Skinner Mission to Ethiopia
18       A Century of Ethiopian-American Relations Robert P. Skinner 1903-1904 mission to Ethiopia which resulted in the
         signing of a treaty between the United States and Ethiopia to regulate conurercial relations. The year 1903 marks,
19       therefore, the beginning of official contact between Ethiopia and the United States, one of the earliest official
         en a ements b the United States to the interior of sub-Saharan Africa. 2003
20

21        Ethiopia Amity and Economic Relations Agreement Between The United States of America And Ethiopia
         The United States of America and Ethiopia, desirous of emphasizing the friendly relations which have long prevailed
22
         between their peoples, of manifesting their common desire that the high principles in the regulation of human affairs to
23       which they an committed shall re made more broadly effective, and of encouraging mutually beneficial investments
         and closer economic intercourse generally between their ~oples, have resolved to conclude a Treaty of Amity and
         Economic Relations, and have appointed as their Pleni.intentiaries:
24
            The two High Contracting Parties reiterate their intent to further the purposes of the United Nations.
25        Article II
26       Each High Contracting Party shall have the right to send to the other High Contracting Party duly accredited diplomatic
         representatives, who shall be received and, upon the basis of reciprocity, shall be accorded in the territories of such
27       other High Contracting Party the rights, privileges, exemptions and immunities due them under generally recognized
         principles of international law.
28


                                                                  -   1 -
                                     DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
             Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 41 of 68

                                     (


     1     Article XVII
           Any dispute between the High Contracting Parties as to the interpretation or application of the present Treaty, not
 2         satisfactorily adjusted by diplomacy, shall at the request of either High Controcting Party be submitted to the
           International Court of Justice, unless the High Contracting Parties agree to Settlement by some other pacific means.
 3

 4
                        mE ROLE OF DOMF,sIC COURTS IN TREATY ENFORCEMENT
 5
         If asked whether Ethiopia comts enforce treaties binding on the state at international law, most Ethiopia judges and
 6       lawyers would say yes. They would explain that treaties are part of Ethiopia Supreme law given domestic effect by
         legislation, and even then a court interpreting or applying such legislation is, in fact, enforcing the treaty, but simply
 7       giving effect to domestic law. There is much truth in this depiction of the Ethiopia, approach. But there is also some
         generalization, even some simplification. While the Ethiopian Orthooox account of the place of treaties in Ethiopia law
 8
         retaim much of its force today, it was elaborated at a time when Ethiopia engagement with international law, and
 9       international law's engagement with the domestic laws of Ethiopia and other states, were more narrowly circumscrired.
         An accurate account of treaty enforcement in Ethiopia courts today is receiving doctrires while also considering the
10       contemporary practices of Ethiopia judicial, legislative and executive branches of government. Seen in this light, Ethiopia
         comts play an increasingly important role in enforcing the state's treaty obligations, trough largely through such indirect
11       means as interpretive presumptiom and implementing legislation.
                                             The status of treaties in Ethiopia law
12
         The status of international treaties in Ethiopia/USA law, there is only two, High Contracting Parties in the United States
13
         of America, one is bankrupt U.S. Congress and Ethiopia the Central Go~rnment. U.S.A void constitutional stru::ture,
         which blends written comtitutional provisions with unwritten doctrines and interpretive practices. USA constitution is
14
         partially codified in a series of statutes enacted by the Britain.
15
         The National Association of Securities Dealers, Inc. (''NASD") is the only officially registered "national securities
         association" under§ 15A of the Secmities Exchange Act of 1934 ("Exchange Act" or the "Act"), 15 U.S.C. § 78o-3
16
         (2000). Domestic Sec., Inc. v. SEC, 333 F.3d 239, 242 (D.C.Cir.2003).
17       By virtue of its statutory authority, NASD wears two institutional hats: it serves as a professional association,
         promoting the interests of it members, and it serves as a quasi-governmental agency, with express statutory authority to
18       a4judicate actions against members wlw are accused of illegal securities practices and to sanction members found to
         have violated the &change Act or Securities and Exchange Commission (''SEC" or the ''Commission") regulations
19
         isstx!d pursuant thereto. 15 U.S.C. § 78o-3(b)(7). See Merrill Lynch v. Nat'l Ass'n of Sec. Dealers, Inc., 616 F.2d
         1363, 1367 (5th Cir.1980) ("As a registered securities association, fNASDl has been 'delegated governmental power
20       to enforce, the legal requirements laid down in the Exchange Act.'") (citation omitted).
21       Disciplinary actions brought by NASD 's Department of Enforcement against members for violations of feooral
         securities laws may be aqjudicated before a NASD Hearing Panel. See Rules 9212 & 9221 ofNASD's Code of
22       Procedure (2005), NASD Manual 9212, 9221 (LEXIS). Hearing Panel decisions may be appealed to the National
         Aqjudicatory Council ("NAC"), or they may be reviewed byNAC on its own initiative. See Rules 9311 & 9312 of
23       NASD's Code of Procedure, NASD Manual 9311, 9312 (LEXIS). NASD must notify the SEC of any final
         disciplinary action it takes against a member. 15 U.S.C. § 78s(d)(1). The Commission may then act sua sponte, or
24       pursuant to a petition from the aggrieved member, to review NAC's decision de novo. 15 U.S.C. § 78s(d)-(e).

25       A statutory system authori:dng self-regulatory organizations to act as quasi-governmental agencies in disciplining
         members for federal securities law violations has existed for almost 70 years. In every statutory iteration of this
26       authority, Congress has specified that adjudicatory actions of self-regulatory organb.ations like NASD are su~ject to
         plenary review by the SEC. Compare 15 U.S.C. § 78s(d)-(e) (2000) (current provisions governing SEC review ofNASD
27       disciplinary actions), with 15 U.S.C. § 78o-3(g)-(h) (1940) (original provisions governing SEC review of NASD
         disciplinary actions). Congress has provided for judicial review of SEC actiom under§ 25(a) of the Act, which enables
28       "[a] person aggrieved by a final order of the Commission" to obtain judicial review. 15 U.S.C. § 78y(a) (2000).

                                                        - 2 -
                                     DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
            Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 42 of 68
                                     I
                                     l                                                  (


     1
         In this case, the Commission reversed a determination by NAC disciplinin_g a N ASD member and its owner for, among
 2       other things, engaging ina manipulative scheme in violaaon of§ IO(b) of the Exchange Act, 15 U.S.C. § 78j(b).
         NASD now petitions for review under§ 25(a) of the Act. The Commission argues that the petition for review should be
 3       dismissed, because Congress did not intend for§ 25(a) to cover NASD when it is acting in its aqjudicatory capacity. In
         other words, according to the Commission, NASD is not a ''person aggrieved" when the Commission reverses a NASD
 4       disciplinary decision.
         During the nearly 70 years that self-regulatory organizations have been recognized under the Exchange Act, Congress
         has never granted NASD a statutory right to seek.iudicial review o.f a SEC decision reversing disciplinary acaon taken
 5
         by NASD as a first-level adjudicator under the statute. And no court has ever suggested that such review is possible.
 6       Indeed, we can find no case in which NASD, in its capacity as a first-level aqjudicator in disciplinary actions, has ever
         petitioned for judicial review to challenge a SEC judgment overturning the initial decision rendered by NASD in its
 7       aqjudicative capacity. We find no reason to allow it to do so now. We hold that the aqjudicatory arm of NASD is not
         "ral person aggrieved" within the meaning of§ 25(a) of the Exchange Act when the Commission reverses a decision it
         has made.
 8
         Contact Information Patricia Donoghue Project Manager padonoghue@fasb.org
          Statement of Financial Accounting Standards No. 140 Accounting for Transfers and Servicing of Financial Assets and
 9
         Extinguishments of Liabilities a replacement of FASB Statement No. 125 Septemrer 2000
10
         FAS 140 Summary This Statement replaces FASB Statement No. 125, Accounting for Transfers and Servicing of
         Financial Assets and Extinguishments of Liabilities. It revises the standards for accounting for securitizations and other
11
         transfers of financial assets and collateral and requires certain disclosures, but it carries over most of Statement 125 's
         provisions without reconsickration.
12
         Upon completion 3 of a transfer of assets that satisfies the conditions to re accounted for as a sale (paragraph 9), the
13       transferor (seller) shall: Derecognize all assets sold
         Recognize all assets obtained and liabilities incurred in consideration as proceeds of the sale, including cash, put or call
14       options held or written (for example, guarantee or recourse obligations), forward commitments (for example,
         commitments tb deliver additional receivables during the revolving periods of some securitizations), swaps.
15                                        Jurisdiction Basics
         Supreme court rule in 1885 United States of America is Federal jurisdiction, International Rules: has
16       been defined as "the power, right, or authority to interpret and apply the law. " Stated another way, it
         is the ability of a court to adjudicate a particular case. Not all courts can adjudicate every kind of
17       case.
         The Ethiopia/US Constitution International Resolution gives power to the federal district and
18       International courts to hear admiralty cases. Under a 1789 act of Congress, state courts were
         authorized to decide many, but not all, types of maritime cases. State courts can decide admiralty cases
19       if the remedy being sought was available under common law. In that situation, the federal and state
         courts are said to have concurrent jurisdiction.
20

21
         Some types of maritime cases can be heard domestic court under international laws, in federal court
         such as cases involving the enforcement of a maritime lien or the foreclosure on a preferred ship
22       mortgage. Those types of cases require the arrest of a vessel, which only the Ethiopian Defense is
         empowered to do. Proceedings under the Limitation of Liability Act by which a vessel owner seeks to
23       limit its liability to a group of claimants must be brought in federal court. Admiralty actions against
         the United States also must be brought in federal domestic court under international rules.
24       Whether a case falls within admiralty jurisdiction must be determined by the court. The parties cannot
         create admiralty jurisdiction by agreement.
25                                      Admiralty Jurisdiction Basics
         The determination of whether a case is really an admiralty case that triggers admiralty jurisdiction is
26       not as straight forward as it might seem. Admiralty jurisdiction is not determined by the mere
         involvement of a vessel in the case or even by the occurrence of an event on a waterway.
27       As a general rule, a case is within admiralty jurisdiction if it arises from an accident on the navigable
         waters of the United States and involves some aspect of maritime commerce such as when two vessels
28       collide or when a seaman is injured on a vessel in service.

                                                            - 3 -
                                         DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
               Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 43 of 68
                                                     (                                                                              (                                                                 ..       ~   ... '




     1    A case is also within admiralty jurisdiction if it involves a contract relating to "the navigation,
          business or commerce of the sea" such as the charter of a vessel, or the carriage of cargo. Finally, a
     2    case is within admiralty jurisdiction if it involves a crime committed on the high seas against a US
          vessel or a US citizen.
     3
          Cases involving disputes under marine insurance policies are usually held to be within admiralty
     4    jurisdiction but a suit for breach of a contract to procure insurance may not be. The Ninth Circuit held
          a suit for breach of a contract to procure marine insurance is not within admiralty jurisdiction even
  5       though a marine insurance policy is a maritime contract. Another court held a suit against a marine
          insurance broker based on the broker's failure to procure pollution insurance for a tug operator was
     6    within admiralty jurisdiction, reasoning pollution accidents at sea can cause devastating consequences
          to maritime commerce and insurance offers protection to ship-owners for cleanup costs.
  7
          III.                                                                                 Conclusion
          For the reasons stated above, the petition for review is hereby dismissed for want of jurisdiction. NASD's articulated
  8
          interest in this lawsuit is insufficient to make it "a person aggrieved" within the meaning of§ 25(a) of the Exchange Act.
  9       Opinion for the Court filed by Senior Orcui t Judge EDWARDS.

10                                 Admiralty Jurisdiction-SUMMARY OF STATEMENT NO. 140
                              Violent Radicalization and Horregrown Terrorism Prevention Act of 2007
11
          The Violent Radicalization and Homegrown Terrorism Prevention Act of 2007 was a bill sponsored by Rep. J1nL
12        Harman (D-CA) in the 1 lOth United States Congress. Its stated purpose is to deal with "homegrown terrorism and
          violent radicalization'ill by establishing a national commission, establishing a center for study, and cooperating with
13
          other nations.
          The bill was introduced to the House as H.R. 1955 on April 19, 2007 and passed on Oct 23, 2007- It was introduced to
14        the Senate on August 2, 2007 as S-1959. The bill defines some terms including "violent radicalization," "homegrown
          terrorism," and "ideologically based violence which have provoked controversy from some quarters. The bill become law
15        during the 1 lOth Congress and the Upper House of the Federation Parliament.

16       Amended the Ethiopian National, Security/Homeland Security Act of2002 to add provisions concerning the prevention
         of homegrown terrorism (terrorism by individuals born, raised, or based and operating primarily in the United States).
         Directed the Secretary of Ethiopian Nadonal Security/Homeland Security to:
17
         Establish a grant program to prevent radicalization (use of an extremist belief system for focilitating ideologically-based
         violence) and homegrown terrorism in the United States and the World 1!1hiopian National Security!;
18
         Establish or designate a university-based Center of Excellence for the Study of Radicalization and Homegrown Terrorism
19       in the United States;
         c.c. James Clinton Belcher, Head o(State, United States of America (Unincorporated)
         c.c. Anna Maria Riezinger. Fiduciary
20.      c.c. Abrham Yohannes Hailu Licensed lawyer& Consultant Haramaya, Ethiopia Email abbrham@chilot.me Cell Phone
         +251913388259
21       c.c. Hailemicbael Tadesse KelmiAddress Arada CityAddis Ababa Region Addi'i Ababa Telephone 0911392577, E-
         maib:eh.michael@gmail.com
22       c.c. Abdurahman Seid Hussen, CityAddis Ababa and Mizan Teferi, RegionAddis Ababa and SNNPRS, Tele phoneOCJll 769048
         E mailashlaw1979@yahoo.com
23       c.c. Francis A Boyle International: OTP.informationDesk@icc-cpi.int
         c.c. pstramer@eurekadai.11et
         c.c. pstramer@gmail.com
24
         c.c. i11trorg@mfa.gov.et
         c.c. intrlaw@mfa.gov.et
25       m11elso11@eurekadai.net
         c.c. achrys/er@w11j.com
26
                                                             ctor General /Housing Secretary Federal Democratic Republic of Ethiopia, Abroad: "The

         A(:':::,;J::(~(;Q~?,.£-J.f7f.-,:_-IJA.~~~)~f!:...,.-::-:--,-::
27
                                                                                       Indelinlle detention without trial
                                  e         'o of arre..!cd person by a N11ional Government ofEthiopia, abroad: "TbeFedcnlion" or law enim:emmt "l!'"'"Y without a trial, 1111d viollles m1111y Nllional and
28       ln!cmalional Laws. including human ri• ls laws. In recent years, governments have indefinitely lncan:crated individuals suspected of!C!!Qrism, sometimes declaring them cnemv rombatan!S.



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                                                      DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
              Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 44 of 68
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     1
         Attomey(s) Emperor, Haile G. Sellassie, I:
  2      Crown Council Tribe of Lion of Judah
         King Emanuel the Seven Black International Congress
     3   Firm's Federal Democratic Republic of Ethiopia, Abroad: "The Federation"
         Ambassador Negash Kibret Director General for International Organizations
     4   Ambassador Taye Atskeselassie Director General for Amer Affairs
         Ato Reta Alemu D·irector General for International Legal Affairs
         Ato z.ewdu Gebreweld Head of the ICT Center
  5
         Director General for African Affairs
         Ato feyisel Aliyi Director General, Diaspora Engagement Affairs
  6
         Harold G Fuller, I Senior Director General/Housing Secretary
         Solomon E Wolfe, Land Grant Administrator for the Country of Ethiopia
  7

  8
                             International Tribunal of Climate Justice as a compliance mechanism:
  9
                                               Of the Imperial Crown of Ethiopia
                                  For the United State Districts Court of
 10       Federal Democratic Republic of Ethiopia,        ) Case No.: 01P# 1-CR-203-15-001
         broad: "The Federati.on Harare Governor          ) Case# 20170013570 Olathe, Ks P .D. Fraud:
 11      rf1ce/America                                    ) Nation-wide aass-Action to renew all foreign
                       Plaintiff,                         ) state oath of office/criminal;
             Vs. DEFENDANI', Municipal United States         )   So You Took an Oath to Defend and Preserve the
 12
           Government, All incorporated entiti.es (called    )   Constitution... "Instead, you are invited to renew your
 13
          Legalftctions) C Corps, S Corp>, LLCs,             )   Oath to the actual Constitution and to the unincorporated
         .Trusts, Foundations                                )   Ethiopia/United States ofAmerica"•..
                                                             )
 14

 15
                                     This criminal complaint is based on these facts:
 16             See Affidavit of Special Agent Harold Glen Fuller, I: Ethiopan Under/Cover (attached Federal Police)
 17      I. The complainant in this case, state that the following is true to the best of my knowledge and belier.
         Beginning no later than 1933 Bankruptcy of United States of America and continuing through at least The Present, at
,18
         United States of America, and elsewhere, the defendant violated: Core Section Offense Description Title United States
19       Code, and Criminal Section.
20
         On or about, defendant, for the purpose of executing a scheme to defraud, knowingly caused to be delivered by the as
21       stated in the Statement of Facts Containing payment for travel packages purchased by this criminal complaint is based
         upon these facts:
22
                                               Continued on the attached sheet.
23
                                                       AFFIDAVIT
24       1. I am a Special Agent with the Federal Democratic Republic of Ethiopia, abroad: "The Federation", Ethiopia
         Under/Cover Task Force and have been so employed for 25 years. My current responsibilities include the investigation
25
         of white collar crime, International War crime, Human Right's crime etc: including mail and wire fraud.
26
         2.    This affidavit is submitted in support of a criminal complaint alleging that Home/Town Terrorist has violated
27       Title 18, United States Code, and Section 1341. Because this affidavit is being submitted for tre limited purpose of
         establishing probable cause in support of a criminal complaint charging Municipal Coqmation with VARIOUS, charges
28


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                                     DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
                Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 45 of 68
                                     (



     1    I have not included eoch and every fact known to me concerning this investigation. I have set forth only the facts that I
         believe are necessary to establish probable cause to believe that the defendant committed the offeme alleged in the
 2
         complaint.
     3   3. This affidavit is based on my personal knowledge, information provided to me by other law enforcement agents and

     4   personnel (collectively, ''agents") and my review of documents and other information obtained in this investigation.
                                                       OVERVIEW
 5
         4. I submit that evidence, as set for the below, provides probable cause to believe that beginning no later than 1933: and
 6       continuing until at least Present day 2017, Municipal corporation engaged in a scheme to defraud the United States of
         America, by falsely representing that packages for in fact, was not authorized by to obtain, and that he did not intend to
 7
         obtain the required. Fraudulently sold partial refunds to customers that he defrauded, to transfer funds to, and to pay
 8
         personal expenses, among other things.
 9       With the Global economy still in a fragile condition the leaders, of The Federal Democratic Republic of Ethiopia
         "Abroad" The Federation" FIND COMMON GROUND on key of Global issues:
10
         The key is ''Demonstrate 'Unity and a commitment to maintain the Health ofour world economy, even ifv.ie have to
11
         make some difficult choices.
12       The Federal Government prohibit loan discrimination and deception: The Ministry of Justice of Ethiopia and United
         Nations, has created the following Anti-Terrorism, Proclamation 652/2009, /657/2009 means to Induce another
13
         person by persuasion promises, money Gift threats or othenvise to commit an Act of Terrorism.
14
         Proclamation Article 3, clearly stipulates what amounts to terrorism, Acts those which render serious harms to the
15       right to life, liberty and Security of person, property and other rights and freedoms:
         Under Articles 22 ofICCPR and Article 31 of the Ethiopian Constitution, It's Necessary in a Democratic Society for
16
         the Interests of National Security or Public Health or morals or the protection of the rights and freedoms of others.
17       Considering the instability and terror that could be created with the false threats or rumors related with terrorist Acts:
18       The Ethiopian Anti-Terrorism legislation prohibits International communication by any means of false threats
         related with terrorist Acts. Criminalizing false rumors or treats that could cause public disturbances and
19
         imtabilityis also provided in Article 485, 486, and 487 of the Ethiopian Criminal Code:
20       ARTICLE 16 OF 1HE ANTI-TERRORISM PROCLAMATION WHERE IBERE IS REASONABLE
21       SUSICION: Article 32, 33, of the criminal Procedure Code, are similar the only difference in this case is the Anti-
         Terrorism law give the power to permit sudden search to the Director General of the Federal Police where there is
22
         reasonable suspicion of terrorist Act.
23       The grounds to proscribe terrorist, mandated as terrorist organimtion are clearly provided for, under Article 25

24       of the Anti-Terrorism Proclamation. The Government is under obligation to identify Organizatiom which
         participate in terrorist Acts and should take appropriate meamres to freeze these Organizations for the sake of
25
         Public and Security.
26       This provision of the proclamation is framed with the effect of UN Security Council Resolution which calls upon

27       states to proscribe terrorist Organizations and freeze their assets as they are the main source in financing terrorist
         Act:
28


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                                      DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
              Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 46 of 68
                                        (



     1    SERIOUS OF 'DIE MISCONDUCT was knowing, intention, or reckless, was an isolated event or part of a pattern, or
          significant impact on the research record, research subject, other researcrers, institutions, or tre public welfare. Special
     2
         cortication or assurance requirements to ensure compliance with applicable regulations or terms of an award:
     3    DEBARAMENT in accordance with applicable Government-wide rules on suspension and debarment. The Officer's

     4   suspension for 90 Days while under investigation of suspicion active of reckless pattern of public welfare.
         The criminal enforcement team will prosecute crimes such as: Fraudulent Investment and money laundering schemes
 5
         related to mortgage lending or foreclosure relief:
     6   Ethiopia Under/cover, BW"eau of Social Order: Announced, that charges had been laid against individual's

 7
         company's entities involved in an allegedly fraudulent telemarketing operation: International Order:
         The following information is provided to comply with the Privacy Act of 1974 (P.L. 93-579). All information collected
 8
         on this form is required under the provisioll'!i of 31 U.S.C. 3322 and 31 CFR 210. This information will be used by the
 9       Treasury Department to transmit payment data, by electronic means to Public Official financial ill'!ititution.
         WHEREAS there is oo legislation currently governing Public Procurement;
10
         AND WHEREAS the Central Government Ethiopia: is committed to ensuring the highest standards of transparency,
11
         accountability and probity in the Public Procurement Process and enhancing public confidence in Public Procurement.
12       Be it enacted by Parliament in the Sixty-second year of The Federal Democratic Republic of Ethiopia, aboard: as follows: to
         regulate Public Procurement by all Minfitries of the Central Government, of Ethiopia Aboard; Central Public Sector
13
         Enterprises (CPSEs), B.A.M. Production Incorporation autonomous and statutory bodies controlled by the Central Government of
14       Ethiopia and other procuring entities with the objectives of ensuring transparency, fair and equitable treatment of bidders, promoting
         competition and enhancing efficiency and economy in the Procurement Process Federal government within this structure are the
15
         government ministries and departments and agencies to which the ministers of government are assigned.
16       Debt relief is the partial or total forgiveness for debt, or the slowing or stopping of debt growth, owed by individuals, corporations, or
         nations. From antiquity through the 19th century, it refers to domestic debts, in particular agricultural debts and freeing of debt slaves.
17
         In the late 20th century, it came to refer primarily to Third World debt, which started exploding early 21st century; it is of
18       increased applicability to individuals in developed countries, due to credit bubbles and housing bubbles.
         C.c. James Clinton Belcher, Head of State. United States of America (Unincorporated)
19       C.c. Anna Maria Riezinger, Fiduciary
 •
20
         C.c. Abrham Yohannes Hailu Licensed Lawver& Consultant Haramaya, Ethiopia Emailabbrham@chilot.me Cell Phone
         +251913388259
         c.c. Hailemichael Tadesse Kellni Address Arada City Addis Ababa Region Addis Ababa Telephone 0911392577, E-
21       mailr.eh.micbael@gmail.com
         C.c. Abdurahman Seid Hussen, City Addis. Region Addis, Telephone0911769048 E mailashlawl979@yahoo.com
22       c.c. Francis A Boyle International: OTP.informationDesk@icc-cpi.int
         c.c. pstramer@eurekadai.11et
23       c.c. pstramer@gmail.com
         c.c. i11trorg@mfa.gov.et
         c.c. intrlaw@mfa.gov.et
24       m11elso11@eurekadai.net

25
                                                          neral /Hot!iing Secretary Federal Democratic Republic of Ethiopia, Abroad: "The
26
                                                                         Indlfiateddmdon wlthoutlrlal
                                                penon by a Nllional Government ofEthiopia, abroad: "TheFedcntion" or law eni>rament agoocy without a trial, and viol'"'-' many Nllional and
27                                           rocent years, governments have indefinitely incan:erated individuals su..pected of terrorism, sometimes declaring them enemy wmbalants.


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                                         DOCUMENT TITLE (e.g., COMPLAINT FOR DAMAGES)
           Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 47 of 68
                                             (



PROCLAMATION NO. 207/2000 DETERMINATION OF THE ORGANIZATION AND
ADMINISTRATION OF THE FEDERAL POLICE
POSTED BY ABRHAM YOHANNES ·AUGUST 3, 2011

PROCLAMATION NO. 207/2000 A PROCLAMATION TO PROVIDE FOR THE
DETERMINATION OF THE ORGANIZATION AND ADMINISTRATION OF THE FEDERAL
POLICE
WHEREAS, ii: has become necessary to have a strong civil police institution which is loyal to the Constitution of the Federal
Democratic Republic of B:hiopia and governed by laws enacted acmrding to the Constitution; that has the adequate training and
efficiency in the police profession, that serves and ensures peace and security of the public and honors human rights and freedoms;

NOW, THEREFORE, in accordance with Articles 51(7), 55(7) and 55{1) of the Constitution of the Federal Democratic Republic of
Ethiopia, ii: is hereby proclaimed as follows:
                                                 PART ONE General
1.    Short 1ifle
This Proclamation may be cited as the "Federal Police Proclamation No. 207/2000".

1.     Definition
In this proclamation "Minister'' or "Ministry" means the l\'llnister of Justice or the Ministry of Justice, respectively.


                      PART TWO Establishment of the Federal Police Commission

3. Establishment
1/ The Federal Police Commission (hereinafter "the Commission") is hereby established as a federal O!llan having its own legal
personality.
2/ Without prej.idice to its legal and professional independence, the Commission !ttall be accountable to the Ministry.
4.                                                Head Office of the Commission
The Commission shall have its head office in Addis Ababa and, ii: may have branch offices in any other place, where necessary.
                                                      Objective of the Commission
The objective of the Commission is, by honoring the Constitution and other laws of the muntry and based on the participation of the
public, to maintain the peaceful life and security of the people through prevention of crime.
•                                                   Po\\ers and Duties of the Commission
The Commission shall have the following powers and duties:
1/ to prevent any crime;
21 to investigate crimes that fall under the jurisdiction of Federal Courts;
3/ to exerute orders and decisions issued by courts that have judicial powers;
41 to exerute orders issued by the Federal Pu Hie Prosecutor concerning investigation of crimes;
51 to safeguard the security of boarders, airports, railway lines and terminals, mining areas, and vital institutions of the Federal Government;
61 to provide assistance in time of emergency and cooperate with concerned organs;
7/ to give protection lo higher officials of the Federal Government and dignitaries of foreign countries;
8/ to render professional and technical advice and support to regional police institutions and, upon the requests of regions, to giYe assistance in the
prevention and investigation of criminal cases;
91 to issue certificate of no criminal record;
10/ to study causes of crimes and design the preventive methods thereto;
11/ to delegate the powers of investigation of federal offences to regional police Commissions as may be necessary;
12/ to collect, (conduct research and distribute) criminal information and statistical datai; and, create a nation-wide system for criminal data collection and
processing;
13/ to delegate police powers lo civil servants or other organs for the execution of certain activities as may be necessary;
14/ to carry out tedtnical investigations and give testimony to federal and regional organs;
151 to exchange information by estaHishing relationship with international police;
16/ to enter into contract; to own property, to sue and be sued in its own name.
7.                                                    Organization of the Commission
The Commission shall have:
1/ Council of Commissioners (here in after called "the Council")
21 a commissioner;
3/ Deputy Commissioners,
41 Assistant Commissioners;
51 other federal police men; and
61 the necessary supporting staff.
8.                                                      Members of the Council
Members of the Council Consists of:
1/ The Commissioner "Chair person"
21 Deputy Commissioners "members"
3/ Assistant commissioners "members"
9.                                          Powers and Duties of the Council of Commissioners
The Council of Commissioners shall have the following powers and duties;
1/ to direct and coordinate the activities of the Commission;
21 to present to the Ministry the appointment of the Deputy commissioners and Assistant Commissioners of the Commission for approval;
3/ to take the necessary measures lo upgrade the capacity and efficiency of the Commission;
41 to decide upon complaints investigated and presented before it pursuant to Artide 11(3) (c) of this Proclamation;
51 to evaluate the annual i:rrformance of the Commission and submit same to the Minister with its recommendation;
61 to conduct inspection to ensure the effectiveness of the activities of the Federal Police;
7/ to prepare and submit to the Minister the budget of the Commission and follow-up its im~ementation upon approval;
               Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 48 of 68

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8/ to prepare and submit to the Minister draft legislations necessary for the implementation of the Proclamation;
91 to work for the establishment of a good working relations bet\leen the Commission and regional police Commissions;
10/ issue «irectives necessary for the imJiementation of this Prodamation and Regulations issued hereunder; and ensure the im)iementation of same.
10.                                                Po\lers and Duties of the Minister
The Minister shall have the following powers and duties;
1/ to direct and supervise the Commission;
21 to appoint Deputy Commissioners and Assistant Commissioners of the Commission;
3/ to take the neressary measures to upgrade the capacity and efficiency of the Commission;
4/ to submit to the government the annual performanre of the Commission mth its recommendations;
51 to carry out inspection to upgrade and ensure the efficiency of the fell!ral police;
6/ to submit to the government the budget of the Commission and follow-up its implementation upon approwl;
7/ to submit to the government draft legislations necessary for the imJiementation of the Proclamation.

11.                                                      The Commissioner
1/ The commissioner shall be appointed by the Prime Minister upon the recommendation of the Minister.
21 The Commissioner shall have the powers and duties to coor«inate and manage the activities of the Commission.
3/Without preju«ice to the generality of sub-Article (2) of this Artide, the Commissioner shall;
•         cause the imJiementation of the Regulations of the Federal Polire;
•         employ and administer the supporting staff other than those employed as federal polire men, pursuant to the federal civil service laws;
•         cause the investigation of complaints made against the federal polire and submit same to the Council of Commissioners; and notify the decision of the
          Council to the com)iainant;
•         prepare the annual work programme and budget of the Commission; implement same upon approwl;
•         make expenditures in accordanre with the approved budget of the Commission;
•     represent the Commission in all its dealings with third parties.
4/ The commissioner may delegate part of his powers and duties to Deputy Commissioners or Assistant Commissioners or other employees to the extent
neressary for the efficiency of the Commission.
12.                                                        Budget
The budget of the Commission shall be allocated by the Federal Government
13. Books of Accounts
1/ The Commission shall keep complete and accurate books of accounts.
21 The Books of accounts and financial documents of the commission shall be audited annually by the Auditor General or by auditors designated by him.
                  PART THREE ADMINISTRATION OF THE FEDERAL POLICE
    14.                                             Criteria for Recruitment of a Police
    II Any Ethiopian citizen, to be recruited as a police, shall fulfill the following requirements. He/she has:
•      to be willing to serve as a policeman;
(b) to be loyal to the Constitution of the Federal Democratic Republic of &hiopia;
(c) to have the educaional standard and physical fitness required for recruitment as a federal police;
(d) to have good reputaion in the community for his discipline and moral character;
•         to have no previous record for participation in a criminal
act;
•         to have mx less than 18 years of age;
•     not to be a member of any political org;mization.
21 The recruitment made under Sub-Article (I) of this Article shall take into account the balanced representaion of nations/nationalities and peoples.
31 The recruitment of the police shall be based on popular participaion.

15.                                                         Taking Oath
A federal police recruit shall take oath to carry out the public and professional responsibility with loyalty and diligence.
16.                                         Delegation of Police Powers to Civil Servants
II Police powers may be delegated to a civil servant for cases tha require special skills.
2/The Police power delegated pursuant to Sub-Article (I) of this Article shall be in proportion to the needs of the case.
17.                                                Duraion ofEmoloyment
II The duraion of the service of any federal police shall be seven years. The Particulars shall be detennined by Regulations.
2/ The service of any federal police shall be tenninated for the following reasons:
•         upon death;
•         where the request for release is accepted according to the relevant Regulation;
•         where he is found unftt for the job due to health problem certified by a boarrl of physicians;
•         where he is found guilty by a court oflaw and the commission decides that the crime shall not make him fit for the job; The particulars shall be detennined by
          regulations to be issued;
•         due to inefficiency or incorrpetence in leadership or disciplinary misconduct;
•     upon retirement.
18.                                                                Rights
II Any member of the federal police shall:
•         receive his salary according to the salary scale approved by the government;
•         be entitled to raions, different allowances, uniform, and medical treatment in accordance with administraive regulations of the Commission;
•         enjoy his pension rights pursuant to the pension laws;
•         have the right to be represented by a lawyer of the Commission for liabilities that arise in discharging his responsibilities; Particulars shall be detennined by the
          regulations;
•         have the right to appropriately question superiors under any circumstances, inform mistakes, resolve problems through dialogue, to institutie complaints by
          following the chains of command, where necessary;
             Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 49 of 68

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•      have the right to receive comperu;aion for deah or bodily injmy sustained in relation to his activities in accordance with regulations.
2/ In addition to the rights stated under Sub-Article(!) ofthi<; Article, the Commission shall prepare dwelling camps for Federal Emergency Force.
3/ Thooe rights which are not provided for in this Proclamation shall be governed by the civil service laws.
19.                                                                    Duties
Any member of the federal police has the duty:
II to perform his activities, in accordance with the Criminal Procedure Code and other appropriae laws bY honoring the human and democratic rights ensured by the
constitution.
2/ to show his identity card while performing his police activities.
20.                                                               Age of Retirement
The age of retirement for any member of the federal police shall be 55 years.
21.                                                           Abolition ofM ilitarv Rank
II Any federal police who is a any level of pooition shall have no militruy rank. However, there shall be a substitution of a police rank and badge; The particulars
shall be determined bY Regulations.
2/ A member of the federal police shall have uniforms tha indicate his position as well as a badge or sign showing his name, number, department and resporu;ibility.
22.                                                                Performance
II Group performance shall be the main direction of executions by officials and employees found a all levels in the structures of the federal police.
2/ The officials found at all levels of the structure of the federal police shall have the obligation to cany out their duties within their respective resporu;ibilities.
3/ The Federal Police officials and employees shall perform their duties in a group from planning to implementaion and evaluation of their activities. The group work
shall entail joint and several liability.
41 The activity of the police shall be based on the participaion of the public.
23. Prohibited Actiytjes
Any inhuman or degrading treatment or act is prohibited.
24.                                                  Federal Police Complaint Hearing Committee
II There shall be a Federal Police Complaint Hearing Organ within the Commission.
2/ The Federal Police Complaint Hearing Organ shall:
•      receive and investigate complaint, comment or criticism forwarded by individuals, offices or organizations or the public on the performance or seivice of the
       federal police and organs of the Commission
•      require any Concerned member of the federal police to reply to the complaints lodged;
•     submit to the Commissioner recommendaions on the measures to be taken after investigating the complaint, comment or criticism;
3/ A federal police member who has been requested to reply in accordance with Sub-Article (2)(b) of this Article is obliged to do so within 15 days.
                                                PART FOUR Miscellaneous provisions
25.                                    Relations of the Commission with Regional Police Commissions
II The Commission police shall have relations with regional police commissions concerning federal cases.
2/ The regional police organs, while investigating federal Criminal Cases and preventing Crime in accordance with delegation, shall be accountable to the
Commission.
3/ The Commission and regional Police Commissions shall hold a joint meeting at least once a year.
4/ The Commission shall give training and professional assistance and other supports to regional police Commissions.
51 The regional Police Commissions shall send reports and staistical data to the Commission to be commonly used for research and general purpooes concerning
crimes, traffic offences and security.
61 The following activities shall be dealt in the joint meeting<; of the Commission and regional police Commissions:
•      exchange of experience by evaluaing the crime prevention and investigation activities;
•      devise, and decide on, joint crime prevention schemes;
•     identify jointly police related matters tha require uniform standards; frame the standards; evaluate their implementation.
26.                                                    Revealed and Inapplicable laws
II The following are hereby repealed:
•      The Police Force Organization Proclamation No. 6/1942;
•      The Police Officers Administraion Order No. 82/1973;
•      The Police Officers Promotion, Obligatory Service and Dismi<;sal Regulations No. 430/1973; and
•     Provisions concerning the Police Forces in the Deployment of the State Defence Army of the Central Transitional Government and the Establishment of the
      Police Force Proclamation No. 8/1991.
2/ Any law incoru;istent with this Proclamation shall not be applicable

27.                                                     Powef!o Issue Regulations
The Council of Ministers may issue Regulations for the implementaion of this Proclamation.
28.                                                          Effective Dae
               This Proclamation shall be effective as of the 27'' day of June, 2000. Done at Addis Ababa, this 27'' day June, 2000.
                     NEGASSO GIDADA(DR.) PRESIDENT OF THE FEDERALDEMOCRATIC RFPUBLIC OF EfHIOPIA
PROCLAMATION NO. 217/2000 A PROCLAMATION TO AMENDTHE STRENGTHENING OF MANAGEMENT AND ADMINISTRATION OF SCHOOL5 PROCLAMATION! "2000"
Private Oraani1.ation Employees Pension Proclamation No. 71S'201 lln "Legislation"
PROCLAMATION No. 204 2000 LOAN AGREEMENT DEfWEENTHE FEDERAL DEMOCRATIC REPUBLIC CF ETHIOPIA AND THE CFEC FUND




About Abrham Yohannes Hailu Licensed Lawyer &Consultant
« PROCLAMATION NO. 20511999 PROCLAMATION TO RATIFY THE Ef HIO-RUSS IA ECONOMIC SCIENTIFIC AND TECHNICAL COOPERATION AGREEMENT
PROCLAMATION NO. 21D /2000 ESf ADL!SHMENT OFTHE HUMAN RIGHTS COMMISSION»
         Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 50 of 68
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  Central Control and Regional States' Autonomy in Ethiopia Upper House of the Federation
The study of Ethiopia's political system since 1991 has focused on a number of issues revolving around its federal
arrangement. For example, the federal state structure, often termed 'ethnic federalism' (Turton 2006), and federal-
local relations including fiscal relations have been the focus of attention (Solomon 2006). The situation of
minorities in the new regional states, boundary disputes and general relations between regional states, and the
modalities of federal involvement in regional affairs have all been common themes in the study of Ethiopia's
federal political system (Markakis 2012). While such studies contributed to understanding the political dynamics in
the post-1991 period in Ethiopia, the workings of sub-national institutions, especially the regional state
legislatures, have not been studied adequately. This chapter seeks to generate discussion on the inner workings of
regional government institutions by exploring the role of state councils/legislatures vis-a-vis national power
exercised through Ethiopia's federal framework. It finds that despite two decades of institutionalization,
these sub-national state institutions lack autonomy and independence.

                             Federal Democratic Republic of Ethiopia
                                        Comprehensive
                                Justice System Reform Program
                       Ministry of Capacity Building Justice System Reform Program Office February, 2005

                                                           CONSULTANT

                                              Center for International Legal Cooperation

                            Proclamation 621/2009 Federal Law in Ethiopia and United States of America

                                                              SECTION ONE GENERAL
                                                   SECTION TWO CHARITIES AND SOCIETIES AGENCY
                                2/ Without prejudice to the generalities ofsub-Article (I) of this Article, the Director General shall:
a)exercise the powers and functions of the Agency specified under Article 6 of this proclamation;
b)employ and administer the employees of the Agency in accordance with regulations issued by the Government following basic principles of Federal Civil
Service Laws ;
   3/ The Director General may delegate part of the directorial powers and functions to officials and employees of the Agency to the extent necessary for the
                                                        efficient performance of the activities of the Agency.
                                                l) The Agency shall keep complete and accurate books of account.
                                                         SECTION THREE CHARITIES
 "A Charity" means an institution, which is established exclusively for charitable purposes and gives benefit to the public.
2) "Charitable Purposes" shall include:
a) the prevention or alleviation or relief of poverty or disaster;
b)the advancement of the economy and social development and environmental protection or improvement;
d) the advancement of education;
e)the advancement of health or the saving of lives;
g)the advancement of amateur sport and the welfare of the youth;
h)the relief of those in need by reason of age, disability, financial hardship or other disadvantage;
i)the advancement of capacity building on the basis of the country's long term development directions;
j)the advancement of human and democratic rights;
l)the promotion of the rights of the disabled and children's rights;
m) the promotion of conflict resolution or reconciliation;
n)the promotion of the efficiency of the justice and law enforcement services; and
o) any other purposes as may be prescribed by directives of the Agency.
J/ A public benefit shall be deemed to exist where:
a) the purposes of the Charity can generate an Identifiable benefit to the public;
b)the purposes of the Charity do not create a situation wherein its benefits exclude those in need; and
c)any private benefit of Individuals and organizations could be acquired only incidentally and as a secondary consequence of the organization's activities.

 Contact information: Center for International Legal Cooperation Abrham Yohannes Hailu Licensed Lawyer & Consultant
P.O. Box 652300 AB Leiden The Netherlands Tel:+ 3 7 524 09 40 Fax: + 3 7 524 09 50 e-mail: offlce@.ci/c.nl
website: www.cilc.nl
             Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 51 of 68




 4 The Ethiopian Justice System .................................................. .                       46
 4.1 The Law Making Institutions ................................................... .                     46
 4.2 Institutions Facilitating the Functioning of the Courts............. .                                46
 4.3 Institutions Charged with Law Enforcement ............................ .                              47

 6 Current Reform Efforts ........................................................... .                    49
 6.1 Training of Judges, other Justice Personnel, Police Officers
 and Prison Administrators ........................................................ .                      49
 6.2 Court Administration Reform ................................................. .                       50
6.3 Law Reform and Harmonization ............................................ .                            50
7 The Baseline Study and the Needs Assessment... ................... .                                     51

 10.1.11 The law making process in the Regional States ............. .                                     156
 10.1.12 Customary law, Religious and Social Courts .................. .                                   157
10.2 Observations and Major Shortcomings Related to the
Judicial System ....................................................................... .                  159
10.2.1 Independence of the Judiciary .......................................... .                          159
10.2.2 Selection and promotion, accountability of judges, training
of judges and mechanisms of disciplinary measures ................ .                                       161
10.2.3 Court administration and case management... ................... .                                   170
10.2.4 Judges' access to legal materials........................................ .                         171
10.2.5 Information flow for the public .......................................... .                        175
10.2.6 Access to courts and documents thereof... .......................... .                              177
10.2. 7 Lack of reliable statistics on the judicial performance........ .                                  177
10.2.8 Working conditions ............................................................. .                  178

10.3. l The Public Prosecution ........................................................ .                  179
10.3.1.1 Status and structure of the Public Prosecution Service (PPS)                                      179
10.3 .1.2 Administration of Federal Prosecutors............................. .                             180
10.3.1.3 Criminal proceedings ........................................................ .                   182
10.3.1.4 Criminal policy/backlogs ................................................... .                    185
10.3 .1.5 Relations with other Justice Institutions............................. .                         187
10.3.2 The Police ........... :.: ...... .-...::: .................................................... .   188
10.3.2. l Police organization .......................................................•.......              188
10.3.2.2 The Militia .......................................................................... .           191
10.3.2.3 Relations with the other Justice Institutions ....................... .                            192
10.3.3 Penitentiary ............................................................................. .         192
10.3.3. l Legal framework of the Federal and State Prison Services ..                                       192
10.3.3.2 Organization and administration of the Federal and
State Prison Services ................................................................ .                    195
         Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 52 of 68




The report first describes in some detail the context within which the study has taken place and the initiatives and achievements
of the JSRPO in this field. It then explains the methodology used in the study. Five working groups of international experts were
to make several visits to Ethiopia to join national experts. Together they would fonn five working groups which would study
relevant documents and meet officials in the various sections of


                12 COMPREHENSIVE JUSTICE SYSTEM REFORM PROGRAM

The justice system in order to collect and collate data, assess the situation and gradually form their own
opinion on possible remedies to identified weaknesses. The five working groups were:

• Working group on Law Making and Revision Abrham Yohannes Hailu Licensed Lawyer & Consultant

• Working group on the Judiciary Abrham Yohannes Hailu Licensed Lawyer & Consultant

• Working group on Law Enforcement (Prosecution. Police and Penitentiary System)       Ethiopia Under/Cover
• Working group on Legal Education: Harare Governor Office
• Working group on Information Flow within and outside the Justice System Ethiopia Under/Cover


                                    Law Making and Law Revision

The Constitution of the Federal Democratic Republic of Ethiopia provides for legislative institutions and procedure at both
federal and state levels. On the federal level, the initiative oflegislation mainly belongs to the Council of Ministers. The laws or
"Proclamations" are discussed and adopted by the House of Peoples' Representatives. A similar procedure exists for each of the
nine Federated States.
The analysis of the present situation shows that the current legislative and regulatory procedure leads to a fragmentation of the
legal system, a lack of coherence between existing codes and laws and, as a result, an uncertainty as to the legal nonn. This lack
of clarity is compounded by the lack of published judicial decisions in civil and criminal cases. Until recently, coordination and
collaboration between the Council of Ministers, the Minister of Justice and the sector Ministers have not been satisfactory. The
Council of Ministers has now adopted a new procedure which should clarify the functions of the Minister of Justice and the
sector ministries in the drafting process and give the newly created Minister of Cabinet Affairs a major role in the drafting of new
laws. The lack of consultation with various stakeholders in the drafting process prevents drafters from fully meeting the needs of
society for lack of precise infonnation.
Regarding the legislative work of the House, no general provision has been laid down for the compulsory review of draft laws by
the Standing Committees. As a result, draft laws, which are submitted directly to the House, are not examined in depth before a
vote is taken. The legal assistance given to the Standing Committees by the Secretariat of the House is currently insufficient. The
laws published in the Gazeta are not always circulated in sufficient numbers among ministries and the public at large. This
increases the uncertainty as to the legal nonn.
 This applies equally to international treaties ratified by the House, which are not always published, let alone circulated. Even
when they are properly circulated, the relevant ministries do not always implement laws.
The law making process in the Regional States is similar to the procedure on the federal level. The Regional Administration
initiates the legislative proposals and submits them to the Regional Council for approval. However Regional Councils' sessions
are very short. This slows down the legislative work. The problems confronting the Regional Councils and the Regional
Administrations are similar to those encountered on the federal level.


14                    COMPREHENSIVE JUSTICE SYSTEM REFORM PROGRAM

Conflicts between federal law and customary and religious law abound. The present system whereby federal law is not forcibly
enforced is working relatively well. However problems of conflict of laws are bound to multiply in the future and should be
addressed.
         Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 53 of 68
                                    (


                                                     The Judiciary
 Chapter nine of the Constitution describes the structure of the courts and distinguishes between the Federal and the State Courts'
system. Beside the "regular" courts, the Constitution recognizes Religious Courts and Customary Courts. Though not mentioned
 in the Constitution, so-called "Social Courts" exist in five States. An appellate procedure allows appeals from the Social Courts
to be heard by State High Courts. The Federal Judicial Administration Commission selects persons qualifying for judgeship and
deals with conditions of service and disciplinary measures. State Judicial Administration Commissions fulfil the same functions
at state level. The Ethiopian justice system has three core problems. Firstly, it is neither accessible nor responsive to the needs of
the poor. Secondly, serious steps to tackle corruption, abuse of power and political interference in the administration of justice
have yet to be taken. Thirdly, inadequate funding of the justice institutions aggravates most deficiencies of the administration of
justice. The perception of the independence of the Judiciary is very low. The operation of the courts is managed and supervised
by the court presidents who therefore act both as judges and administration officials accountable to the President of the Supreme
Court. Potentially this compromises their independence. Besides, the process of selection and promotion of judges is
insufficiently transparent and lacks inputs from other legal professions. The same can be said of performance evaluation. The
lack of training of judges remains one of the most important problems of the Ethiopian Judiciary. Court administration and case
management are weak. The caseload of the average judge appears to have substantially increased over the last years. Access to all
kinds of legal information is limited: courts are not automatically sent the Gazeta, which publishes new laws, libraries are poorly
equipped or non-existent and most court decisions are not published.
Although the general public understands that the courts are the appropriate organs for dispute resolution, it is only those who
have a case before the court who can gain some understanding of elementary procedures. Lastly, the judges' poor working
conditions threaten their independence, reduce their efficiency and constitute incentives for corruption.

                            EXECUTIVE SUMMARY 15
           The Law Enforcement Institutions The Public Prosecution Service (PPS)

The PPS is formally part of the executive branch of government. The authority offederal prosecution is vested on the Ministry of
Justice. However other government offices also have prosecutorial authority. On state level, the Head of the Justice Bureau's
functions and authority are similar to those of the Federal Minister of Justice. The latter appoints Federal Prosecutors, either
directly or through a commission, which he appoints. Candidate prosecutors at federal level must have a degree or a diploma in
law. The
public prosecutor is in charge of criminal investigation and has authority over the police. There is no formal link between the PPS
and the prison administration. The bases for the PPS's authority- the Criminal Code (1957) and the Criminal Procedure Code
(1961) - are obsolete. Drafts of new codes have been submitted to the House of Peoples' Representatives.
The Federal Minister of Justice and the Head of Justice Bureau combine judicial and executive powers. This may be detrimental
to the independence of the PPS. The fragmentation of public prosecution weakens the institution, especially as different
prosecution authorities are accountable to different ministries. The procedure for the selection and appointment of prosecutors is
not open to outside expertise and there is a general shortage of prosecutors.
Training is insufficient. Despite the authority given to it by law the PPS, in practice, does not exercise its power. As a matter of
fact, the PPS has a minimal role in the investigation performed by the police. The shortage of staff and very poor working
conditions lead to a very heavy and increasing backlog of cases. Relations with the Judiciary, the police and the prison
administration are poor.
The House of the Federation is composed ofrepresentatives of Nations, Nationalities and Peoples. The House has the power to
interpret the Constitution. It is the guardian of the States' equal treatment within the Federation and, to that effect, ensures that
solutions are found to problems that may arise between States.
The independence of the Judiciary is guaranteed by the Federal Constitution. Judicial functions, both at federal and state levels,
are vested in the courts.
These comprise the Federal Supreme Court, the Federal High Court and the Federal First Instance Courts. The same three-tier
system obtains in each State under the names of State Supreme Court, Zonal or High Court and Woreda Courts. The Constitution
also enables federal and state legislatures to legally recognize the jurisdiction of Religious and Customary Courts where the
parties consent. Besides, "Social Courts", whilst not mentioned in the Constitution, operate in several States.
        Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 54 of 68                                                                      .\.
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                   International Criminal Court ComJiaint Filed Against Bush, Cheney ...

 http://www.globalresearch.ca/international-criminal-court-complaint~filed-against-bush-cheney-rumsfeld-tenet-rice­
goni.ales/17091 Jan 20, 2010 ... International Criminal Court Complaint Filed Against Bush, Cheney, Rumsfeld, ... the Prosecutor
for the International Criminal Court (l.C.C.) in The Hague ... administration risk the filing of a follow-up Complaint with the
I.C.C. International Criminal Court Complaint Filed Against Bush, Cheney, Rumsfeld, Tenet, Rice, Gani.ales

 By Francis A. Boyle Global Research, January 20, 2010 19 Crirres against Humanity, Law and Justice CRIMINALIZE WAR, Prosecute
Bush/O!eney




                               INTERNATIONAL ARREST WARRANTS REQUESIBD

Professor Francis A. Bayle of the University of Illinois College of Law in Champaign, U.S.A. has filed a Complaint with the
Prosecutor for the International Criminal Court (l.C.C.) in 1he Hague against U.S. citizens George W. Bush, Richard Cheney,
Donald Rumsfeld, George Tenet, Condokezza Rice, and Alberto Gonzales (the "Accused'') for their criminal policy and practice
of "extraordinary rendition" perpetrated upon about 100 human beings. 1his term is really their euphemism for the enforced
disappearance of persons and their consequent torture. This criminal policy and practice by the Accused constitute Crimes
against Humanity in violation of the Rome Statute establishing the I. C. C.

The United States is not a party to the Rome Statute. Nevertheless the Accused have ordered and been responsible for the
commission of I. C. C. statutory crimes within the respective territories of many I. C. C. member states, including several in Europe.
Consequently, the l.C.C. has jurisdiction to prosecute the Accused for their l.C.C. statutory crimes under Rome Statute article
12(2)(a) thatqffords the l.C.C.jurisdiction to prosecute for LC.C. statutory crimes committed in l.C.C. member states.

The Complaint requests ( 1) that the I. C. C. Prosecutor open an investigation of the Accused on his own accord under Rome
Statute article 15(1); and (2) that the l.C.C Prosecutor also formally "submit to the [l.C.C] Pre-Trial Chamber a requestfor
authoriwtion of an investigation" of the Accused under Rome Statute article 15 (3).

For similar reasons, the Highest Level Officials of the Obama administration risk the filing of a follow-up Complaint with the
I. C. C. if they do not immediately terminate the Accused's criminal policy and practice of "extraordinary rendition, " which the
Obama administration has continued to implement.

The Complaint concludes with a request that the I.CC. Prosecutor obtain International Arrest Warrants for the Accusedfrom the
J.C.C. in accordance with Rome Statute articles 58(1 )(a), 58(1 )(b)(i), 58(1)(b)(ii), and 58(/ )(b)(iii).

In order to demonstrate your support for this Complaint you can contact the I.C.C. Prosecutor by letter, fax, or email as indicated
below.
Francis A. Boyle Professor of International Law Law Building 504 East Pennsylvania A venue Champaign, Illinois 61820
Phone: 217-333- 7954 Fax: 217-244-1478

The Honorable Luis Moreno-Ocampo Office of the Prosecutor International Criminal Court Post Office Box 19519
2500 CM, The Hague The Netherlands Fax No.: 31-70-515-8555 Email: OTP.lnformationDesk@icc-cpiint
Dear Sir:

Please accept my personal compliments. I have the honor hereby to file with you and the International Criminal Court this
Complaint against U.S. citizens George W. Bush, Richard Cheney, Donald Rumsfeld, George Tenet, Condoleezi.a Rice , and
         Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 55 of 68
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 Afuerto Gonzales (hereinafter referred to as the "Accused") for their criminal policy and practice of "extraordinary rendition."
 This term is really a euphemism for the enforced disappearances of persons, their torture, severe deprivation of their liberty, their
 violent sexual abuse, and other inhumane acts perpetrated upon these Victims. The Accused have inflicted this criminal policy
 and practice of "extraordinary rendition" upon about one hundred (100) human beings, almost all of whom are
 Muslims/Arabs/Asians and People of Color. I doubt very seriously that the Accused would have inflicted these criminal practices
 upon 100 White Judea-Christian men.

The Accused's criminal policy and practice of"extraordinary rendition" are both ''widespread" and "systematic" within the
meaning of Rome Statute article 7( 1). Therefore the Accused have committed numerous "Crimes against Humanity" in flagrant
and repeated and longstanding violation of Rome Statute articles 5(1)(b), 7(1)(a), 7(1)(e), 7(l)(t), 7(l)(g), 7(1)(h), 7(l)(i), and
7(1)(k). Furthermore, the Accused's Rome Statute Crimes Against Humanity of enforced disappearances of persons constitutes
ongoing criminal activity that continues even as of today.

The United States is not a contracting party to the Rome Statute. Nevertheless, the Accused ordered and were responsible for
the commission of these l.C.C. statutory crimes on, in, and over the respective territories of several I.C.C. member states,
including many located in Europe. Therefore, the l.C.C. has jurisdiction over the Accused for their l.C.C. statutory crimes in
accordance with Rome Statute article l 2(2)(a), which provides as follows:
Article 12 Preconditions to the Exercise of Jurisdiction
2. In the case of article 13, paragraph (a) or (c), the Court may exercise its jurisdiction if one or more of the following States
are Parties to this Statute or have accepted the jurisdiction of the Court in accordance with paragraph 3:

(a) The State on the territory of which the conduct in question occurred ...

So the fact that United States is not a contracting party to the Rome Statute is no bar to the I.C.C.'s prosecution of the Accused
because they have ordered and been responsible for the commission of Rome Statute Crimes against Humanity on, in, and over
the respective
territories of several I.C.C. member states.

Consequently, I hereby respectfully request that the Court exercise its jurisdiction over the Accused for these Crimes against
Humanity in accordance with Rome Statute article 13(c), which provides as follows:
Article 13 Exercise of Jurisdiction

The Court may exercise its jurisdiction with respect to a crime referred to in article 5 in accordance with the provisions of this
Statute if: (c) The Prosecutor has initiated an investigation in respect of such a crime in accordance with article 15.

Pursuant to Rome Statute article 13(c), I hereby respectfully request that you initiate an investigation proprio motu against the
Accused in accordance with Rome Statute article 15(1): ''The Prosecutor may initiate investigations proprio motu on the basis of
information on crimes within the jurisdiction of the Court." My detailed Complaint against the Accused constitutes the sufficient
"information" required by article 15( 1).

Furthermore, I respectfully submit that this Complaint by itself constitutes "a reasonable basis to proceed with an investigation"
under Rome Statute article 15(3). Hence, I also respectfully request that you formally "submit to the Pre-Trial Chamber a request
for authorization of an investigation" of the Accused under Rome Statute article 15(3) at this time. Please inform me at your
earliest convenience about the status and disposition of my two requests set forth immediately above.

Based upon your extensive human rights work in Argentina, you know full well from direct personal experience the terrors and
the horrors of enforced disappearances of persons and their consequent torture. According to reputable news media sources here
in the United States, about 100 human beings have been subjected to enforced disappearances and subsequent torture by the
Accused We still have no accounting for these Victims. In other words, many of these Victims of enforced disappearances and
torture by the Accused could still be alive today. Their very lives are at stake right now as we communicate. You could very well
save some of their lives by publicly stating that you are opening an investigation of my Complaint.

As for those Victims of enforced disappearances by the Accused who have died, your opening an investigation of my Complaint
is the only means by which we might be able to obtain some explanation and accounting for their whereabouts and the location of
their remains in order to communicate this critical information to their next-of-kin and loved-ones. Based upon your extensive
experience combating enforced disappearances of persons and their consequent torture in Argentina, you know full well how
important that objective is. The next-of-kin, loved-ones, and friends of"disappeared" human beings can never benefit
from psychological "closure" unless and until there is an accounting for the fates, if not the remains, of the Victims. In part that is
precisely why the Accused's enforced disappearances of about 100 human beings constitutes ongoing criminal activity that
        Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 56 of 68
                                    (


 continues as of today and will continue until the fates of all their Victims have been officially determined by you opening an
 investigation into my Complaint.

 Let us mutually suppose that during the so-called "dirty war" in Argentina the International Criminal Court had been in existence.
 I submit that as an Argentinean human rights lawyer you would have moved heaven and earth and done everything in your power
 to get the I.C.C. and its Prosecutor to assume jurisdiction over the Argentine Junta in order to terminate and prosecute their
 enforced disappearances and torture of your fellow Argentinean citizens. I would have done the same. Unfortunately, the l.C.C.
 did not exist during those darkest of days for the Argentine Republic when we could have so acted. But today as the l.C.C.
 Prosecutor, you have both the opportunity and the legal power to do something to rectify this mass and total human rights
 annihilation, and to resolve and to terminate and to prosecute the ''widespread" and "systematic" policy and practice of enforced
 disappearances and consequent torture of about 100 human beings by the Accused.

Unfortunately, the new Obama administration in the United States has made it perfectly clear by means of public statements by
President Obama and his Attorney General Eric Holder that they are not going to open any criminal investigation of any of the
Accused for these aforementioned Crimes against Humanity. Hence an l.C.C. "case" against the Accused is "admissible" under
Rome Statute article l(complementarity) and article 17. As of right now you and the l.C.C. Judges are the only people in
the entire world who can bring some degree of Justice, Closure, and Healing into this dire, tragic, and deplorable situation for the
lives and well-being of about one hundred "disappeared" and tortured human beings as well as for their loved-ones and next-of-
kin, who are also Victims of the Accused's Crimes against Humanity. On behalf of them all, as a fellow human rights lawyer I
implore you to open an investigation into my Complaint and to issue a public statement to that effect.

Also, most regretfully, the new Obama administration has publicly stated that it will continue the Accused's policy and practice
of "extraordinary rendition," which is really their euphemism for enforced disappearances of human beings and consequent
torture by other States. Hence the Highest Level Officials of the Obama administration fully intend to commit their own Crimes
against Humanity under the I.C.C. Rome Statute- unless you stop them! Your opening an investigation of my Complaint will
undoubtedly deter the Obama administration from engaging in any more "extraordinary renditions" - enforced disappearances
of human beings and having them tortured by other States. Indeed your opening of an investigation into my Complaint might
encourage the Obama administration to terminate its criminal "extraordinary rendition" program immediately and thoroughly by
means of issuing a public statement to that effect. In other words, your opening an investigation of my Complaint could very well
save the lives of a large number of additional human beings who otherwise will be subjected by the Obama administration to the
Rome Statute Crimes against Humanity of enforced disappearances of persons and their consequent torture by other States, inter
alia.

The lives and well-being of countless human beings are now at risk, hanging in the balance, waiting for you to act promptly,
effectively, and immediately to save them from becoming Victims of Rome Statute Crimes against Humanity perpetrated by the
Highest Level Officials of the Obama administration as successors-in-law to the Accused by opening an investigation of my
Complaint. Otherwise, I shall be forced to file with you and the l.C.C. a follow-up Complaint against the Highest Level Officials
of the Obama administration. I certainly hope it will not come to that. Please make it so.

Finally, for reasons more fully explained in the Conclusion to my Complaint, I respectfully request that you obtain I.C.C. arrest
warrants for the Accused in accordance with Rome Statute articles 58(1)(a), article 58(l)(b)(i), article 58(1)(b)(ii), and article
58( I )(b)(iii). The sooner, the better for all humankind.

I respectfully request that you schedule a meeting with me at our earliest mutual convenience in order to discuss this Complaint. I
look forward to hearing from you at your earliest convenience.

This transmission Jetter is an integral part of my Complaint against the Accused and is hereby incorporated by reference into the
attached Complaint dated as of today as well

Pleue accept, Sir, the usurance of my highest consideration.

Francis A. Boyle Professor of International Law

Situations under investigation

Upon referrals by States Parties or by the UNSC, or on its own initiative and with the judges' authorisation, the Office of the
Prosecutor (OTP) conducts investigations by gathering and examining evidence, questioning persons under investigation and
questioning victims and witnesses, for the purpose of finding evidence of a suspect's innocence or guilt. OTP must investigate
incriminating and exonerating circumstances equally. OTP requests cooperation and assistance from States and international
organisations, and also sends investigators to areas where the alleged crimes occurred to gather evidence. Investigators must be
careful not to create any risk to the victims and witnesses.
       Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 57 of 68

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                     Public and Judicial Notice - Number 3

  The actual Constitution of this country is a tri-lateral international trust, treaty, and service
  agreement and is a public covenant of guarantees owed to and by the sovereign states operating
  in international jurisdiction. These guarantees include the Bill of Rights.
  No private contract of any kind can abrogate, legislate, or stand against these public covenants
  and no right guaranteed by them can be waived or voided. All processes, procedures, acts of
  legislation, federal regulations, state statutes, and agency administrative codes, must be in full
  compliance or they are null and void and without enforcement on American soil.
~ This Notice has been necessitated by the finding that: (1) the Municipal United States has
 trespassed upon our jurisdiction; and (2) the federal judicial oath has been undermined and
 invalidated by deceptive legislation rendering it null and void since October of 1991 and (3)
 bankruptcy trustees named by Secondary Creditors of the Municipal and Territorial government
 corporations have trespassed upon our states and people.
 The Municipal United States is in fact strictly limited to the ten square miles of the District of
 Columbia. The compromised federal judicial oath shall be immediate Cause to void all
 proceedings which have violated any right or prerogative owed to or by the states. Federal
 bankruptcy trustees have no authority to address the states or people or make any claim against
 them; we, the American states and people, are in fact the Paramount Security Interest Holders
 and priority creditors of all federal corporations.
                                                      James Clinton Belcher, Head of State
                                                      United States of America
             Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 58 of 68

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                                                                                                                                                                                                                                                        \




    Database of national labour, social security and related human rights legislation
    Ethiopia (141) >
    I
    fName:                       Charities and Societies Proclamation No.621/2009.
    i .,
    !country:                    Ethiopia Upper House of the Federation Parliament
    I
    l
    fSubject(s):                 General provisions
    I

    :Type oflegislation: Law, Act
    I
    ! ..
    fAdopted on:                 2009-02-13

    iEntry into force:
I
    [Published on:               Federal Negarit Gazeta, 2009-02-13, No. 25, pp. 4521-4566 Iii (PDF)
1 ....

    IJSN:                        ETH-2009-L-85147
I
!Bibliography:                   Federal Negarit Gazeta, 2009-02-13, No. 25, pp. 4521-4566 PDF@!
I
                                 Ethiopian Parliament 01 Ethiopia PDF 01 (consulted on 2010-11-04)
I
I
L

1

    Abstract/Citation: Regulates the establishment and running of all charities and societies defined as
                                 "charities and societies that are formed under the laws of Ethiopia, all of whose
                                 members are Ethiopians, generate income from Ethiopia and wholly controlled by
                                 Ethiopians. However, they may be deemed as Ethiopian Charities or Ethiopian
                                 Societies if they use not more than ten percent of their funds which is received from
I                                foreign sources" (section 2(2)).
I

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SECTION TWO CHARITIES AND SOCIETIES AGENCY
11. Powers and Functions of the Director General

        11 The Director General shall be the chief executive of the Agency and shall, according to the general
directions given to him by the Ministry, direct and administer the activities of the Agency.

21 Without prejudice to the generalities of sub-Article (1) of this Article, the Director General shall:
a) exercise the powers and functions of the Agency specified under Article 6 of this proclamation;
b) employ and administer the employees of the Agency in accordance with regulations issued by the
Government following basic principles of Federal Civil Service Laws ;
SECTION THREE CHARITIES Sub-Section One General 14. Definition
 1) "A Charity" means an institution, which is established exclusively for charitable purposes and gives
benefit to the public.
       Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 59 of 68

                            (                                             (


2) "Charitable Purposes" shall include:

 a) the prevention or alleviation or relief of poverty or disaster;

b) the advancement of the economy and social

development and environmental protection or improvement;

c) the advancement of animal welfare;

d) the advancement of education;

e) the advancement of health or the saving of lives;

f) the advancement of the arts, culture, heritage or science;

g) the advancement of amateur sport and the welfare of the youth;

h) the relief of those in need by reason of age, disability, financial hardship or other disadvantage;

i) the advancement of capacity building on the basis of the country's long term development
directions;

j) the advancement of human and democratic rights;

k) the promotion of equality of nations, nationalities and peoples and that of gender and religion;

I) the promotion of the rights of the disabled and children's rights;

m) the promotion of conflict resolution or reconciliation;

n) the promotion of the efficiency of the of the justice and law enforcement services; and

o) any other purposes as may be prescribed by directives of the Agency.

3/ A public benefit shall be deemed to exist where:

a) the purposes of the Charity can generate an identifiable benefit to the public;

b) the purposes of the Charity do not create a situation wherein its benefits exclude those in need; and
        Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 60 of 68                                             .   . .\
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                           GLOBALKLEPTOCRACY




   Self-serving leaders throughout the world increasingly assume power with the goal of becoming rich at the
                      expense of the majority of their population, and of the commonweal.

     Dictators and oligarchs, presidents and prime ministers, bankers and corporate CEOs, intellectuals and
technocrats, and assorted enablers and sycophants, are stealing their nations' wealth, and laughing all the way to
                                           their off-shore tax havens.

The endgame of this plunder will be obscene riches for the plutocratic minority and immiseration and oppression
                                                of the majority.

  Now more than ever, it is critical to understand the nature of the global neo/iberal economic system and the
kleptocrats who thrive on it, and to give serious thought to survival options in a world increasingly controlled by
                                         and run for the benefit of thieves.


                                     ....................,
                                     INSTITUTIONS OF GLOBAL POWER


                                               CENTRAL BANKS

                                  BANK OF INTERNATIONAL SETTLEMENTS
                                            FEDERAL RESERVE
                                            BANK OF ENGLAND
                                    CENTRAL BANKS OF MOST NATIONS]

                                    GLOBAL BANKING CONGLOMERATES

                                 THE 25 LARGEST BANKS IN THE WORLD (2012)

                                                  HSBC
                                               BNPPARABIS
                                INDUSTRIAL AND COMMERCIAL BANK OF CHINA
                                                MITUBISHI
                                            CREDIT AGRICOLE
                                             BARCLAYS GROUP
                                        ROYAL BANK OF SCOTLAND
Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 61 of 68




                            JPMORGAN CHASE
                            BANK OF AMERICA
                       CHINA CONSTRUCTION BANK
                        MIZUHO FINANCIAL GROUP
                             BANK OF CHINA
                               CITIGROUP
                     AGRICULTURAL BANK OF CHINA
                                ING GROUP
                           BANCO SANTANDER
                   SUMITOMO MITSUI FINANCIAL GROUP
                           SOCIETE GENERALE
                                   UBS
                         LLOYDS BANKING GROUP
                               GROUPBCPE
                              WELLS FARGO
                                UNICREDIT
                              CREDIT SUISSE
              DEUTSCHE BANK TRANSNATIONAL CORPORATIONS

       THE 25 CORPORATIONS WITH THE GREATEST GLOBAL IMPACT (2011)

                             1 - BARCLAYS PLC - GREAT BRITIAN
                2 - CAPITAL GROUP COMPANIES INC. - UNITED STATES
                  3 - FMR CORP (Fidelity Management)- UNITED STATES
                                4 - AXA FR 6712 - SWITZERLAND
                  5 - STATE STREET CORPORATION - UNITED STATES
                      6 - JPMORGAN CHASE & CO. - UNITED STATES
                 7 - LEGAL & GENERAL GROUP PLC - GREAT BRITAIN
                       8- VANGUARD GROUP, INC. - UNITED STATES
                                  9- UBS AG - SWITZERLAND S
                   10 - MERRILL LYNCH & CO., INC. - UNITED STATES
            11 - WELLINGTON MANAGEMENT CO. L.L.P. - UNITED STATES
                            12 - DEUTSCHE BANK AG - GERMANY
                   13 - FRANKLIN RESOURCES, INC. - UNITED ST ATES
                        14 - CREDIT SUISSE GROUP - SWITZERLAND
                    15-WALTON ENTERPRISES LLC- UNITED STATES
             16 - BANK OF NEW YORK MELLON CORP. - UNITED STATES
                                      17 - NATIXIS - FRANCE
                  18- GOLDMAN SACHS GROUP, INC. - UNITED STATES
                    19 -T. ROWE PRICE GROUP, INC. - UNITED STATES
                          20- LEGG MASON, INC. - UNITED STATES
                         21 - MORGAN STANLEY - UNITED STATES
                 22 - MITSUBISHI UFJ FINANCIAL GROUP, INC. - JAPAN
               23 - NORTHERN TRUST CORPORATION - UNITED STATES
                              24 - SOCIETE GENERALE - FRANCE
  25 - BANK OF AMERICA CORPORATION - UNITED STATES ENERGY CORPORATIONS
                                            (a partial list)

                          ROYAL DUTCH SHELL
                               CHEVRON
                          BRITISH PETROLEUM
                             EXXON/MOBIL
                                TOTAL
                           CONOCO PHILLIPS
       Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 62 of 68
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                 Public and Private Lien Issued to the Holy See, Vassals, and Franchises




Before all creation let it be witnessed and stand that the Holy See and its Vassal known as the British
Crown and its Vassals known as the International Monetary Fund and Federal Reserve and France
(Incorporated) have benefited themselves at our expense via the establishment of titles and enclosures
which have been used by the same Vassals and Franchises to allege debts which do not exist against
persons that do not exist and states that do not exist.

These fictitious persons are operated under the defunct and obsolete and immoral Law of Noah which
was overcome and outlawed on the land circa 3785 BC.

These acts of fraud have been pursued and participated in while both the Holy See and the British
Monarch have occupied positions of trust and have pretended to us and to the rest of the world that they
have acted as our international trustees and while they and the French Government have been responsible
for administration of the United States, a corporation obligated to provide us with stipulated governmental
services, and the United States of America, another governmental services corporation employed by the
United States.

These venal acts and practices of constructive fraud have been carried out in the sight of God and are
abominations against the Truth and they are owed remedy on the land and cure on the sea and redemption
in the jurisdiction of the air.

All right, title, and interest in these organic states belong to the flesh and blood people who live in this
country who are the progeny and beneficiaries of the militia members known as the free, sovereign, and
independent people of the United States according to the Definitive Treaty of Peace, Paris, 1783.

These living people are not United States Citizens, nor are they citizens of the United States. They are
not persons and they are not personified via the use of names presented in corrupt Latin using all capital
letters. The living people are natives of fifty sovereign geographically defined nation-states; they are
known as Texans, Californians, New Yorkers, Oregonians, and so on.

Pretensions otherwise have been used to advance false claims and to justify acts of inland piracy,
unlawful conversion of assets, fraudulent conveyance of property, mischaracterization, personage,
tortuous copyright infringement, issuance of mortgages, false arrest, impersonation of elected officials
and numerous other sins and omissions.

In an effort to remedy these wrongs and establish an end to them Pope Francis has declared a Year of
Jubilee and yet no palpable and practical action has been taken by the Pontiffs office to expedite the
return of titles held under color of law by the Vatican and its affiliates nor has there been any
administrative protocol established to assist in the re-conveyance of property interests owed to the
       Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 63 of 68
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Americans and the actual American States, and to date the banks and attorneys and employees of the
United States, Inc., and the United States of America, Inc., and other franchises and affiliates of the Holy
See, British Crown and French Government responsible for these false claims and acts of personage on
our shores have not been compelled to cease and desist their activities and have not been redirected or re-
educated.

Discussions regarding this circumstance and promises to cure have been ongoing since 2008 without
systemic beneficial result whereupon we establish a lien upon the Holy See and the British Crown and the
French Government and their franchises and affiliates payable as fifty (50) million tons of pure gold or as
the complete and actual release of all American property both public and private, free and clear of all
debt, claim, title, patent, trademark, copyright, power of attorney or other encumbrance; all property to be
returned to the actual States and people to whom the soil and assets of the soil belonged as of January of
2008 or otherwise made whole to the satisfaction of those Americans who have been harmed by
malicious foreclosures, together with all profits, fees, rents, interest on investment, disbursements,
dividends, pensions, beneficial contracts, rights, lease-holds and other property naturally belonging to us
and our estates --- due and payable now.

We take this action under the Universal Law of Necessity, having exhausted all Administrative Remedy
long ago and having endured eight (8) years of negotiations and promises which have not created any
equitable remedy nor any satisfactory correction of the operations of the American Bar Association and
its membership, the various banks owned and operated by the Holy See and its Vassals, the United States,
Inc., the United States of America, Inc., and the numerous other incorporated entities responsible for
these and other abuses of the living people on Earth.

We also establish an additional separate lien against the World Bank, International Bank of
Reconstruction and Development, and Bank of International Settlements for their role in seizing assets
owed to our grandparents and parents under the false pretense that the assets were abandoned when in fact
the Priority Creditors were never notified of the settlement of the bankruptcy of the United States of
America, Inc. and thereby deprived of their administrative relief. This separate Due Process lien is
assessed in the amount of $387 billion United States Dollars payable in gold owed to the American
people and their organic states, and which is also due and payable now.

We take this action as free, sovereign and independent people of the United States and progeny of the
militia known as the people and also act as agents of the States of America and thus in both public and
private capacity bring claim as the Priority Creditors of the United States, Inc., and the United States of
America, Inc., Federal Reserve, International Monetary Fund, United Nations Corporation, American
Corporations Company, Internal Revenue Service, Depository Trust Corporation, Bank of New York,
Bank of America, Merrill-Lynch, and all those Principals and their franchisees responsible for the
criminal misadministration of these and other foreign corporations on our shores.

We declare that we and our progeny no longer live under the Law of Noah nor under the Law of Moses
but under the Law of Y eshuah and though we retain all beneficial interest in and dominion over the Earth
and especially over those portions of the Earth that are ours by direct inheritance, we are in fact
sojourners upon the Earth permanently domiciled in the jurisdiction of the air. We declare that we are
true and verifiable biological progeny of the people known as the free, sovereign, and independent people


                                                Page 2 of 3
       Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 64 of 68




of the United States and that we have the standing and authority to present all claims, take against all
Wills, settle all debts and execute all processes necessary to set free our natural inheritance.

We declare that all pretension that we are persons or voluntarily choose to. act as persons is a lie and
fabrication of the Father of All Lies.

We declare that we do not reside in any fictitious realm known as a State of State nor any County of
County nor Municipality operating as a franchise of the United States, Inc., the United States of America,
Inc., District of Columbia Municipal Corporation or any legal fiction construct whatsoever.

To whatever extent legal fictions can be said to exist, they exist as creations of men, and no creation is
greater than its creators.

We declare all these suppositions regarding legal fictions including names and all resulting presumptions
and assumptions of obligation to be fraudulent by nature, repugnant to reason and reality and therefore
also, void.

We declare that we do not voluntarily adopt nor assume for any purpose any sign in "DOG-LATIN"
constructed so as to deceptively resemble our given names ---which are all private property--- rendered in
English; and do not mistake such deviously constructed signs to be our name in fact and do not operate
such signs or icons in trade or business except under duress which renders any participation in Satan's
System (SS) invalid and involuntary.

We declare also that we are not idolaters nor subject to idolatry and do not worship graven images in any
form or kind, including Federal Reserve Notes, United States Notes, Treasury Reserve Notes, or whatever
other so-called legal tender can be dreamed up and foisted off on the innocent public, nor do we worship
any coin or commodity of the Earth, for all the Earth and its products belong to us.

We declare that we are unincorporated sovereign beings and not subject as sovereigns to any crown or
state. Crowns and states are subject to and accountable to us.

We declare that we are not liable for the creation, misadministration, misconduct, and general criminality
of these various foreign corporations acting in violation of the charters, treaties, and trust indentures
which have allowed them to exist and to operate on our shores.

So it is said and done in the presence of the True God in this moment called now and in this Court of
Record entered in addition to and in support of the judgment and findings of the Alaska State Superior
Court Case Number 07022015-00012.




                                               Page 3 of 3
         Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 65 of 68

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                        Judgment and Findings of the Alaska State Superior Court
                                               In Term Equity
                                      Jurisdiction of the Alaska State
                                        Matanuska-Susitna County
                                               4th of July 2016

                                      Case Number: 07012015-00012


                                                   History

This suit in equity has been brought before this Article X Court of Record to determine the material
interests of Claimants who are American State Nationals, all Caucasian men above the age of majority,
all having proven and established by public record that they are in actual fact the grandsons of similarly
qualified men who were living landlords in their respective states of the Union during or prior to the
years 1868-1888 and as grandsons they do claim under the Laws of Equity their interests both public and
private in all those states of the Union and all property public and private upon the land of those states
of the Union that their grandfathers possessed and which they claim they are heir to and beneficiary of
under the Cestui Que Vie Act of 1666 and subsequent Acts establishing the inheritance of these estates.

                                                  Findings

These men so qualified stand as agents and representatives of fifty nation-states established by trust
and compact upon the land jurisdiction of the United States and have by their words, deeds, and acts
recorded by this court brought collective action for all living heirs, claimants, and beneficiaries without
exception and by the laws of primogeniture accepted and binding upon their grandfathers and by the
rule of Cestui Que Vie trusts which recognizes that the heir of the grandfather is necessarily also the heir
of the father, we grant and decree that these men having standing, right, and equity are each severally
and jointly sovereigns of the land and Holders in Due Course of all priority claim and material interest
owed to these nation states acting in behalf of the collective interest of their wives, their progeny and all
lawful heirs and beneficiaries of these estates.

Insomuch as these are living men well-established and qualified by sufficient evidence to be living heirs
of similarly qualified men who were grandfathered into all rights and interests owed these states and
their estates, it is the finding of this Court that their claim upon their respective grandfather's estates
and their paramount claim upon the land and land assets of their respective states of the Union stands,
and none of the respective property of these nation-states can be said to be abandoned nor subject to
any greater or subsequent claims by secondary creditors.

Whereupon we declare and decree before the whole world that The united States-of America still stands
and is claimed in equity by valid heirs and progeny of the militia known as the people who established
each nation-state existing upon the land jurisdiction of the United States.

We confer all right and title held in behalf of the rightful heirs in equity thus shown to be alive to them
and to their heirs and to the coffective beneficiaries of their claims and actions here today.
        Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 66 of 68
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                                                 Order

It is so ordered that all those now claiming to be American State Nationals standing upon the land
jurisdiction of these United States must be honored and accorded their sovereign rights, their property
free and clear of secondary claims or encumbrances, and their inheritance in full and plenty must be
delivered unto them without duress or distinction according to the Will of these living claimants and
their grandfathers.

The probate of their claims in equity and the probate of their private estates and the probate of their
public estates amounting to fifty nation-states upon the land jurisdiction of these United States and all
appurtenances thereto is now concluded and decided in their favor.




                                        by Order of Judge James Clinton Belch::          _      '   ;J   j
                                     r:fa<i~~~(,lJ ~ /$.eJ!d(u--
                                        and so entered upon this Court of Record this 4th Day of July
                                        in the Anno Domini year of 2016, all rights reserved,
                                        sealed and delivered




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                                     Case 2:17-cv-02580-CM-TJJ Document 1 Filed 10/04/17 Page 67 of 68
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                                                 City           State     Zip Code


                                                 Telephone Number


                              DESIGNATION OF PLACE OF TRIAL

Plaintiff designates _{_OWichita, [';3Kansas City, or 0Topeka}, Kansas as the

location for the trial in this matter.
                                         (Sc~~
                                          . . Jl .
                                                  'gilllr~aintiff

                                 REQUEST FOR TRIAL BY JURY

Plaintiff requests trial by jury { OYes or DNo }
                                    (Select One)



                                                 Signature of Plaintiff

Dated: - - - -
 (Rev. 10/15)




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